Case 19-40883         Doc 29       Filed 02/19/19 Entered 02/19/19 05:50:25                     Main Document
                                                Pg 1 of 138


                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 In re:                                                   )   Case No. 19-40883-659
                                                          )   Chapter 11
 PAYLESS HOLDINGS LLC, et al.,                            )
                                                          )   (Joint Administration Requested)
                                      1
                           Debtors.                       )
                                                          )   Hearing Date: February 19, 2019
                                                          )   Hearing Time: 1:30 p.m. (Central Time)
                                                          )   Hearing Location: Courtroom 7 North



      DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO
  SECTION 327(a) OF THE BANKRUPTCY CODE AUTHORIZING THE RETENTION
 AND EMPLOYMENT OF SEWARD & KISSEL LLP AS COUNSEL TO THE DEBTORS
            EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

          Payless Holdings LLC and its debtor affiliates, as debtors and debtors in possession in the

 above-captioned chapter 11 cases (collectively, the “Debtors”), file this application (the

 “Application”) for the entry of an order (the “Order”)2 authorizing the employment and retention

 of Seward & Kissel LLP (“S&K”) to serve as counsel to the Debtors effective nunc pro tunc to

 the Petition Date (as defined below), pursuant to 327(a), and 330 of title 11 of the United States

 Code (the “Bankruptcy Code”) and in accordance with the terms and conditions of that certain

 engagement letter, dated as of February 8, 2019 (the “Engagement Letter”), attached hereto as

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC
 [0673]; Payless Inc. [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware
 Company 4, Inc. [1466]; Shoe Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803];
 Payless Purchasing Services, Inc. [3043]; Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO,
 Inc. [3581]; Payless ShoeSource Distribution, Inc. [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless
 NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9017]; Payless Collective GP, LLC [2940]; Collective
 Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch, LLC [9836]; Collective Brands
 Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; PSS Canada, Inc. [4969]; Payless
 ShoeSource Canada Inc. [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource Canada LP
 [4179]. With respect to certain taxing authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas,
 Texas 75201. However, the location of Debtor Payless Holdings LLC’s corporate headquarters and the Debtors’
 service address is: c/o Payless ShoeSource Inc., 3231 S.E. 6th Avenue, Topeka, Kansas 66607.
 2
   A copy of the proposed Order will be provided to the Notice Parties (as defined below) and made available on the
 Debtors’ case information website at https://cases.primeclerk.com/pss.
Case 19-40883        Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25            Main Document
                                           Pg 2 of 138


 Exhibit A, to render professional services at the direction of Patrick Bartels and Scott Vogel,

 independent managers of Payless Holdings LLC (the “Independent Managers”), in connection

 with the Conflict Matters (as defined below), as directed by the Independent Managers. In

 support of this Application, the Debtors submit the Declaration of John R. Ashmead, a partner at

 S&K (the “Ashmead Declaration”), attached hereto as Exhibit B, and the Declaration of Scott D.

 Vogel attached hereto as Exhibit C (the “Vogel Declaration”), and respectfully state as follows.

                                  J URISDICTION      AND   V ENUE

        1.      The United States Bankruptcy Court for the Eastern District of Missouri (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is

 a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        2.      Venue of this proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408

 and 1409.

        3.      The bases for the relief requested herein are sections 327(a) and 330 of title 11 of

 the Bankruptcy Code, Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), and Rules 2014(A) and 2016-1 of the Local Bankruptcy Rules of the

 United States Bankruptcy Court for the Eastern District of Missouri (the “Local Rules”).

                                          B ACKGROUND

        4.      The Debtors and their non-debtor affiliates (together, the “Company”) are the

 largest specialty family footwear retailer in the Western Hemisphere, offering a wide range of

 shoes and accessory items at affordable prices. The Company operates approximately 3,400

 stores in more than 40 countries. The Debtors are headquartered in Topeka, Kansas, with

 extensive operations that span across the United States, Canada, Latin America, Asia, the Middle

 East, and Europe.



                                                 2
Case 19-40883         Doc 29       Filed 02/19/19 Entered 02/19/19 05:50:25                    Main Document
                                                Pg 3 of 138


         5.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

 businesses and managing their properties as debtors in possession pursuant to Bankruptcy Code

 sections 1107(a) and 1108. The Debtors have requested that their cases be consolidated for

 procedural purposes and administered jointly. No request for the appointment of a trustee or

 examiner has been made in these chapter 11 cases, and no committees have been appointed or

 designated.

         6.       The Debtors commenced these chapter 11 cases approximately 18 months after

 completing a restructuring and emerging from chapter 11 protection with a reduced debt burden.3

 The Debtors, however, have been unable to sustain profitable operations in the current retail

 environment as a result of various factors more fully described in the Declaration of Stephen

 Marotta, Chief Restructuring Officer of Payless Holdings LLC, in Support of Debtors’ Chapter

 11 Proceedings and First Day Pleadings (the “First Day Declaration”).4 Accordingly, the

 Debtors have determined that the best way to maximize value for all of their stakeholders is to

 liquidate all North America brick and mortar locations through the immediate commencement of

 going out of business sales. The Debtors believe, in the exercise of their business judgment, that

 such measures are in the best interests of the Debtors’ estates.

         7.       A comprehensive description of the Debtors’ businesses and operations, capital

 structure and events leading to the commencement of these chapter 11 cases is set forth in the

 First Day Declaration, filed contemporaneously herewith and incorporated herein by reference.



 3
   On April 4, 2017, the Debtors’ predecessors-in-interest commenced chapter 11 cases (the “Prior Cases”) before the
 United States Bankruptcy Court for the Eastern District of Missouri, which were jointly administered under the
 caption In re Payless Holdings LLC, No. 17-42267. A plan of reorganization was confirmed in the Prior Cases on
 July 26, 2017, and such plan went effective on August 10, 2017.
 4
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
 Declaration.

                                                         3
Case 19-40883         Doc 29       Filed 02/19/19 Entered 02/19/19 05:50:25                   Main Document
                                                Pg 4 of 138


                       S&K’S QUALIFICATIONS AND SERVICES TO BE RENDERED

         8.       The Debtors seek to retain S&K because of its experience in, among other areas,

 financial restructuring, litigation, corporate governance, corporate finance and transactions.

 S&K lawyers have significant experience representing and advising the spectrum of constituents

 in chapter 11 proceedings—debtors, committees, secured and unsecured creditors, independent

 or disinterested directors, special committees, shareholders, and others, including providing

 advice with respect to fiduciary duties in connection with chapter 11 proceedings.

         9.       Since its engagement, S&K has become familiar with the Debtors and various

 aspects of their financial affairs and reorganization. The Debtors believe that S&K is well-

 qualified to represent them, as directed by the Independent Managers, in an efficient and timely

 manner.

         10.      On January 29, 2019, the members of the board of managers of Payless Holdings

 LLC (the “Board”) appointed Patrick Bartels and Scott Vogel as the Independent Managers for

 Payless Holdings LLC.5 Under the Engagement Letter, the Independent Managers authorized

 the hiring of S&K to provide professional services, acting at the sole direction of the Independent

 Managers in connection with (i) the Independent Managers’ review and investigation of any

 transactions between Payless Holdings LLC and its subsidiaries and affiliates and any related

 parties and/or insiders; and (ii) any other matters delegated to the Independent Managers by the

 Board (collectively, the “IM Conflict Matters”).

         11.      The Debtors request authority to retain S&K to continue to provide advice on the

 IM Conflict Matters at the direction of the Independent Managers. Such matters consist of

 matters that involve a potential or actual conflict of interest concerning or affecting the Debtors,

 5
   Following their initial term, the Independent Managers were elected to serve as members of the Board pursuant to
 the written consent of the majority of the outstanding class A shares of Payless Holdings LLC, dated February 11,
 2019.

                                                         4
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25            Main Document
                                           Pg 5 of 138


 which are delegated to the Independent Managers for evaluation and determination and/or action

 by the Board. By way of example, at this time, it is anticipated that S&K will continue to

 provide advice about the Independent Managers’ review and investigation of any transactions

 between Payless Holdings LLC and/or its subsidiaries and affiliates and any related parties

 and/or insiders. As well, it is expected that the Independent Managers, with assistance and

 advice from S&K, may be called upon to attend to other aspects of the Debtors’ chapter 11

 process that involve potential or actual conflicts of interest as determined by the Board. S&K

 shall also represent the Debtors at the direction of the Independent Managers with respect to

 matters on which Akin Gump Strauss Hauer & Feld LLP (“Akin”), lead bankruptcy counsel, has

 determined it has an ethical conflict of interest (and for which S&K does not) (“Other Conflict

 Matters” and, together with the IM Conflict Matters, the “Conflict Matters”). With respect to

 Conflict Matters directed by the Independent Managers, services being rendered and to be

 rendered by S&K include, but are not limited to, fact investigation, legal research, briefing,

 argument, discovery, plan and disclosure statement matters, appearance and participation in

 hearings, and communications and meetings with parties in interest, in each case as related to

 Conflict Matters directed by the Independent Managers.

                                 PROFESSIONAL COMPENSATION

        12.     Pursuant to the terms of the Engagement Letter, and subject to Court approval of

 this Application, S&K intends to apply for compensation for professional services rendered on

 an hourly basis and the reimbursement of reasonable expenses.              The hourly rates and

 corresponding rate structure S&K will apply are the same as the hourly rates and corresponding

 rate structure that S&K uses in other restructuring matters, and are comparable to the hourly rates

 and corresponding rate structure that S&K uses for corporate, securities, and litigation matters,



                                                 5
Case 19-40883       Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25             Main Document
                                            Pg 6 of 138


 whether in court or otherwise, regardless of whether a fee application is required. The hourly

 rates used by S&K in representing the Debtors are consistent with the rates that S&K charges

 other clients (including other clients in chapter 11 cases), regardless of the location of the client

 or the court in which the matter is pending.

        13.     S&K and the Debtors have not agreed to any variations from, or alternatives to,

 S&K’s standard billing arrangements. As discussed in more detail below, S&K rates are subject

 to periodic change in the ordinary course of business. The S&K 2019 hourly rates for the

 engagement range as follows:

                           Billing Category                      Range
                    Partners                                   $800-1,200
                    Counsel                                    $775-1,000
                    Associates                                  $295-775
                    Paraprofessionals                           $160-400


        14.     The S&K hourly rates are set at a level designed to compensate S&K fairly for the

 work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly

 rates vary with the experience and seniority of the individuals assigned. These hourly rates are

 subject to periodic adjustments to reflect economic and other conditions. S&K represented the

 Debtors with respect to IM Conflict Matters as directed by the Independent Managers before the

 Petition Date using the hourly rates listed above.

        15.     S&K will maintain detailed, contemporaneous time records in six-minute

 intervals and apply to the Court for payment of compensation and reimbursement of expenses in

 accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

 Bankruptcy Local Rules and any additional procedures that may be established by the Court in

 these chapter 11 cases.      S&K timekeepers will record time using billing categories that




                                                  6
Case 19-40883        Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25           Main Document
                                           Pg 7 of 138


 substantially conform to those categories set forth at section 8(b) of the United States Trustee

 Guidelines, and will record the amount of time per task within each billing category.

        16.     Furthermore, S&K will maintain records of expenses incurred and itemize those

 expenses as well as summarize them by expense categories established as part of S&K’s

 customary billing procedures. The expenses charged to clients include, among other things,

 telephone conference call and international call charges, mail, express mail, and overnight

 delivery service charges, special or hand delivery charges, document retrieval charges, mass

 mailings (including envelopes and labels) performed by outside copying services, computer-

 assisted legal research, airfare, meals, lodging, transcription costs, and non-ordinary overhead

 expenses. S&K will charge the Debtors for these expenses in compliance with all applicable

 rules, procedures and orders of the Court.

        17.     S&K will consult with the U. S. Trustee regarding any suggested alterations to the

 fee and expense categories used by S&K. S&K understands that interim and final fee awards are

 subject to approval by this Court.

        18.     If the Debtors, through the Independent Managers, direct S&K to engage contract

 attorneys, the Debtors will be charged at cost for fees billed by contract attorneys, and S&K will

 ensure that all contract attorneys are subject to conflict checks and disclosures in accordance

 with the requirements of the Bankruptcy Code and Bankruptcy Rules. S&K has not and will not

 share, or agree to share, compensation with any contract attorneys engaged by S&K for these

 chapter 11 cases.

        19.     On February 8, 2019, the Debtors provided S&K with an advance payment

 retainer of $100,000 (the “Retainer”) for professional services to be rendered. In accordance

 with the terms of the Engagement Letter, S&K is to be paid on a current basis for its services and



                                                 7
Case 19-40883      Doc 29      Filed 02/19/19 Entered 02/19/19 05:50:25          Main Document
                                            Pg 8 of 138


 the Retainer will be applied to bills or portions of bills at S&K’s discretion. The Ashmead

 Declaration contains information regarding the payments by the Debtors to S&K in the 90 days

 before the Petition Date. As of the Petition Date, the Debtors did not owe S&K any amounts for

 legal services rendered before the Petition Date. Subject to Court approval, the balance of the

 Retainer will be held by S&K until the conclusion of its engagement and applied to any fees or

 expenses awarded in a final fee application, with the remaining balance, if any, to be returned to

 the Debtors.

        20.     Pursuant to Bankruptcy Rule 2016(b), no agreement or understanding exists

 between S&K and any other person, other than as permitted by section 504 of the Bankruptcy

 Code, to share compensation received for services rendered in connection with these chapter 11

 cases, nor shall S&K share or agree to share compensation received for services rendered in

 connection with these chapter 11 cases with any other person other than as permitted by section

 504 of the Bankruptcy Code.

                                 NO DUPLICATION OF SERVICES

        21.     By separate application, the Debtors have requested that the Court approve the

 retention and employment of Akin, as lead bankruptcy counsel, and Armstrong Teasdale LLP

 (“Armstrong”), as local Missouri counsel, on matters other than matters as directed by the

 Independent Managers. S&K will work closely with Akin, Armstrong, the Debtors and the other

 retained professionals to clearly delineate the respective scope of work and to prevent

 unnecessary duplication of services whenever reasonably possible.




                                   S&K’S DISINTERESTEDNESS



                                                 8
Case 19-40883       Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25             Main Document
                                            Pg 9 of 138


          22.   The Ashmead Declaration, incorporated herein by reference, discloses S&K’s

 connections to the Debtors and parties in interest in these cases that S&K has been able to

 determine as of the time of filing this Application. In reliance on the Ashmead Declaration, and

 except as set forth therein, the Debtors believe that: (a) S&K has no connection with the Debtors,

 their affiliates, their creditors, the Office of the U.S. Trustee for the Eastern District of Missouri

 any person employed in the office of the U.S. Trustee, or any other party with an actual or

 potential interest in these chapter 11 cases or their respective attorneys or accountants; (b) S&K

 is not a creditor, equity security holder, or insider of the Debtors; (c) none of the S&K lawyers

 are, or were within two years of the Petition Date, a director, officer, or employee of the Debtors;

 and (d) S&K neither holds nor represents an interest materially adverse to the Debtors or their

 estates. Accordingly, the Debtors believe that S&K is a “disinterested person,” as defined in

 section 101(14) of the Bankruptcy Code and as required by section 327(a) of the Bankruptcy

 Code.

          23.   In the event that this representation would result in S&K becoming adverse to a

 party in interest that gives rise to a professional conflict, and Akin and Armstrong are similarly

 conflicted or otherwise not able to be adverse to the party in interest in question, the Debtors

 shall retain separate counsel to represent their interests with respect to such matter against such

 party.

                                   BASIS FOR RELIEF REQUESTED

          24.   The Debtors seek retention of S&K as their counsel with respect to Conflict

 Matters as directed by the Independent Managers pursuant to section 327(a) of the Bankruptcy

 Code, which provides that a debtor, subject to Court approval:

                [M]ay employ one or more attorneys, accountants, appraisers,
                auctioneers, or other professional persons, that do not hold or

                                                   9
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25              Main Document
                                           Pg 10 of 138


                represent an interest adverse to the estate, and that are disinterested
                persons, to represent or assist the [debtor] in carrying out the
                [debtor]’s duties under this title.

 11 U.S.C. § 327(a).

        25.     Bankruptcy Rule 2014(a) requires that an application for retention include:

                [S]pecific facts showing the necessity for the employment, the
                name of the [firm] to be employed, the reasons for the selection,
                the professional services to be rendered, any proposed arrangement
                for compensation, and, to the best of the applicant’s knowledge, all
                of the [firm’s] connections with the debtor, creditors, any other
                party in interest, their respective attorneys and accountants, the
                United States trustee, or any person employed in the office of the
                United States trustee.

 Fed. R. Bankr. P. 2014(a).

        26.     Based on the foregoing, the Debtors submit that for all the reasons stated above

 and in the Ashmead Declaration and the Vogel Declaration, the retention of S&K as counsel with

 respect to Conflict Matters as directed by the Independent Managers is warranted and satisfies

 Bankruptcy Rule 2014(a).        Further, as stated in the Ashmead Declaration, S&K is a

 “disinterested person” within the meaning of section 101(14) of the Bankruptcy Code, as

 required by section 327(a) of the Bankruptcy Code, and does not hold or represent an interest

 adverse to the estates of the Debtors, and S&K has no connection to the Debtors, their creditors,

 or other parties in interest, except as disclosed in the Ashmead Declaration.

        27.     The Debtors submit that the appointment of the Independent Managers is

 important to ensuring the success of the restructuring and is therefore in the best interests of the

 estate. The employment of S&K and the payment of its fees is a necessary and anticipated

 expense incurred by the Debtors in connection with the appointment of the Independent

 Managers.     Additionally, the Debtors believe that S&K, acting at the direction of the

 Independent Managers, and taking into account the important work to be undertaken by the


                                                  10
Case 19-40883       Doc 29       Filed 02/19/19 Entered 02/19/19 05:50:25         Main Document
                                              Pg 11 of 138


 Independent Managers, will provide services that benefit the Debtors, their estates, and their

 creditors.

         28.    Finally, the Debtors submit that the terms and conditions of S&K’s employment,

 as disclosed in this Application, are reasonable.

                                               NOTICE

         29.    The Debtors will provide notice of this Application to: (a) the Office of the United

 States Trustee for the Eastern District of Missouri; (b) the holders of the 50 largest unsecured

 claims against the Debtors (on a consolidated basis); (c) counsel to the Prepetition ABL

 Administrative Agent, (i) Choate Hall & Stewart LLP (Attn: Kevin Simard, Douglas Gooding

 and Jonathan Marshall) and (ii) Thompson Coburn LLP (Attn: Mark Bossi); (d) counsel to the

 FILO Agent, Greenberg Traurig, LLP (Attn: Jeffrey M. Wolf); (e) counsel to certain Prepetition

 Term Loan Lenders (i) Kramer Levin Naftalis & Frankel LLP (Attn: Stephen D. Zide), (ii)

 Doster, Ullom & Boyle, LLC (Attn: Gregory D. Willard) (iii) Stroock & Stroock & Lavan LLP

 (Attn: Kristopher M. Hansen and Daniel A. Fliman) and (iv) Lewis Rice LLC (Attn: Sonette T.

 Magnus); (f) the proposed Monitor, FTI Consulting Canada, Inc. (Attn: Paul Bishop, Greg

 Watson and Jim Robinson); (g) counsel to the proposed Monitor, Bennett Jones LLP (Attn: Sean

 Zweig, Kevin Zych and Aiden Nelms); (h) counsel to any statutory committee appointed in the

 chapter 11 cases; (i) the United States Attorney’s Office for the Eastern District of Missouri; (j)

 the Internal Revenue Service; (k) the United States Securities and Exchange Commission; (l) the

 state attorneys general for all states in which the Debtors conduct business; and (m) any party

 that has requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice

 Parties”). The Debtors submit that, in light of the nature of the relief requested, no other or

 further notice need be given.



                                                     11
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25          Main Document
                                           Pg 12 of 138


                                       NO PRIOR REQUEST

        30.     No prior request for the relief sought herein has been made by the Debtors to this

 or any other court.




                                                12
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25         Main Document
                                           Pg 13 of 138


        WHEREFORE, for the reasons set forth herein, the Debtors respectfully request entry of

 the Proposed Order, granting the relief requested in the Application and such other and further

 relief as may be just and proper.



 Dated: February 19, 2019                  /s/ Stephen Marotta
                                           Stephen Marotta
                                           Chief Restructuring Officer, Payless Holdings
                                           LLC
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 14 of 138


                                     Exhibit A

                                Engagement Letter




                                        1
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 15 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 16 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 17 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 18 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 19 of 138
Case 19-40883      Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25           Main Document
 Page 5                                   Pg 20 of 138

 confirmation that it has had an opportunity to consider and ask any questions it may have
 concerning the same and fully understands and agrees to the terms and conditions set forth
 therein.

               We look forward to working with you.

                                                     Very truly yours,

                                                     Seward & Kissel LLP

                                                     By: _________________



 Attachments

 ACCEPTED ON BEHALF OF

 Payless Holdings LLC


 By: _______________________________
       Mario Zarazua
       CFO
 Cc:   Patrick Bartels
       Scott Vogel
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 21 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 22 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 23 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 24 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 25 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 26 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 27 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 28 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 29 of 138
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 30 of 138


                                     Exhibit B

                               Ashmead Declaration




                                        1
Case 19-40883             Doc 29      Filed 02/19/19 Entered 02/19/19 05:50:25                    Main Document
                                                   Pg 31 of 138


                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

 In re:                                                        )     Case No. 19-40883-659
                                                               )     Chapter 11
 PAYLESS HOLDINGS LLC, et al.,                                 )
                                                               )     (Joint Administration Requested)
                                                               )


      DECLARATION OF JOHN R. ASHMEAD IN SUPPORT OF DEBTORS’
  APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO SECTION 327(a) OF
 THE BANKRUPTCY CODE AUTHORIZING THE RETENTION AND EMPLOYMENT
         OF SEWARD & KISSEL LLP AS COUNSEL TO THE DEBTORS
           EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

 I, John R. Ashmead, declare as follows:

                     1.       I am a partner at the firm of Seward & Kissel LLP (“S&K” or the “Firm”),

 located at One Battery Park Plaza, New York, New York 10004. I am admitted in, practicing in,

 and a member of good standing of the bar of the State of New York and the bar of the United

 States District Court for the Southern District of New York.

                     2.       I make this Declaration in support of the Debtors’ Application for Entry of

 an Order Pursuant to Section 327(a) of the Bankruptcy Code Authorizing the Retention and

 Employment of Seward & Kissel LLP as counsel to the Debtors’ Effective Nun Pro Tunc to the

 Petition Date (the “Application”).1 The facts set forth in this Declaration are personally known

 to me and, if called as a witness, I could and would testify thereto.

                                               S&K’s Qualifications

                     3.       S&K is well qualified to advise the Debtors in connection with Conflict

 Matters as directed by the Independent Managers because of its experience in, among other

 areas, financial restructuring, litigation, corporate governance, and corporate finance


 1
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
Case 19-40883          Doc 29      Filed 02/19/19 Entered 02/19/19 05:50:25                   Main Document
                                                Pg 32 of 138


 transactions. S&K lawyers have significant experience representing and advising the spectrum

 of constituents in chapter 11 proceedings—debtors, committees, secured and unsecured

 creditors, special committees, independent or disinterested directors, shareholders, and others,

 including providing advice with respect to fiduciary duties in connection with chapter 11

 proceedings.

                  4.       Since its engagement, S&K has become familiar with the Debtors and

 various aspects of their financial affairs and reorganization. I believe S&K is well-qualified to

 represent the Debtors, as directed by the Independent Managers, in an efficient and timely

 manner.

                                               Scope of Services

                  5.       On January 29, 2019, the members of the board of managers of Payless

 Holdings LLC (the “Board”) appointed Patrick Bartels and Scott Vogel as the Independent

 Managers for Payless Holdings LLC.2 Under the Engagement Letter, the Independent Managers

 authorized the hiring of S&K provide professional services, acting at the sole direction of the

 Independent Managers in connection with (i) the Independent Managers’ review and

 investigation of any transactions between Payless Holdings LLC and/or its subsidiaries and

 affiliates and any related parties and/or insiders; and (ii) any other matters delegated to the

 Independent Managers (collectively, the “IM Conflict Matters”).

                  6.       The Debtors request authority to retain S&K to continue to provide advice

 on the IM Conflict Matters at the direction of the Independent Managers. Such matters consist

 of matters that involve a potential or actual conflict of interest concerning or affecting the

 Debtors, which are delegated to the Independent Managers for evaluation and determination

 2
   Following their initial term, the Independent Managers were elected to serve as members of the Board pursuant to
 the written consent of the majority of the outstanding class A shares of Payless Holdings LLC, dated February 11,
 2019.


                                                       -3-
Case 19-40883       Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25           Main Document
                                          Pg 33 of 138


 and/or action. By way of example, at this time, it is anticipated that S&K will continue to

 provide advice about the Independent Managers’ review and investigation of any transactions

 between Payless Holdings LLC and/or its subsidiaries and affiliates and any related parties

 and/or insiders. As well, it is expected that the Independent Managers, with the assistance and

 advice from S&K, may be called upon to attend to other aspects of the Debtors’ chapter 11

 process that involve potential or actual conflicts of interest. S&K shall also represent the

 Debtors at the direction of the Independent Managers with respect to matters on which Akin

 Gump Strauss Hauer & Feld LLP (“Akin”), lead bankruptcy counsel, has determined it has an

 ethical conflict of interest (and for which S&K does not) (“Other Conflict Matters”, and together

 with the IM Conflict Matters, the “Conflict Matters”). With respect to Conflict Matters directed

 by the Independent Managers, services being rendered and to be rendered by S&K include, but

 are not limited to fact investigation, legal research, briefing, argument, discovery, plan and

 disclosure statement matters, appearance and participation in hearings, and communications and

 meetings with parties in interest, in each case as related to Conflict Matters directed by the

 Independent Managers.

               7.      By separate application, the Debtors have requested that the Court approve

 the retention and employment of Akin, as lead bankruptcy counsel, and Armstrong Teasdale LLP

 (“Armstrong”), as local Missouri counsel, on matters other than matters as directed by the

 Independent Managers. S&K will work closely with Akin, Armstrong, the Debtors and the other

 retained professionals to clearly delineate the respective scope of work and to prevent

 unnecessary duplication of services whenever reasonably possible

                              Compensation and Fee Applications

               8.      Pursuant to the terms of the Engagement Letter, and subject to Court

 approval of this Application, S&K intends to apply for compensation for professional services


                                               -4-
Case 19-40883         Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25             Main Document
                                            Pg 34 of 138


 rendered on an hourly basis and the reimbursement of reasonable expenses. The hourly rates and

 corresponding rate structure S&K will apply are the same as the hourly rates and corresponding

 rate structure that S&K uses in other restructuring matters, and are comparable to the hourly rates

 and corresponding rate structure that S&K uses for corporate, securities, and litigation matters,

 whether in court or otherwise, regardless of whether a fee application is required. The hourly

 rates used by S&K in representing the Debtors are consistent with the rates that S&K charges

 other clients (including other clients in chapter 11 cases), regardless of the location of the client

 or the court in which the matter is pending.

                9.       S&K and the Debtors have not agreed to any variations from, or

 alternatives to, S&K’s standard billing arrangements. As discussed in more detail below, S&K

 rates are subject to periodic change in the ordinary course of business. The S&K 2019 hourly

 rates for the engagement range as follows:

                             Billing Category                    Range
                      Partners                                 $800-1,200
                      Counsel                                  $775-1,000
                      Associates                                $295-775
                      Paraprofessionals                         $160-400

                10.      The S&K hourly rates are set at a level designed to compensate S&K

 fairly for the work of its attorneys and paraprofessionals and to cover fixed and routine expenses.

 Hourly rates vary with the experience and seniority of the individuals assigned. These hourly

 rates are subject to periodic adjustments to reflect economic and other conditions.            S&K

 represented the Debtors with respect to IM Conflict Matters as directed by the Independent

 Managers before the Petition Date using the hourly rates listed above.

                11.      The principal attorneys designated to represent the Debtors and their

 current standard hourly rates are:




                                                 -5-
Case 19-40883         Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25          Main Document
                                            Pg 35 of 138




                                John R. Ashmead      -       $1,150
                                Michael G. Considine -       $1,050
                                Mark Kotwick         -       $975
                                Robert J. Gayda      -       $825
                                Michael Weitman      -       $775
                                Catherine LoTempio -         $710

                12.      Other attorneys and paralegals may from time to time serve the Debtors in

 connection with the matters herein described.

                13.      S&K will maintain detailed, contemporaneous time records in six-minute

 intervals and apply to the Court for payment of compensation and reimbursement of expenses in

 accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

 Bankruptcy Local Rules and any additional procedures that may be established by the Court in

 these chapter 11 cases.       S&K timekeepers will record time using billing categories that

 substantially conform to those categories set forth at section 8(b) of the United States Trustee

 Guidelines, and will record the amount of time per task within each billing category.

                14.      Furthermore, S&K will maintain records of expenses incurred and itemize

 those expenses as well as summarize them by expense categories established as part of S&K’s

 customary billing procedures. The expenses charged to clients include, among other things,

 telephone conference call and international call charges, mail, express mail, and overnight

 delivery service charges, special or hand delivery charges, document retrieval charges, mass

 mailings (including envelopes and labels) performed by outside copying services, computer-

 assisted legal research, airfare, meals, lodging, transcription costs, and non-ordinary overhead

 expenses. S&K will charge the Debtors for these expenses in compliance with all applicable

 rules, procedures and orders of the Court.



                                                 -6-
Case 19-40883           Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25          Main Document
                                              Pg 36 of 138


                  15.      S&K understands that interim and final fee awards are subject to approval

 by this Court.

                                      Professional Compensation

                  16.      On February 11, 2019, the Debtors provided S&K with an advance

 payment retainer of $100,000 (the “Retainer”) for professional services to be rendered. In

 accordance with the terms of the Engagement Letter, S&K will be paid on a current basis for its

 services and the Retainer is to be applied to bills or portions of bills at S&K’s discretion. Subject

 to Court approval, the balance of the Retainer will be held by S&K until the conclusion of its

 engagement and applied to any fees or expenses awarded in a final fee application, with the

 remaining balance, if any, to be returned to the Debtors.

                  17.      During the 90-day period before the Petition Date, the Debtors paid the

 following amounts to S&K:

           Type of Transaction                         Date                      Amount
 Receipt of Advance Payment Retainer                  2/11/19                  $100,000.00
 Payment Received                                     2/14/19                  $141,283.75
 Payment Received                                     2/15/19                  $109,985.00
 Balance of Retainer as of Petition Date                                       $100,000.00

                  18.      As of the Petition Date, the Debtors did not owe S&K any amounts for

 legal services rendered before the Petition Date.

                  19.      Pursuant to Bankruptcy Rule 2016(b), no agreement or understanding

 exists between S&K and any other person, other than as permitted by Section 504 of the

 Bankruptcy Code, to share compensation received for services rendered in connection with these

 chapter 11 cases, nor shall S&K share or agree to share compensation received for services

 rendered in connection with these chapter 11 cases with any other person other than as permitted

 by section 504 of the Bankruptcy Code.




                                                  -7-
Case 19-40883           Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25                   Main Document
                                                Pg 37 of 138


                                          S&K’s Disinterestedness

                  20.      In connection with the S&K proposed retention by the Debtors, S&K

 undertook to determine whether it had any conflicts or other relationships that might cause it not

 to be disinterested, or to hold or represent an interest adverse to the Debtors. The Debtors have

 provided S&K with a list of the names (collectively, the “Interested Parties”) of individuals or

 institutions set forth on Schedule 1 hereto.3

                  21.      The categories of Interested Parties on Schedule 1 include: (1) Debtors;

 (2) Debtor affiliates; (3) directors and officers; (4) banks; (5) equity holders; (6) lenders; (7)

 letters of credit parties; (8) lienholders; (9) surety bond issuers; (10) insurance companies; (11)

 significant creditors; (12) accounts receivable; (13) landlords; and (14) professionals. There may

 be additional entities not listed as Interested Parties on Schedule 1 who may have contacts or

 connections with the Debtors and the status of entities listed as Interested Parties on Schedule 1

 may change during the pendency of these chapter 11 cases without our knowledge. S&K will

 supplement this Declaration as necessary with additional names and when new names of parties

 in interest are made available.

                  22.      The client database (the “Client Database”) maintained by S&K is

 designed to include every matter on which the Firm is now and has been engaged, by which

 entity the Firm is now or has been engaged and, in each instance, the identity of related parties

 and adverse parties and certain of the attorneys in the Firm that are knowledgeable about the

 matter. It is the policy of S&K that no new matter may be accepted or opened within the Firm

 without completing and submitting to those charged with maintaining the computer Client

 Database the information necessary to check each such matter for conflicts, including the identity

 3
   S&K’s of Interested Parties in Schedule 1 is solely to disclose S&K’s conflict search process and is not an
 admission that any party has a valid claim against the Debtors or that any party properly belongs in Schedule 1 or
 has a claim or legal relationship to the Debtors of the nature described in Schedule 1.


                                                       -8-
Case 19-40883         Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25            Main Document
                                            Pg 38 of 138


 of the prospective client, the matter, and related and adverse parties.          Accordingly, S&K

 maintains and systematically updates this system in the regular course of business of the Firm,

 and it is the regular practice of the Firm to make and maintain these records.

                23.      To the best of my knowledge and belief, insofar as I have been able to

 ascertain after reasonable inquiry, neither I, nor S&K, nor any partner or associate thereof that is

 anticipated to provide the services hereunder, holds or represents an interest adverse to the

 Debtors or their estates with respect to the matters as to which S&K is to be employed.

                24.      Except as set forth in paragraphs 30-31 below, S&K in the past has

 represented or been adverse to, currently represents or is adverse to, and in the future likely will

 represent or be adverse to certain creditors of the Debtors and other parties-in-interest or

 affiliates thereof in matters wholly unrelated to the Debtors, the Debtors’ cases or such entities’

 claims against or interests in the Debtors. As of the date of this Declaration, I am aware that

 S&K may currently represent or have a connection with, may have represented or may in the

 future represent those entities (or affiliates) listed on Schedule 2 hereto. All such past or present

 relationships with the Interested Parties disclosed in Schedule 2 are wholly unrelated to the

 Debtors and the Debtors’ Chapter 11 cases. None of these representations creates or ever created

 an adverse interest to the Debtors or their estates.

                25.      S&K has represented and expects to continue to represent clients that are

 set forth in Schedule 2 in their current matters within the limits of section 327(a) of the

 Bankruptcy Code and will not represent any such entities on matters related to these chapter 11

 cases.

                26.      Each of the Independent Managers is, in the past has been, and/or in the

 future may be members of the boards of directors of other entities, and S&K may represent those




                                                  -9-
Case 19-40883         Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25            Main Document
                                            Pg 39 of 138


 individuals in such capacities, such entities, or persons with interests adverse to such entities in

 matters wholly unrelated to the chapter 11 cases.

                27.      S&K has not, does not, and will not, represent any entity other than the

 Debtors (as directed by the Independent Managers) in these chapter 11 cases. From time to time,

 S&K has referred matters to other professionals to be retained in these chapter 11 cases.

 Likewise, certain of such professionals have referred legal work to S&K.

                28.      Certain insurance companies pay the legal bills of S&K clients and some

 of these insurance companies may be involved in these chapter 11 cases.             None of these

 insurance companies, however, are S&K clients simply because they pay legal fees on behalf of

 S&K clients.

                29.      Prior to the Petition Date, S&K performed certain legal services for or

 paid by the Debtors, as described herein and in the Application. As a result of the Retainer

 referenced above, the Debtors do not owe S&K any amount for services performed or expenses

 incurred prior to the Petition Date.

                30.      As part of its practice, S&K routinely represents buyers and seller of

 distressed debt and securities. One or more clients of the Firm may now or later purchase

 secured or unsecured claims against the Debtors. Prior to the Petition Date, S&K represented

 certain entities in connection with the purchase and/or sale of debt or securities relating to the

 Debtors. As of the date hereof, S&K does not, and will not going forward, represent any entity

 in the purchase or sale of any debt or securities of the Debtors during S&K’s representation of

 the Debtors in these chapter 11 proceedings.

                31.      In addition, prior to the Petition Date, S&K represented Safe & Sound

 Armed Courier Inc. (“Safe & Sound”) in its capacity as a creditor of certain of the Debtors in the




                                                - 10 -
Case 19-40883         Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25            Main Document
                                            Pg 40 of 138


 Prior Cases. S&K’s limited representation of Safe & Sound concluded at the conclusion of the

 Prior Cases. S&K does not and will not represent Safe & Sound in connection with the Debtors’

 current chapter 11 cases.

                32.      I understand that the Debtors will retain various professionals during the

 pendency of these cases to aid in the prosecution of the Debtors’ chapter 11 cases as set forth on

 Schedule 1. Over the years and to the present, attorneys at S&K have worked with, or been

 involved in matters that also involve, certain of these professionals, representing either the same

 parties, parties with similar interests or parties with adverse interests. In addition, certain of

 these firms may have been clients of S&K in matters unrelated to the Debtors.

                33.      In addition, during the course of the Debtor’s chapter 11 cases, the

 Debtors may retain additional or different professionals, not all of which are or can currently be

 identified. Further, Schedule 1 does not disclose the identities of all of the various professionals

 that have been retained, or are being considered for retention by the various parties in interest.

 Therefore, we are unable to determine if S&K has a client or other relationship with such as yet

 unidentified advisors or their affiliates.    However, we believe it likely that many of the

 professionals who may appear in these cases are trustees, witnesses, advisors or counsel, as the

 case may be, in transactions or cases in which S&K also represents a client. S&K may retain

 various such professionals or affiliates thereof to provide forensic, litigation support and

 financial advisory services to S&K or S&K’s clients in a variety of past, present or future

 engagements. Current employees at S&K may be former employees of, or related to employees

 of, one or more of the other professionals in this case. In addition, attorneys at S&K belong to

 professional organizations to which other professionals who may appear in these cases may also

 belong.




                                                - 11 -
Case 19-40883         Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25            Main Document
                                            Pg 41 of 138


                34.      Despite the efforts described above to identify and disclose connections

 with parties in interest in these cases, because the Debtors are a large enterprise with many

 creditors and other relationships, S&K is unable to state with certainty that every client

 connection of S&K has been disclosed. S&K will conduct an ongoing review of its files to

 ensure that no disqualifying circumstances arise and, if any new relevant facts or relationships

 are discovered, S&K will file supplemental disclosures with the Court.

                35.      Based upon my review of all of S&K’s connections in these chapter 11

 cases, I submit that S&K is a “disinterested person” as that term is defined in section 101(14) of

 the Bankruptcy Code, in that the Firm, its partners, counsel, and associates: (a) are not creditors,

 equity security holders, or insiders of the Debtors; (b) are not and were not, within 2 years before

 the date of the filing of the petitions, a director, officer, or employee of the Debtors; and (c) do

 not have an interest materially adverse to the interest of the estate or of any class of creditors or

 equity security holders, by reason of any direct or indirect relationship to, connection with, or

 interest in, the Debtors, or for any other reason.

                36.      Except as set forth above, to the best of my knowledge and insofar as I

 have been able to ascertain, neither S&K nor any of its partners, counsel, or associates holds or

 represents any interest adverse to the Debtors or their estates in the matters upon which it is to be

 engaged.

                         Attorney Statement Pursuant to Fee Guidelines

                37.      The following is provided in response to the request for additional

 information set forth in Paragraph D.1 of the Fee Guidelines

 Question:      Did you agree to any variations from, or alternatives to, your standard or
                customary billing arrangements for this engagement?

 Response:      No.



                                                 - 12 -
Case 19-40883         Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25        Main Document
                                            Pg 42 of 138


 Question:      Do any of the professionals included in this engagement vary their rate based
                on the geographic location of the bankruptcy case?

 Response:      No.

 Question:      If you represented the client in the 12 months prepetition, disclose your
                billing rates and material financial terms for the prepetition engagement,
                including any adjustments or discounts offered during the 12 months
                prepetition. If your billing rates and material financial terms have changed
                postpetition, explain the difference and the reasons for the difference.

 Response:      S&K’s current hourly rates for services rendered on behalf of the Debtors range
                as follows:

                             Billing Category                 Range
                      Partners                              $800-1,200
                      Counsel                               $775-1,000
                      Associates                             $295-775
                      Paraprofessionals                      $160-400

                S&K has not adjusted its billing rates since the Debtors engaged S&K as counsel.

 Question:      Has your client approved your prospective budget and staffing plan, and, if
                so, for what budget period?

 Response:      No.

                38.      The foregoing constitutes the statement of S&K pursuant to sections

 327(a), 329, and 504 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016(b), and Rules

 2014(A) and 2016-1 of the Local Rules of Procedure of the United States Bankruptcy Court for

 the Eastern District of Missouri.




                                                - 13 -
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25       Main Document
                                           Pg 43 of 138


                I declare under penalty of perjury that, to the best of my knowledge and after

 reasonable inquiry, the foregoing is true and correct.

 Dated: February 19, 2019


                                               /s/ John R. Ashmead
                                              John R. Ashmead
                                              Seward & Kissel LLP
                                              One Battery Park Plaza
                                              New York, NY 10004
                                              Tel: 212-574-1200
                                              Fax: 212-480-8421




                                                - 14 -
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 44 of 138


                                     Schedule 1
                               Interested Parties List
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25           Main Document
                                           Pg 45 of 138


                                               Schedule 1

                                  Schedule of Searched Parties

 Debtors
 Clinch, LLC                                           Payless International Franchising LLC
 Collective Brands Franchising Services,                (f.k.a. Collective Sourcing Services LC)
  LLC                                                  Payless NYC, Inc. (formerly PSS Labor
 Collective Brands Services, Inc. (formerly             Leasing, Inc.
  PSS Delaware Company 3, Inc.                         Payless Purchasing Services, Inc.
 Collective Licensing International, LLC               Payless Shoesource Canada GP Inc.
 Collective Licensing, LP (f.k.a. Collective           Payless Shoesource Canada Inc.
  International, LLC)                                  Payless Shoesource Canada, LP
 Eastborough, Inc.                                     Payless Shoesource Distribution, Inc.
 Payless Collective GP, LLC                            Payless Shoesource of Puerto Rico, Inc.
 Payless Finance, Inc.                                 Payless Shoesource Worldwide, Inc.
 Payless Gold Value CO., Inc. (CO/2013)                Payless Shoesource, Inc.
  (formerly Payless Gold Value WY, Inc.)               Payless Shoesourcing Merchandising, Inc.
 Payless Holdings LLC                                  PSS Canada, Inc.
 Payless Inc.                                          PSS Delaware Company 4, Inc.
 Payless Intermediate Holdings LLC                     Shoe Sourcing, Inc.
                                                       WBG - PSS Holdings LLC

 Debtors’ Affiliates
 Bacate Cia. Ltds                                      Dynamic Assets Limited Representative
 Collective Brands Cayman Finance, Limited              Office (Taiwan)
 Collective Brands Cayman Finance, Limited             Import Solutions de Mexico, S. de R.L. de
  II                                                    C.V.
 Collective Brands Cooperatief U.A.                    Panama SEM Branch
 Collective Brands Holdings Limited                    Payless Asia Sourcing (JV)
 Collective Brands II Cooperatief U.A.                 Payless CA Management Ltd.
 Collective Brands International Franchising,          Payless CO Management Ltd.
  LLC (f.k.a. Collective Brands Philippines            Payless Colombia Holdings Ltd.
  Franchising, LLC)                                    Payless Controladora, S.A. de C.V.
 Collective Brands International Holdings,             Payless India Franchising, LLC
  Limited I                                            Payless International Finance B.V.
 Collective Brands International Holdings,             Payless Netherlands B.V.
  Limited II                                           Payless Netherlands Holdings LLC
 Collective Brands Logistics Limited                   Payless Servicios S.A. de C.V.
  (Taiwan)                                             Payless Shoes Pty Ltd.
 Collective Brands Services Limited                    Payless Shoesource (BVI) Holdings Ltd.
 Collective Brands Services Limited                    Payless Shoesource Andean Holdings
  (Taiwan)                                             Payless Shoesource AU Holdings Pty. Ltd.
 Collective Brands Services Vietnam                    Payless Shoesource de Guatemala Ltda.
  Company Ltd.                                         Payless Shoesource de la Republica
 Collective Franchising, Ltd.                           Dominicana, S.R.L.
 Collective Indonesia Franchising, LLC                 Payless Shoesource Dominica Ltd.
Case 19-40883      Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25     Main Document
                                          Pg 46 of 138


 Payless Shoesource Ecuador CIA Ltds             Payless Shoesource Spain Licensing, S.L.
 Payless Shoesource Honduras S. DE R.L.          Payless Shoesource Spain S.L.
 Payless Shoesource International Limited        Payless Shoesource SRL
  (Shenzhen) Dongguan Branch                     Payless Shoesource SRL Antigua Branch
 Payless Shoesource International Limited        Payless Shoesource SRL Grenada Branch
  (Shenzhen) Guangzhou Branch                    Payless Shoesource SRL St. Lucia Branch
 Payless Shoesource International Limited        Payless Shoesource SRL St. Vincent Branch
  (Shenzhen) Shanghai Branch                     Payless Shoesource St. Kitts Ltd.
 Payless Shoesource International Limited        Payless Shoesource Trinidad Unlimited
  (Shenzhen) Xiamen Branch                       Payless Shoesource Uruguay SRL Finance
 Payless Shoesource International Services        Company
  Tenicos E Inspectoria de Calcados S/C          Payless Shoesource, Limitada
  LTDA                                           Payless Shoesource, S.A. de CV
 Payless Shoesource Jamaica Limited              Payless Sourcing LLC
 Payless Shoesource Limitada y Compania          Payless SRL
  Limitada                                       PSS Global Holdings C.V.
 Payless Shoesource of El Salvador Ltda.         PSS Holdings
 Payless Shoesource of St. Lucia, LTD            PSS International Holdings, Ltd.
 Payless Shoesource Overseas S.R.L.              PSS Investment I, Inc.
 Payless Shoesource Peru Holding, S.L.           PSS Investment III, Inc.
 Payless Shoesource Peru S.R.L.                  PSS Latin America Holdings
 Payless Shoesource PSS De Colombia              PSS Uruguay
  S.A.S. (formerly Ltda. Colombia)               Shenzhen Footwear Consulting Company
 Payless Shoesource S.A. Retail Company          Zurivides Cia. Ltds
 Payless Shoesource Saipan, Inc.

 Directors and Officers
 Anderson, Christopher                           Fountain, Craig
 Attenborough, Neale                             Fuchs, R. Joseph
 Ballard, Matthew A.                             Gale, Jessica
 Bartels, Patrick J., Jr.                        Gay, Mary Chris
 Beck, Christopher                               Giusto, Phillip
 Beffort, Cris R.                                Goolsby, Jo
 Bonadio, Dominic                                Grunert, Heather
 Brunton, Brad                                   Haddock, Darren P.
 Burk, Sally J.                                  Hansen, Neil G.
 Burton, Danielle Quave                          Heck, Michael D.
 Cavallaro, Joseph                               Hitch, Lorraine
 Chung, David                                    Hynes, Kevin
 Cohen, Joshua                                   Jeppesen, Michael
 Cremens, Charles H.                             Jones, W. Paul
 Decker, Randall                                 Junger, Ellen
 Diedel, David W.                                Kapcar, Bradley
 Donohoo, Robert C.                              Lane, Lorelei
 Elias, Amanda                                   Madsen, Gary C.
 Evans, Kevin William                            May, Mark A.

                                             2
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25     Main Document
                                        Pg 47 of 138


 McBreen, Michael F.                          Schwindle, Michael C.
 McDonald, William                            Seamans, Bryan
 McKenna-Doyle, Michelle                      Tessendorf, Rex A.
 Milton, David                                Tietjen, Laurie L.
 Oetgen, Stephen D.                           Underhill, Bonita
 Olsen, Douglas M.                            Vitelli, Michael A.
 Olshansky, Joshua                            Vogel, Scott D.
 Ortega, Deborah A.                           Vostrejs, Philip D.
 Ott, Christopher M.                          Wade, Martin R. III
 Paakanen, Mark                               Westley, Peter
 Palmer-Eason, Ramona G.                      Wild, Jennifer
 Park, Dan D.                                 Wilson, Keshia
 Patton, Stephen L.                           Zacharias, Thomas E.
 Perdic, Carol                                Zarazua, Mario A.
 Pryor, Bruce                                 Zentner, Arlen R.

 Banks
 Alamosa National Bank                        Central Savings Bank
 Alliance Bank                                Chemical Bank
 Alpine Bank                                  Citibank, N.A.
 Alpine Bank and Trust Co.                    Citizens Bank
 American Savings Bank                        Citizens First National Bank
 Ameris Bank                                  Citizens National Bank
 ANZ Bank (Taiwan) Limited                    Citizens Security Bank
 Arvest Bank                                  Commerce Bank
 Banco Popular                                Community Bank, NA
 Banco Santander                              Compass Bank
 Bancorp South                                Corefirst Bank & Trust
 Bangor Savings Bank                          Crossroads Bank
 Bank of America                              Eastern Savings Bank
 Bank of Hawaii                               Elmira Savings Bank
 Bank of Montreal                             Fidelity Bank
 Bank of Nova Scotia                          Fifth Third Bank
 Bank of Oklahoma                             First American Bank
 Bank of the Internet                         First Bank Kansas
 Bank of the West                             First Citizens Bank
 Beneficial Bank                              First Columbia Bank & Trust Co.
 Boone County National Bank                   First Commonwealth Bank
 Branch Banking & Trust Company               First Convenience Bank
 Broadway Bank                                First Financial Bank
 Camden National Bank                         First Interstate Bank
 Canadian Imperial Bank (of Commerce)         First Kansas Bank
 Capital City Bank                            First Midwest Bank
 Capital One                                  First National Bank
 Centier Bank                                 First National Bank Fredericksburg
 Central National Bank                        First National Bank of Crestview

                                          3
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                         Pg 48 of 138


 First National Bank Pennsylvania              Regions Bank
 First State Bank                              Royal Bank of Canada
 First Summit Bank                             S & T Bank
 First Tennessee Bank                          Sabine State Bank & Trust Co.
 First United Bank                             Salem Five Bank
 Frost Bank                                    Santander Bank
 Fort Davis State Bank                         Simmons First Bank
 Fulton Bank of New Jersey                     STAR Financial Bank
 Guaranty Bank and Trust                       Summit Bank
 Guaranty Bond Bank                            Sun National Bank
 Harris Bank                                   Taishin International Bank
 Hometown National Bank                        TCF Bank
 Honesdale National Bank                       TD Bank
 Huntington National Bank                      The Hongkong and Shanghai Banking
 Inter National Bank                            Corporation Limited (HSBC)
 International Bank of Commerce                Toronto Dominion Bank
 Jefferson Bank of Missouri                    Town & Country Bank
 JPMorgan Chase Bank                           Tri-Counties Bank
 Key Bank                                      Trustco Bank
 Lake City Bank                                Trustmark
 Lake Region Bank                              UMB Bank
 Lake Sunapee Bank                             Union Bank
 LaPorte Savings Bank                          United Bank
 Liberty Bank of Arkansas                      United Community Bank
 Manufacturers & Traders Trust Co.             United National Bank
 NBT Bank                                      US Bank NA
 Northwest Savings Bank                        Wayne Bank
 Parkway Bank                                  Wells Fargo Bank, N.A.
 Pennstar Bank                                 Wesbanco Bank
 Peoples Bank                                  Woodforest Bank
 Pioneer National Bank                         Woodforest National Bank
 PNC Bank

 Equity Holders
 Alden Global Capital                          MJX Asset Management
 American Money Management                     Morgan Stanley Swap Claim
 Apex Credit Partners                          Octagon Creditor Investors
 Bank of America, N.A.                         Seaport Group Baseball Cards LLC
 Credit Suisse Asset Management                Siena Capital Holdings LLC
 Five Arrows Managers North America            Starwood Credit Advisors
 Golub Capital                                 Tall Tree Investment Management
 H.I.G. Whitehorse Capital                     Trimaran Advisors
 Invesco Senior Secured Management             USDR Investment Management
 JMP Credit Advisors                           York Capital Management Global Advisors
 Logan Asset Management



                                           4
Case 19-40883      Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25        Main Document
                                          Pg 49 of 138


 Lenders
 A Voce CLO, Ltd.                                   JMP Credit Advisors CLO IV Ltd.
 AIM Counselor Series Trust (Invesco                JMP Credit Advisors LLC
   Counselor Series Trust) - Invesco Floating       Kaiser Foundation Hospitals
   Rate Fund                                        Kaiser Permanente Group Trust
 Alden Global Opportunities Master Fund,            Kapitalforeningen Investin Pro-US
   L.P.                                              Leveraged Loans I
 American General Life Insurance Company            Lexington Insurance Company
 American Home Assurance Company                    Limerock CLO III, LTD.
 American Money Management                          Linde Pension Plan Trust
 Anthem, Inc.                                       Logen Asset
 APEX Credit Partners LLC                           Logen Asset Management Master Fund Ltd.
 Axar Capital Management LP                         MJX Asset Management, LLC
 Axar Master Fund, Ltd.                             National Union Fire Insurance Company Of
 Baloise Senior Secured Loan Fund III                Pittsburgh, PA
 Bank of America, N.A.                              Ocean Trails CLO IV
 Blackwell Partners LLC - Series E                  Octagon Credit Investors, LLC
 BOC Pension Services Limited as Trustee of         Octagon High Income Master Fund Ltd
   BOC Pension Investment Fund                      Octagon Investment Partners 18-R, Ltd.
 BSP Special Situations Master A L.P.               Octagon Investment Partners 24, Ltd.
 Catamaran CLO 2013-1 Ltd.                          Octagon Investment Partners 25, Ltd.
 Catamaran CLO 2014-1 Ltd.                          Octagon Investment Partners 26, Ltd.
 Catamaran CLO 2015-1 Ltd.                          Octagon Investment Partners 27, Ltd.
 Citi Loan Funding GCPH TRS LLC                     Octagon Investment Partners 28, Ltd.
 Citibank, N.A.                                     Octagon Investment Partners 29, Ltd.
 Citigroup Financial Products Inc.                  Octagon Investment Partners 30, Ltd.
 City of New York Group Trust                       Octagon Investment Partners 32, Ltd. (fka
 Credit Suisse Asset Management, LLC                 Octagon Investment Partners Funding 32
 Credit Suisse Loan Funding LLC                      LLC)
 Diversified Credit Portfolio Ltd.                  Octagon Investment Partners 33, Ltd.
 Five Arrows Managers North America LLC             Octagon Investment Partners XIV, Ltd.
 Golub Capital                                      Octagon Investment Partners XIX, Ltd.
 Great American Insurance Company                   Octagon Investment Partners XV Ltd.
 Great American Life Insurance Company              Octagon Investment Partners XVI, Ltd
 H.I.G. Whitehorse Capital, LLC                     Octagon Investment Partners XVII Ltd.
 Invesco BL Fund, Ltd.                              Octagon Investment Partners XVIII, Ltd.
 Invesco Dynamic Credit Opportunities Fund          Octagon Investment Partners XX, Ltd.
 Invesco Senior Income Trust                        Octagon Investment Partners XXI, Ltd.
 Invesco Senior Loan Fund                           Octagon Investment Partners XXII, Ltd.
 Invesco Senior Secured Management, Inc.            Octagon Investment Partners XXIII, Ltd.
 Invesco SSL Fund LLC                               Octagon Loan Funding, Ltd.
 Invesco Zodiac Funds - Invesco Us Senior           Octagon Multi-Strategy Corporate Credit
   Loan Fund                                         Master Fund LP
 JFIN CLO 2012 Ltd.                                 Octagon Senior Secured Credit Master Fund
 JFIN CLO 2013 Ltd.                                  Ltd
 JMP Credit Advisors CLO III Ltd.                   Providence Equity Partners LLC

                                                5
Case 19-40883      Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25         Main Document
                                          Pg 50 of 138


 QPB Holdings Ltd.                                  Venture VII CDO Limited
 Quantum Partners LP                                Venture XII CLO Limited
 Senior Loan Fund II LLC                            Venture XIII CLO, Limited
 Sentry Insurance a Mutual Company                  Venture XIV CLO, Limited
 Smith Management                                   Venture XV CLO, Limited
 SOF-X Credit Holdings, L.L.C.                      Venture XVI CLO, Limited
 Soros Fund Management LLC                          Venture XVII CLO, Limited
 Star V Partners LLC                                Whitehorse IX, Ltd.
 Starwood Credit Advisors LLC                       Whitehorse VI, Ltd.
 Strategic Investment Opportunities, LLC            Whitehorse VII, Ltd
 Talamod Asset Management, LLC                      Whitehorse VIII, Ltd.
 Talamod Master Fund, LP                            Whitehorse X, Ltd.
 The Variable Annuity Life Insurance                XAI Octagon Floating Rate & Alternative
  Company                                            Income Term Trust
 Trimaran Advisors                                  York Capital Management Global Advisors,
 Venture 32 CLO, Limited                             LLC
 Venture 35 CLO, Limited                            York Global Finance BDH, LLC

 Letters of Credit
 Fedex                                              Portcheck LLC
 National Union Fire Insurance                      Safeco Insurance Company
 Pacific Employers Insurance Co.                    U.S. Bank National Association
 Pacific Gas & Electric                             United States Fidelity & Guaranty

 Lienholders
 Cortland Products Corp.                            IBM Credit LLC
 Emkay Canada Leasing Corporation                   IKON Financial Services
 Expeditors International of Washington, Inc.       Morgan Stanley Senior Funding
 Hewlett-Packard Financial Services                 UMB Bank, N.A.
  Company                                           Wells Fargo Bank, National Association

 Surety Bonds
 Alabama Power Company                              City of Leesburg, Customer Service
 Alcorn County Electric Power Association            Department
 American Electric Power Company                    City of Rock Hill
 Arizona Public Service Company                     City of Stillwater
 Atlantic City Electric (ACE)                       City of Tallahassee, Florida
 Benton Utilities                                   City of Vero Beach
 Canada Customs and Revenue Agency                  Clarksville Department of Electricity
 Carroll Electric Cooperative Corporation           Clay Electric Cooperative, Inc.
 Central Maine Power Company                        Coast Electric Power Association
 City of Bartow                                     Columbus Light and Water Department
 City of Brenham                                    Consolidated Edison Company of New
 City of Calhoun                                     York, Inc.
 City of Dalton - Dalton Utilities                  Constellation NewEnergy, Inc.
                                                    Dominion Virginia Power

                                                6
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25        Main Document
                                         Pg 51 of 138


 Duke Energy Carolinas, LLC                       Pearl River Valley Electric Power
 Duke Energy Indiana, LLC                          Association
 Duke Energy Kentucky, Inc.                       PECO Energy Company
 Duke Energy Ohio, Inc.                           Potomac Electric Power Company
 Duke Energy Progress, LLC                        Puerto Rico Dept. of Revenue
 Electric Power Board of Chattanooga              Puerto Rico Electric Power Authority
 Entergy Arkansas, Inc.                           Reliant Energy Retail Services, LLC
 Entergy Louisiana LLC                            Salt River Project Agricultural Improvement
 Entergy Mississippi, Inc.                         and Power District
 Entergy New Orleans LLC                          Santee Cooper
 Eversource Massachusetts                         SECO Energy
 Eversource New Hampshire                         Sevier County Electric System
 Florence Utilities, City of Florence             South Carolina Electric and Gas Company
 Florida Power & Light Company                    Southern California Edison Company
 Georgia Power Company                            Starkville Electric
 Greystone Power Corporation                      State of Kansas
 Groton Utilities                                 State of Nevada
 Gulf Power Company                               Tampa Electric Company, Credit
 Hydro Ottawa Limited                              Department
 JEA Buidling Community                           The Connecticut Light and Power Company
 Keys Energy Services                             Tri State Electric Membership Corporation
 Memphis Light, Gas and Water Division            Tupelo Water & Light Co.
 Murfreesboro Electric Department                 U.S. Customs and Border Protection
 New Smyrna Beach Utility Commission              United States Virgin Islands
 New York State Electric and Gas                  Virgin Island Water & Power Authority
 North Little Rock Utilities                      Walton Electric
 Northcentral Electric Power Association          West Memphis Utility Commission
 Norwich Public Utilities                         Withlacoochee River Electric Cooperative,
 Orange and Rockland Utilities                     Inc.
 Orlando Utilities Commission

 Insurance
 ACE American Insurance Company                   Aseguradora Mundial
 AGCS Marine Insurance Company (Allianz)          Aseguradora Paraguaya
 AIG Australia Limited                            Aspen DIC
 Allianz Global Corporate & Specialty,            Aspen Specialty Insurance Company
  Americas                                        ASSA
 Allianz Global Risks US Insurance                ASSA Compania de Seguros
  Company                                         Axis Insurance Company
 Allied WorlSd Assurance Co. (AWAC)               BCIC (British Caribbean Insurance
 American Guarantee and Liability Insurance        Company)
  Company (Zurich)                                Beazley
 Arch Specialty Insurance Co.                     Beazley Group
 Argo Pro                                         Beazley USA Services, Inc
 Aseguradora ACSA                                 Caribbean Alliance insurance Co. Ltd.
 Aseguradora General, S.A.                        Chartis (National Union Fire)

                                              7
Case 19-40883      Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                          Pg 52 of 138


 China Pacific Property Insurance Co., Ltd.       Monopolistic WC Wyoming
 Chubb                                            MSIG
 Chubb Group of Insurance Companies               National Union Fire Insurance Co. (AIG)
 Chubb, Financial Lines                           National Union Fire Insurance Company of
 CNA                                               Pittsburgh PA
 Endurance                                        Nationwide
 Federal Insurance Company                        Navigators Insurance Company
 Fichosa                                          Pacific Indemnity Insurance Company
 Freedom Specialty Insurance                       (PICC)
 General Accident Insurance                       RIMAC Seguros y Reaseguros SA
 Generali                                         RLI Insurance Company
 Great American Insurance Company                 RSA
 Guardian General                                 RSA Seguros Colombia
 Instituto Nacional de Seguros (INS)              Seguros America
 International SOS                                Seguros Atlantida
 JLT Specialty                                    Seguros El Roble SA
 La Centro Americana                              Seguros Equinoccial
 La Colonial                                      Seguros Equinoccial SA
 Liberty Mutual                                   Seguros G&T
 Lloyd's / Alpha                                  Seguros Sura
 Lockton                                          Seguros Universal
 Marsh                                            Shelter Reinsurance Company
 Massey United                                    Suraamericana S.A.
 Mitsui                                           The Ohio Casualty Insurance Company
 Monopolistic WC Alberta                           (Liberty)
 Monopolistic WC British Columbia                 Tokio Marine
 Monopolistic WC Manitoba                         Travelers Casualty & Surety Company of
 Monopolistic WC New Brunswick                     America
 Monopolistic WC Newfoundland                     TrinRe
 Monopolistic WC North Dakota                     Vero Insurance
 Monopolistic WC Nova Scotia                      Westchester Fire Insurance Co (ACE)
 Monopolistic WC Ohio DC                          US Specialty
 Monopolistic WC Ohio Stores                      XL Catlin
 Monopolistic WC Ontario                          XL Insurance
 Monopolistic WC Prince Edwards                   XL Insurance America, Inc
 Monopolistic WC Puerto Rico                      XL Professional
 Monopolistic WC Quebec                           XL Specialty Insurance Co.
 Monopolistic WC Saskatchewan                     Zurich
 Monopolistic WC Virgin Islands                   Zurich American Ins. Co.
 Monopolistic WC Washington                       Zurich Canada

 50 Largest Unsecured Creditors
 Acxiom Corporation                               Champion Athleticwear
 Alliance Shippers, Inc.                          Cognizant Technology Solutions US Corp.
 CA Technologies                                  Continents Sourcing Enterprises, Ltd.
 C & C Accord Ltd                                 E.S. Originals, Inc.

                                              8
Case 19-40883     Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                        Pg 53 of 138


 Engie Insight                                  Moda
 ESO International Limited                      Mystic Apparel LLC
 Ever-Rite International Co Ltd                 Panhong Footwear Co Ltd
 Everything Legwear LLC                         Peds Legwear USA Inc.
 Fantasia Accessories Ltd.                      Providence Products LLC
 Fantasia Hong Kong Limited                     RJTB Group LLC
 First Service Networks Inc.                    Salesforce.Com Inc.
 Fujian Putian Fortune Creation Import          Santak Corporation
 Fujian Putian Power Rich Import & Export       Santana Shoes
 Fusion Accessories Group Limited               Skechers USA Inc.
 Gennaro Inc.                                   Slong Industrial Co. Limited
 Glory China Footwear Co. Limited               State of California
 Google Inc.                                    Taizhou Global Trading Co Ltd
 Highcom International Limited                  The Asean Corp. Ltd.
 Hong Kong Olisa Co. Limited                    Top Luck Asia Limited
 Huge Development Ltd.                          Topline Imports Inc.
 Interloop Limited                              Topsmart International Co., Ltd.
 Inter-Pacific Corp.                            Tri-Coastal Design Group Inc.
 Jiangxi Lifeng Shoes Co. Ltd.                  US Customs
 Marc USA Chicago                               Xiamen C and D Light Industry Co. Ltd.
 Media News Group

 Significant Creditors
 7506473 Canada Inc.                            Engie Insight
 Accord                                         ESO International Limited
 Acxiom Corporation                             Ever Rite International Co. Ltd.
 Alliance Shippers, Inc.                        Ever Spotlight Ltd.
 Annie International Trading Company            Evergreen Shipping Agency America Corp.
 Assurance Facility Management Inc.             Ever-Rite International Co. Ltd.
 Baker & McKenzie                               Everything Legwear LLC
 Barkley Evergreen & Partners Inc.              Fantasia Accessories Ltd
 BCIMC Realty Corporation                       Fantasia Hong Kong Ltd.
 Belflex Staffing Network                       First Service Networks Inc.
 Bison Transport                                Flower City Printing
 Blue Apple Project SA De CV                    Fly Earth Co. Ltd.
 Business Direct Limited                        Fortune Creation Co. Ltd.
 C & C Accord Ltd.                              Fujian Putian Fortune Creation Import
 California Multimodal LLC                      Fujian Putian Power Rich Import & Export
 Celadon Logistics Services Inc.                Fusion Accessories Group Limited
 Champion Athleticwear                          Gamma Prosper International Ltd.
 Cognizant Technology Solutions US Corp.        Gennaro Inc.
 Dibang Shoes Co. Ltd.                          Gerald Labelle Architect
 Dongguan Longhua Shoes Co. Ltd.                Gerrard Square Inc.
 Dongyi Shoes Co. Ltd.                          Getronics
 E.S. Originals, Inc.                           Glory China Footwear Co Limited
 Emkay Canada Leasing Corp.                     Golden Pacific LXJ

                                            9
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25       Main Document
                                         Pg 54 of 138


 Highcom International Limited                   Qingdao Xinghong Industry & Trade Co.
 Hong Kong Olisa Co. Limited                      Ltd.
 Hoopp Realty Inc.                               Qingdao Xingzhihai Imp & Exp Co. Ltd
 Hopewell AB                                     Quad Graphics Inc.
 Huge Development Ltd.                           Quality Solutions Inc.
 Interloop Limited                               Republic Services Inc.
 Inter-Pacific Corp.                             RFS Canada
 IPC Hong Kong Branch Ltd.                       RJTB Group LLC
 Ivanhoe Cambridge II Inc. 06911                 Santak Corporation
 Jiangxi Lifeng Shoes Co. Ltd.                   Santana Shoes
 Kuehne & Nagel Ltd.                             Sarasti Sa de Cv
 Les Immeubles Du Carrefour Richelieu            Schneider National Inc.
 Li & Fung (Trading) Limited                     Slong Industrial Co. Limited
 Logistics Service (Panama) S.A.                 South China Shoes Products Company Ltd.
 Lux Accessories Ltd.                            Taizhou Global Trading Co., Ltd
 Marc USA Chicago                                Tangoe Inc.
 Martha Stewart Living Omnimedia Inc.            Teksystems Canada Inc.
 MC Sign Company                                 The Asean Corp Ltd.
 Moda                                            The Doug Cameron Experience
 Moda Shoe Limited                               Top Falcon International Limited
 Mood Media                                      Top Luck Asia Limited
 Mystic Apparel LLC                              Topline Imports Inc.
 Nova Genesis Intl Co. Ltd.                      Topsmart International Co., Ltd.
 Oxford ITF ECC East 205878                      Transource
 P H Company                                     Transx Ltd.
 Peds Legwear USA Inc.                           Tungya Logistics Co. Ltd.
 Performance Team Freight Systems Inc.           US Bank
 PH Company                                      Vector Security
 Providence Products LLC                         Vixxo Canada
 Putian City Hui Sheng Trading Co. Ltd.          Xiamen C and D Light Industry Co. Ltd.
 Putian Sunyoung Enterprise Co. Ltd.

 Accounts Receivable
 3BM Casselberry Inc.                            Arbor Park Village
 A&W Restaurants Inc                             Assistance League of Albuquerque
 AAI, Inc. (McDonald's)                          Assistance League of Anaheim
 Adams Food, Inc - McDonalds's Spendsmart        Assistance League of Atlanta
 Aift, Inc. - McDonald's Spendsmart              Assistance League of Austin
 Al Rowad for Shoes and Accessories (Al          Assistance League of Bakersfield
  Zwetina)                                       Assistance League of Bellingham
 Aldridge, Inc.                                  Assistance League of Boise
 Alshaya Trading                                 Assistance League of Capistrano Valley
 Altrusa Club of Gastonia                        Assistance League of Charlotte
 Amalie Oil Company                              Assistance League of Coppell
 Angels Over Sandpoint                           Assistance League of Diablo Valley
 Aps Education Foundation                        Assistance League of East Valley

                                            10
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25       Main Document
                                         Pg 55 of 138


 Assistance League of El Paso                     Batista Companies
 Assistance League of Everett                     Beaches Emergency Assistance Ministry, I
 Assistance League of Flagstaff                   Bearco Management Co - MCD Spendsmart
 Assistance League of Flintridge                  Bedford City Schools
 Assistance League of Garden Grove                Belleville Kiwanis Club
 Assistance League of Glendale                    Big Red Shoes LLC
 Assistance League of Greater Collin              Birdville Council PTA Clothes Connection
 Assistance League of Greater Placer              Bishop Sullivan Center
 Assistance League of Greater San Diego           Bkk Management Co. Inc.
 Assistance League of Hawaii                      Blessed Sacrament Cathedral SVDP
 Assistance League of Inland North County         Blue Harbor (Courtyards at River Park)
 Assistance League of Kansas City                 Blue Harbor Senior (Kirkwood Corners)
 Assistance League of Laguna Beach                Blue Harbor Senior Living (Canyon Creek)
 Assistance League of Los Gatos-Saratoga          Blue Harbor Senior Living (Glen Riddle)
 Assistance League of Metro Columbus              Blue Harbor Senior Living (Lionwood)
 Assistance League of Montgomery County           Blue Harbor Senior Living (Orchard Park)
 Assistance League of Norman                      Blue Harbor Senior Living (Schenley Gard
 Assistance League of Northern Virginia           Blue Harbor Senior Living (Willow Park)
 Assistance League of Orange Ca, Inc.             Blue Harbor Senior Living (Desert Flower)
 Assistance League of Portland (Beaverton)        Bob Evans Farms LLC
 Assistance League of Redlands                    Borgata Hotel Casino and Spa
 Assistance League of Riverside                   Breakfast Exchange Club of Ogden
 Assistance League of Sacramento                  Brinker International Payroll Company
 Assistance League of Sacramento                  Bronson, John F., Michael B.
 Assistance League of Salt Lake City              Building Hope in the City
 Assistance League of Salt Lake City              Burrell Michael - MCD Spendsmart
 Assistance League of Salt Lake City              Byrb, Inc. (McDonalds)
 Assistance League of San Antonio                 Cafe Services, Inc.
 Assistance League of San Mateo County            Cafe Services, Inc.-Fresh Picks
 Assistance League of Santa Clarita               Cannon United Methodist Church, Inc.
 Assistance League of Seattle                     Capital Township General Assist. Office
 Assistance League of SLC                         Capitol City Produce Company
 Assistance League of Stockton                    Carmichael Hart
 Assistance League of SW Washington               Carriage Town Ministries
 Assistance League of Temecula Valley             Casino Arizona-Food and Beverage
 Assistance League of the Bay Area                Catholic Charities (San Bernardino)
 Assistance League of Tucson                      Catholic Charities of Desoto County
 Assistance League of Ventura County              Centeva LLC
 Assistance League of Wichita                     Central Outreach & Advocacy Center
 Atka Enterprises Inc.                            Chandler Service Club (Operation BTS)
 Auburn Washburn USD 437                          Chandler Service Club, Inc.
 Avgen Incentives Group                           Chesapeake PTA Council
 Azadea Ghana Limited                             Children's Resource Foundation
 Bamco Inc - McDonald's Spendsmart                Christ Child Society of Cape May
 Banducci, John Michelle-MCD Spendsmart           Christ Child Society of Fort Wayne
 Bass Pro, LLC                                    Church of the Redeemer

                                             11
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25     Main Document
                                        Pg 56 of 138


 CKI, Inc. (McDonald's)                         Franklin Center of Beaver County
 Clark Familia LLC (McDonald's)                 Fresquez Concessions, Inc.
 Clay County Clothes Closet                     Friends of Fieldworkers, Inc.
 Cleburne Independent School District           Gilbert Promotional Corporation
 Colorado Springs School District #11           Girls on the Run (Baton Rouge)
 Columbia Associates (McDonald's)               Girls on the Run (Delaware)
 Columbus Public Schools                        Girls on the Run (San Diego)
 Common Ground Network                          Girls on the Run Northeast Ohio
 Communities in Schools of Comal County,        Girls on the Run NYC
 Conservation Corps North Bay                   Girls on the Run of Greater Milwaukee
 Contract Services Group, Inc.                  Girls on the Run of NW Indiana
 Corner Bakery Café                             Glen Ellyn Walk in Ministry
 Council of Churches of the Ozarks              Glendale Senior Dining
 Courtesy Corporation                           Good Shepherd Episcopal Church
 Creative Management Inc. (McDonald's)          Goodwill Industries of SE WI, Inc.
 Cross Point Free Will Baptist Church           Grace United Methodist Church, Inc.
 Cuyahoga Falls PTA Council                     Gremaud Group - McDonald's Spendsmart
 Damac II, Inc.                                 H & R Block #02075
 Davanni's Inc.                                 Harvard 50
 Davis School District                          Heart, Love & Soul Inc.
 Deane Group - McDonald's Spendsmart            Henry Ford Village
 Delphos Community Christmas Project            Henry Schein Practice Solutions
 Doco Shoes                                     Hillandale Farms Conn LLC
 Downtown Fort Worth Sertoma Club               Himalaya Management Inc., Co.
 Dress for Success Pittsburgh                   HMCC Inc. (Mcdonald's)
 East Idaho Credit Union                        Holdings Aquisition Co.
 Eblen Charities                                Hoover-Armstead Group: MCD Spendsmart
 Educational Enrichment Foundation              Huddle House, Inc.
 Emergency Care Help Organization               In His Steps Shoe Bank of Edinburg
 Fast Track Center Grove                        Iowa City Community School District
 Father Fred Foundation                         Iron Hill Brewery Restaurants
 First Baptist Church of Hope                   Jacob's Ladder Job Center Inc.
 First Baptist Church of Sarasota               Jahnke Group
 First Presbyterian Church (Cedar Falls)        James Wong
 First Presbyterian Church (Valparaiso)         Jeffco Schools Foundation
 First Presbyterian Church of Sarasota          JHP Inc.
 First UMC-Caritas (Sarasota)                   Jim's Management Co (McDonald's)
 First United Methodist Church                  John H. Boner Community Center
 First United Methodist Church (Odessa)         John Hessian III - McDonald's Spendsmart
 Flowing Wells School District #8               John Q Hammons Hotels Management, LLC
 Focus Brands Inc.                              John Santonastasso
 Foothill Unity Center                          Johnstone Foods, Inc. (McDonald's)
 Footwear Specialty                             Joint Organization for Inner City Needs
 Fowler Foods, Inc.                             Joven Enterprises
 Franchise Foods Systems Inc                    Joyner Enterprises, LLC
 Francisco Ramirez #07040                       JPN Management (McDonald's)

                                           12
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                        Pg 57 of 138


 Juan Marcos Presbyterian Church                 Muskogee Public Schools
 Kada, Inc.                                      My New Red Shoes
 Kanawha County School Funds                     Nami Summit County
 KCK Council PTA                                 Nana Management Service (Red Dog)
 Kelley, Jonathan C - MCD Spendsmart             Nana Management Services
 Killeen Masonic Lodge 1125                      Nana Management Services (Hilcorp)
 Kosanovich Group - McDonald's                   Natemork
  Spendsmart                                     Neediest Kids Inc.
 Lafayette Urban Ministry                        New Covenant United Methodist Church
 Lansing Old Newsboys Association                Newark Area Welfare Committee
 Las Vegas Strip Kiwanis                         Newell-Berg Alliance TN LLC
 Leebo's Stores Inc.                             News Herald Clothe-A-Child Program
 Legacy Restaurant Group, LLC                    NJB Operations (Taco Bell)
 Leonard Group - McDonald's Spendsmart           North Dallas Shared Ministries
 Lifebuilders of the Treasure Coast, Inc.        Northland Management Services
 Lima-Rapps Group                                Northwest Assistance Ministries
 Loaves and Fishes                               Norton Women's Club
 Lodi Adopt-A-Child Foundation                   Norwich Human Services
 Love Network of Baytown                         Norwich Schools Lunch Program
 Luvel Foods Inc. (McDonald's)                   Ohio Newsboys Association, Inc.
 Magic City Kiwanis                              Old Newsboys of Flint, Inc.
 Main Waters Enterprises (McDonald's)            Om Restaurant Group
 Manna House of Mariposa County                  One Voice
 Marble Falls Church of Christ                   Orrville United Way
 Marion East Cedar Rapids Rotary Club            Oshkosh-Winneconne Comm Back 2 School
 Mary's Place                                    Our Lady of Mount Carmel Church
 Masonic Charity Foundation of New Jersey        Pacific Coast Producers (Oroville)
 MBI, Inc. (McDonald's)                          Palm Springs Sunup Rotary Foundation
 McDonald's of Texoma                            Parc Soleil by Hilton Grand Vacation
 Medstar LLC                                     Park Hill School District
 Melissa Montes - McDonald’s Spendsmart          Partnerships for Children
 Memorial Assistance Ministries, Inc.            People First Foods
 Memphis Way (McDonald's)                        People in Need, Inc.
 Mendocino Co. Dept of Social Services           Pine Tree United Methodist Ministries
 Mendoza Co Inc - McDonald's Spendsmart          Pizza Properties, Inc.
 Mesa Foundation for Educational                 PJ's Forgotten Children
 Mesa Unified School District #4                 Pmpcc Foods, LLC (McDonald's)
 Metrocrest Social Services                      Police Aide Feed the Homeless Program
 Metropolitan Inter-Faith Association            Polk County School Board Hearth Project
 Midtown Assistance Center                       Portage Lakes Community Council
 Midwest Health Management                       Porter, Dale - MCD Spendsmart
 Missouri Jack LLC                               Portland Council PTA Student Aid
 Montes Group - McDonald's Spendsmart            Project Shoes
 Montgomery Co. Retired Teachers Assoc.          Provo Deseret Industries
 Moreno Group - McDonald's Spendsmart            Putra Agung
 Mullins Group - McDonald's Spendsmart           R and A Restaurants - MCD's Spendsmart

                                            13
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25        Main Document
                                         Pg 58 of 138


 Racap                                             St. Vincent De Paul Society, Inc.
 Raise Marketplace, Inc.                           Stagg Restaurants Partnership
 Reliance Clothing India Private Limited           State of Vermont-DCF-Economic Services
 Reliance Retail Limited                           Stew Leonard's
 Rembrandt Enterprises                             Steward Incorporated - McDonald's
 Retzer Resources - McDonald's Spendsmart          Stingley Mgmt. - McDonald's Spendsmart
 Retzer Resources Inc.                             Struthers PTA Council
 RHF Enterprises                                   STS Quarterly Allocation
 Roberts Group                                     Summerwood Corporation
 Robinson Department Store Public Co., Ltd.        Summit Christian Church
 Robinson Pharma, Inc.                             Suncoast Voices for Children Foundation,
 Rockdale Co Board of Education                    Sunshine Restaurant Partners, LLC
 S.S.M. Inc. (McDonald's)                          SVDP St. Mary's Conference
 Safer Foundation                                  SVDP St. Peter Conference
 Salt Lake City School District                    Talking Stick Resort-Food and Beverage
 San Francisco Conservation Corps                  TDS Restaurants, Inc. - MCD Spendsmart
 Sandia National Laboratories                      Tehama County Dept. of Social Services
 Saren Restaurants, Inc.                           Ten D Enterprises
 SC4K Special Teams                                The Barnabas Connection
 School Board of Volusia County                    The Children's Fresh Air Farm
 Schulz, Erika                                     The Chrysalis Center
 Schulz, Markus, Dieter                            The Chrysalis Center - CS Pacoima
 Schulz, Markuserika-MCD Spendsmart                The Chrysalis Center - CS Santa Monica
 Schwan's Food Service, Inc.                       The Chrysalis Center - Roads
 Scott County Rotary Club                          The Chrysalis Center - Works
 Scottish Rite Shoes for Kids                      The Pantry at St. Francis
 Sertoma Club of Watauga                           The Paradies Shops LLC
 Shoes and Clothes for Kids                        The Salvation Army (Anacortes)
 Shoes for the Needy, Inc.                         The Salvation Army (Elyria)
 Shopko Stores Operating Co LLC                    The Salvation Army (Hartford)
 Slipgard Shoes LLC                                The Salvation Army (Mansfield)
 Society of St. Stephen                            The Salvation Army (Plymouth)
 Society of St. Vincent De Paul                    The Salvation Army (Shelby)
 Sonic Drive In                                    The Salvation Army (Soledad)
 Sonic Drive In #1276                              The Salvation Army (Tustin)
 Sonoma Springs Covenant Church                    The Salvation Army (Wichita)
 South Madison Community School Corp               The Salvation Army (Williamsport)
 Spb Restaurants, Inc. (McDonald's)                The Wardrobe
 Spherion Staffing Llc (Chico)                     THI VI Diplomat Hotel Lessee
 Springfield Eagles Charities Inc.                 Toby Food Group, Inc
 St. Austin Catholic Church                        Toufayan Bakery of Florida Inc.
 St. Elizabeth Ann Seton - Love Truck              Trigg Elisa Mcdonalds Spendsmart
 St. Joseph the Worker                             Trinity Lutheran Church
 St. Louis De Monfort Parish                       Tri-Valley Interfaith Council
 St. Martha Parish in Sarasota                     Tuscany Vacation Village
 St. Paul United Methodist Church Largo            Twin City Community Outreach Clothes

                                              14
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                        Pg 59 of 138


 Two Rivers Head Start Agency                   Wendy's (Valparaiso)
 Union Station Homeless Services                Whittington Group – McDonald’s
 Union-Tribune Shoe Fund, Inc.                   Spendsmart
 United Methodist Human Services                William Temple House
 Usd 501 Topeka Public Schools                  Wireless Express, LLC #7080
 Veteran's Assistance Commission of Cook        Wojtowicz Group - McDonald's Spendsmart
 Villanova University Dining Services           Wolf Organization - MCD Spendsmart
 Vina Moses Center                              Woodlawn United Methodist Church
 Washington Street Elementary                   WVPH
 Washtenaw Intermediate School Dist.            Yolanda's Inc.
 Waves Hair Salon #07042                        York Benevolent Association
 Welltok (Incent One)                           Youth Opportunities Unlimited
 Wendy's (Hobart)

 Professionals
 Akin Gump Strauss Hauer & Feld LLP             FTI Consulting Canada Inc.
 Alix Partners                                  Kramer Levin
 Ankura Consulting Group                        PJ Solomon
 Armstrong Teasdale LLP                         Prime Clerk
 Bennett Jones LLP                              Reevemark
 Cassels Brock & Blackwell LLP                  Stroock & Stroock & Lavan

 Ordinary Course Professionals
 Action Corporate Services Limited              Cortina Tagle Isoard Y Cia, SC
 Adams & Adams                                  CT Corporation
 Adsuar Muniz Goyco Seda & Perez-Ochoa          D.P Ahuja & CO Patent & TM Attorneys
 PSC                                            De La Paz, Costemalle DFK, S.C.
 Aleman, Cordero, Galindo & Lee                 Denton Delany Law
 AltLegal                                       DLA Piper Hong Kong
 Ambrose Law Group                              Domnern Somgiat & Boonma Law Office
 Baker McKenzie                                 Ltd. (DS&B)
 Basch & Rameh                                  Duarte Nates Torres
 BDO LLC                                        Ernst & Young LLP
 Berkemeyer Attorneys & Counselors              Estudio Echecopar
 Blair Sterling Johnson & Martinez              Foley & Lardner LLP
 Blake, Cassels & Graydon LLP                   Fox Rothschild LLP
 Bognion S.p.A.                                 Garcia & Bodan
 Bordeau Immigration Law LLC                    Grant Thornton ORBIT Solutions Limited
 Bryan Cave, LLP                                Harneys
 Call and Jensen APC                            Hinshaw & Culbertson LLP
 Caribbean IP                                   IP Attorney Group, LLC
 Cervieri Monsuarez & Asoc.                     Jayhawk Towers LLC
 China Patent Agent (H.K.) Ltd.                 Johnson, Camacho & Singh
 Consortium Legal                               Jones Day
 Constangy Brooks Smith & Prophete LLP          Kim & Chang
 Corral & Rosales Cia. Ltda.                    Kors, Noviks & Asociados

                                           15
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25     Main Document
                                        Pg 60 of 138


 Law Offices of Rexford C. Kosack              Pittuluga & Associates
 Lewis Brisbois Bisgaard & Smith LLP           PKF Corporate Services Ltd.
 Li & Li                                       Posados, Posados & Vecino
 Littler Mendelson                             Rubio Villegas & Asociados
 Maples & Calder                               Saba & Co. IP
 Marvin Poer                                   Squire Patton Boggs Peña Prieto Gamundi
 Mayora & Mayora, S.C.                         Taylor English Duma LLP
 McGuire Woods LLP                             TMF Group
 Myers, Fletcher & Gordon                      TMF Netherlands, B.V.
 Parrish Management Corporation                VanEps Kunneman VanDoorne
 Pedro Castillo Pinedo & Asociados             Zürcher, Odio & Raven
 Pietrantoni Mendez & Alvarez

 Accounts Payable
 0313 BLOOMINGDALE COURT LLC                   1900 HEMPSTEAD TURNPIKE LLC
 0511 SIMON PROPERTY GROUP (TX)                195117 ONTARIO LIMITED
 0519 WEST TOWN CORNERS LLC                    20 VIC MANAGEMENT INC
 0540 SIMON PROPERTY GROUP LP                  2015 SHOPPING MALL BUSINESS LLC
 0732 SIMON PROPERTY GROUP LP                  2046459 ONTARIO INC
 1029 - 1205 NORTH COURT ST                    2065 WESIX LLC
  HOLDINGS LLC                                 2100 MAPLE CANYON PLAZA LLC
 107-19 LEASEHOLD LLC                          2105 SIMON PROPERTY GROUP LP
 1085 NELSON LLC                               21-25 GRAHAM AVE LLC
 110 WEST 34TH STREET REALTY                   214 HOLDING CORP
  ASSOC.                                       214 W. 125TH ST. PSS, LLC
 1111 COUNTRY CLUB DR LLC                      2157 86TH STREET LLC
 11TH HOUR STAFFING INC (DAMIAN)               2157 FLAGLER LLC
 1221 BUILDING TRUST ACCOUNT                   2200 NORTH MAPLE AVE LLC
 1240 ABBOTT ROAD ASSOCIATES LLC               22300 LAKE SHORE BOULEVARD LLC
 1273 DEER PARK LLC                            23 REALTY LLC
 1351 CORP INC                                 2307-SIMON PROPERTY GROUP LP
 13700 FOOTHILL BOULEVARD LP                   2318 SPG PRIEN LLC
 13TH AVENUE RETAIL HOLDINGS LLC               2324 LAKELINE DEVELOPERS
 140EWR LLC                                    2546 SIMON PROP. GRP. LP(TX)
 141 EAST FLAGLER LLC                          2636655 ONTARIO INC
 1420 N PARHAM ROAD LC                         2810 NEWPORT CENTRE LLC
 1451945 ONTARIO LIMITED                       290 - 300 KING GEORGE RD LP
 1540-SIMON PROPERTY GROUP LP(TX)              2902 THIRD AVENUE LLC
 1600 CHAMPA, LLC                              300 WEST SPE, LLC
 1604 CHESTNUT ASSOCIATES LP                   301 P LLC
 1616 AVE. U REALTY LLC                        3107 PENN ROSS JOINT VENTURE
 162-11 JAMAICA AVE REALTY ASSN.               3173 STEINWAY LLC
 1663321 ONTARIO INC                           32 EAST CENTER DELAWARE LLC
 1694412 ONTARIO INC                           3510 BERGENLINE AVENUE LLC
 18000 VERNIER ROAD HOLDINGS, LLC              3625-SEMINOLE TOWNE CENTER LP
 19 PROPS LLC                                  3632 MALL AT SMITH HAVEN LLC

                                          16
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 61 of 138


 3821099 CANADA INC                          6401 SUNRISE BOULEVARD LLC
 3829660 MANITOBA LIMITED                    65TH INFANTERIA SHOPPING CENTER
 3829678 MANITOBA LIMITED                     LLC
 3917 WESTRIDGE MALL LLC                     6711 GLEN BURNIE RETAIL LLC
 3920 TOWNE WEST SQUARE LLC                  7 STAR PLAZA INC
 3934390 CANADA INC                          700 EAST HUNTING PARK, LLC
 41/49 HIGHWAY JUNCTION LIMITED              713949 ONTARIO LIMITED
 416 OWNERS ASSOC.                           7342 GREENBACK LANE LLC
 429-441 86TH STREET LLC                     7604 PHEASANT LANE REALTY TRUST
 4666 SHOPPING CENTER ASSOC.                 767228 ALBERTA LTD
 4670 ORLAND LP                              79 BISCAYNE PLAZA LLC
 4674 SOUTH HILLS VILLAGE ASSOC              7976 ORLANDO OUTLET OWNER LLC
  L.P.                                       8099 SIMON CAPITAL LP
 4694 SHOPS AT ST. JOHN'S LLC                8178 BRUNSWICK SQUARE MALL LLC
 4770 LINDALE MALL LLC                       8262 COLUMBIA MALL PARTNERSHIP
 4779 SM MESA MALL LLC                       82ND ST JACKSON HEIGHTS LLC
 4780 SM RUSHMORE MALL LLC                   8401 DYER LLC
 4781 EMPIRE MALL LLC                        8544 FLORIDA MALL ASSOCIATES LTD
 479 MAIN RMR LLC                            8762317 CANADA INC
 47TH & KEDZIE PLAZA LLC FKA 666             87TH STREETCENTER LLC
  VENTURE                                    89-22 JAMAICA AVE. REALTY CORP
 480 WEST STREET LLC                         90567 CANADA, INC.
 4823 MALL AT NORTHSHORE LLC                 9148655 CANADA INC (DBA GLOBAL
 4828 LIVINGSTON MALL VENTURE                 LEGWEAR)
 4832 SIMON PROPERTY GROUP, INC.             933 SOUTH WILLOW STREET LLC
 4835 ROCKAWAY CENTER                        94-00 LIBERTY INC
  ASSOCIATES                                 9511 NORTH LAMAR LTD
 4837 - EMI SANTA ROSA LP                    9690 SIMON CAPITAL
 4838 BRAINTREE PROPERTY ASSOC.              985 WEST VOLUSIA LLC
  LP                                         9903 PORT CHARLOTTE MALL LLC
 4862 MALL OF GEORGIA LLC                    A I LONGVIEW LLC
 4915 MAYFLOWER APPLE BLOSSOM                A.J. LOUIS CORP
  LP                                         A.M. KLEMM & SON LLC
 4919 MAYFLOWER CAPE COD LLC                 A-1 ACTION SAFE & LOCK
 4920 MAYFLOWER EMERALD SQUARE               A-1 LOCK & KEY SUPPLY
  LLC                                        A25
 4924-MALL AT SOLOMAN POND LLC               AAA LAPEER HOLDINGS LLC
 4927-MNH MALL LLC                           AAM - 2001 AIRLINE DRIVE, LLC
 5 S ENTERPRISES LLP                         ABBY STAFFORD
 5060 MONTCLAIR PLAZA LANE                   ABC WIRE SALES CO
  OWNER LLC                                  ABEL'S EXPRESS (PP65)
 51 JOURNAL SQUARE I LLC                     ABERDEEN KAMLOOPS MALL
 52 EAST 170TH STREET REALTY CORP             LIMITED
 554 - 558 W 181ST STREET LLC                ABG ACCESSORIES INC
 585562 BC LTD                               ABIGAIL BROWNE
 630 MAIN AVENUE OWNER LLC                   ABP PEARL HIGHLANDS LLC

                                        17
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 62 of 138


 ABSTRACT HOLDINGS INC                       ALARMPRO INC
 ACADIANA MALL CMBS, LLC                     ALAYAH AUSTIN
 ACCENTURE LLP                               ALBANY MALL LLC
 ACCRALAW                                    ALBANY ROAD-SPRINGFIELD PLAZA
 ACCURATE BACKGROUND LLC                      LLC
 ACH ALEXANDRIA LLC                          ALBERTO SILVA SR
 ACI INT'L                                   ALBION FIRE DISTRICT
 ACS NEW IBERIA PLAZA LA LLC                 ALBMIN REALTY CO
 ACS PICAYUNE PLAZA MS LLC                   ALCO REALTY LLC
 ACXIOM CORPORATION                          ALDERWOOD MALL LLC
 ADAM BLEVINS                                ALDIN WILSON
 ADAM KING                                   ALEFF LLC
 ADAM KRAWCHICK                              ALEJANDRA ARTEAGA
 ADB & DJB HOLDING LLC                       ALEJANDRA GUTIERREZ
 ADESSO-MADDEN, INC.                         ALEJANDRA HURTADO
 ADH LEASING CO, LLC                         ALEJANDRO PADILLA
 ADJFAM MANAGEMENT CO                        ALERT ELECTRONICS, INC.
 ADLOR B. REALTY ASSOC. LLC                  ALEX ALVAREZ
 ADP CANADA CO                               ALEX ANDRA FABRE
 ADP LLC                                     ALEXANDER MAGDALENO
 ADRIAN ANGELES                              ALEXANDRIA MAIN MALL LLC
 ADSUAR MUNIZ GOYCO SEDA &                   ALEXIS MACIAS
 ADVANCED REAL ESTATE SERVICES               ALFREDO LOPEZ
  INC                                        ALHAMBRA VALLEY PROPERTIES LLC
 AFCC LIMITED 3719                           ALI LIVING TRUST
 AFN                                         ALICIA CHAVEZ
 AGC SD RETAIL 6, LLC                        ALIGHT SOLUTIONS LLC
 AGC TOWN CENTER NORTH LLC                   ALISON FOWLER
 AGILYSYS NV, LLC                            ALJACKS LLC
 AIA CORPORATION                             ALL ACCESS PROPERTIES LLC
 AIRATORS SKECHERS                           ALLEN & NEWMAN PLLC
 AIRBORNE REALTY LLC                         ALLEN HILL
 AIRWALK BEACH PRODUCT                       ALLEN W FAIR
 AJ SUE CONSULTING LLC                       ALLERTON ASSOCIATES LLC
 AJA BROWN                                   ALLIANCE MAINTENANCE
 AJENE BROWNE JOHN-CHARLES                   ALLIANCE SHIPPERS, INC.
 AKAMAI TECHNOLOGIES INC                     ALLISON CHELLEW
 AKFCF INC                                   ALLISON PIETCH
 AKIN GUMP STRAUSS HAUER & FELD,             ALMA ZEPEDA
  LLP                                        ALPHA LAKE LTD.
 AKSARBEN LIMITED PARTNERSHIP                ALTAIR GLOBAL RELOCATION
 AL ZEISZ AND IAN SMITH                      ALTAMONTE MALL LLC
 ALAN SEBANC                                 ALTON MALL LLC
 ALARM AND ELECTRONICS SYSTEMS               ALVAREZ & MARSAL NORTH
  LLC                                         AMERICA LLC
 ALARM PERMIT CLERK                          ALVERNAZ PROPERTIES

                                        18
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 63 of 138


 AMALGAMATED FINANCIAL GROUP                 ANDY POCKETT
  VI, LLC                                    ANGELA MIGUEL
 AMANDA CAPEHART                             ANIMAS VALLEY LLC
 AMANDA ELIAS                                ANISE DETERS
 AMARGOSA PALMDALE                           ANISSA ENGEL
  INVESTMENTS LLC                            ANN ARBOR DISTRIBUTION INC
 AMAZON MEDIA GROUP LLC                      ANNA KARPINSKI
 AMBER AMAYA                                 ANNA SAVIGNANO
 AMBER GRAY                                  ANNAPOLIS MALL OWNER LLC
 AMBER HOPKINS                               ANNE ARUNDEL COUNTY FARP
 AMBER HUMPHREYS                             ANNE COSTELLO
 AMBROSE LAW GROUP LLC                       ANNICK PICHETTE
 AMCAP COPACO II LLC                         ANNIE INTERNATIONAL TRADING
 AMELIA GEMENY WEST                           COMPANY
 AMERICAN ARBITRATION                        ANNIE LOPEZ CARRILLO
  ASSOCIATION                                ANTELOPE VALLEY MALL LLC
 AMERICAN BALLET THEATRE PPD                 ANTO BIRAKDERIAN
 AMERICAN BUILDING ASSOCIATES LP             ANTONIO ARAUJO
 AMERICAN COURIER CORP                       AON HEWITT CORPORATE
 AMERICAN EAGLE ROYALTY                       EXCHANGE
 AMERICAN FAST FREIGHT INC.                  APACHE MALL LLC
 AMERICAN FORK CITY                          APOPKA ASSOCIATES 2006 LLC
  CORPORATION                                APRIL FUDGE
 AMERICAN PLAZA GROUP LLC                    APRIL LEONARD
 AMERICAN RED CROSS HEALTH AND               APS TAPES INC
  SAFETY                                     APTOS CANADA INC
 AMERIPARK                                   ARACELI GONZALEZ
 AMERIPRIDE                                  ARACELY HIDALGO
 AMIRAN CAPITAL PARTNERS, LP                 ARBOR PLACE II LLC
 AMPAC INVESTMENT GROUP                      ARC BSLBCCA001, LLC
 AMSOURCE PLEASANT GROVE LLC                 ARCADE INVESTMENT CORP.
 AMY BELL                                    ARCADIAN SHORES COMMONS LLC
 AMY MILLER                                  ARCP MT AUSTELL GA, LLC
 AMY R MCCOY-HANNA                           ARCP MT HOUSTON TX, LLC
 ANA AGUAS                                   ARD LUFKIN SHOPPING CENTER LLC
 ANA CARABALLO                               ARD WEST WHITELAND LLC
 ANA FLORES                                  ARGELIA CARDENAS
 ANA GARCIA                                  ARGO WOODBURN LLC
 ANA MEZA                                    ARI FLEET
 ANAMAR PROPERTIES LLC                       ARIANA BOULDT
 ANAYELI MACIAS                              ARISLEYDA BREA
 ANDERSON COUNTY TREASURER                   ARIZONA MILLS MALL LLC
 ANDERSON SECURITY INC                       ARLINGTON RIDGE MARKETPLACE
 ANDREA HERMOSILLO                            LLC
 ANDREA NEGRETE                              ARMSTRONG TEASDALE
 ANDREW CARMEL                               ARN K. YOUNGMAN

                                        19
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 64 of 138


 ARNOLD SCOTT HARRIS PC ATTY AT              AURORA INVESTMENTS LLC
  LAW                                        AUSTINTOWN PLAZA PROPERTIES
 ARNOLD SHUSTERMAN OR CAROLYN                 LLC
 ARNOT REALTY CORPORATION                    AUTOMATIC PROTECTION SYSTEMS
 ARROW CONTAINER                             AUTUMN BYRDSONG
 ARROWHEAD MALL LLC                          AUTUMN KIRCHNER
 ARROWHEAD TOWNE CENTER LLC                  AUTUMN PROSSER
 ARUNDEL MILLS LP                            AVANTE ELLSWORTH VENTURE 1 LLC
 ARVADA RIDGE PUBLIC                         AVASANT
  IMPROVEMENT CO                             AVENUES MALL LLC
 ARVADA RIDGE VERTICAL RETAIL                AVERY DENNISON
  LLC                                        AVIANA COMPANY II LLC
 ASCENDANT (HONG KONG) TRADE                 AVIATION MALL NEWCO LLC
  CO LIMITED                                 AVIDO LLC
 ASHEVILLE MALL CMBS, LLC                    AWA SOW
 ASHIA LEWIS                                 AWE-AR IVERSON MALL LLC
 ASHLEE LAMBSON                              AZEETA - R LLC
 ASHLEE PERROTTA                             AZUCENA MAGANA
 ASHLEIGH FOULS                              B & B CASH GROCERY STORE, INC.
 ASHLEY BUSH                                 BACELINE VALUE FUND I UNIV
 ASHLEY FERRER                                PLAZA LLC
 ASHLEY HAUSCHEL                             BACHMAN LAKE VILLAGE, INC.
 ASHLEY MONROE                               BACK:US AGENCY INC
 ASHLEY MOORE                                BAESMAN GROUP INC
 ASHLEY ROYSTER                              BAG STUDIO LLC
 ASHLIE BECKMAN                              BAKER & MCKENZIE
 ASSESSOR                                    BAKERSFIELD FARP
 ASSOCIATION OF CORPORATE                    BALCORP, INC
  COUNSEL                                    BALDWIN PARK FARP
 ASSURANCE FACILITY                          BALDWIN SHOE PROP
  MANAGEMENT INC                             BALJEET HEER
 AT INVESTMENTS FOUR                         BALTIMORE CENTER ASSOCIATES LP
 ATACOSA MARKET LTD                          BAM COMMERCIAL PROPERTIES LLC
 ATC GLIMCHER LLC                            BANGOR MALL LLC
 ATCO VALLEY PLAZA LLC                       BANJO PROPERTIES LLC
 ATLANTIC CITY ASSOC #2 (S-1) LLC            BARBARA BLOCH REVOCABLE
 ATLANTIC SQUARE LLC                          TRUST
 ATLAS FIRE AND ALARM                        BARKLEY EVERGREEN & PARTNERS
 ATTENTIVE MOBILE INC                         INC
 AUBURN ASSOCIATES LLC                       BARNABA & MARCONI
 AUBURN MALL LLC                             BARR DOOR INC
 AUBURN PLAZA INC                            BARRAGAN & BARRAGAN
 AUDITOR OF STATE, UNCLAIMED                 BARRY GORENSTEIN
  PROPERTY                                   BARTON CENTRE LP
 AUDUBON VENTURES LLC                        BARTON INVESTMENT LLC
 AUGUSTA MALL LLC                            BARTOW ASSOCIATES LLC

                                        20
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 65 of 138


 BASS EQUITIES LLC                           BERKEMEYER ATTORNEYS &
 BASSETT PLACE REAL ESTATE CO                 COUNSELORS
  LLC                                        BERKSHIRE MALL LP
 BASTROP COUNTY TAX                          BERKSHIRE SHOPPING CENTER LLC
  ASSESSOR/COLLECTOR                         BERLAV ASSOCIATES
 BATES & MYERS COMPANY                       BERNALILLO COUNTY
 BATTLEFIELD MALL LLC                        BERNARDO MEZA
 BAWABEH BROTHERS NO 2 LLC                   BEST ONE TIRE & SERVICE OF MID
 BAY HARBOR PLAZA LLC                         AMERICA
 BAY PLAZA COMMUNITY CENTER                  BEST SECURITY INDUSTRIES
 BAYSHORE MALL                               BETTY ESPINOZA
 BAYSHORE SHOPPING CENTER                    BETTY JANE WILLIMON
  PROPERTY                                   BEVERLY V. ARTHUR
 BC & B                                      BH PREMIUM QUALITY WATERBURY
 BCIMC REALTY CORPORATION                     LLC
 BCS PROPERTIES OF ANN ARBOR LLC             BHAAJ TX1 LLC
 BCS REALTY, LLC                             BHNV REALTY CORP
 BDC LODI PLAZA LP                           BIBB COUNTY
 BDG GOTHAM PLAZA LLC                        BILL MCDONALD
 BDI                                         BIRCHWOOD MALL LLC
 BDO LLC                                     BIRD 107 PLAZA
 BEATRIZ ALVAREZ                             BISON TRANSPORT
 BEAVER VALLEY MALL LLC                      BISSELL COMMERCIAL
 BEAVEX INC                                  BIZER & DEREUS LAW FIRM TRUST
 BECKIE A ROUSE                               ACCOUNT
 BECKY TENBRINK                              BLACKSTONE GROUP-DIRKSEN
 BEDFORD LAND CO.                            BLAKE PROPERTIES OF MERIDIAN
 BEIJING CHANG TSI & PARTNERS                 LLC
 BEITLER LOGISTICS                           BLAKE, CASSELS & GRAYDON LLP
 BELDEN MALL LLC                             BLANCA ROBLES
 BELFLEX STAFFING NETWORK                    BLANCA SPRAGUE
 BELLE TERRE PLAZA LLC                       BLDG-ICS OLNEY LLC
 BELLECAS CONSULTING LLC                     BLESSING MOGBEYITEREN
 BELLIS FAIR MALL LLC                        BLOCH HTC LLC
 BELLMORE HOLDCO LLC                         BLOOMFIELD PLAZA ASSOC. L.P.
 BELLWETHER PROPERTIES                       BLOOMINGDALE SQUARE SHOPPING
 BEN J. & BETTY J. VALENTINE                  CRT
 BENATAR INVESTMENT GROUP LP                 BLUE ACORN INC
 BENNINGTON SQUARE PARTNERS                  BLUE APPLE PROJECT SA DE CV
  LLC                                        BLUE DIAMOND CROSSING II LLC
 BENTALL KENNEDY (CANADA) LP ITF             BLUECORE INC
 BENTALL KENNEDY LP ITF NORTH                BLVDCON LLC
  HILL SHOP                                  BM CROSSROADS LLC
 BENTALL RETAIL ITF OPTRUST                  BMHC LLC
 BENTON COUNTY TAX COLLECTOR                 BOARD OF POLICE COMMISSIONERS
 BERGENFIELD MUNICIPAL COURT                 BOARDWALK 15 A LLC

                                        21
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 66 of 138


 BOBPAYLESS MI LLC                           BRE RETAIL RESIDUAL SHOPPES AT
 BOCA PARK MARKETPLACE                        VALLEY
 BODESTER, LLC                               BRE THRONE APPLEGATE RANCH LLC
 BOISE MALL LLC                              BREANNA MARQUEZ
 BOLGER 39/MAIN BOLGER/GLO-RAE               BREANNA VALERO
  BOLGER                                     BREEAAD INTERNATIONAL INC
 BONIUK INTERESTS LTD                        BRENDA BENITEZ
 BONNIE DOON SHOPPING CENTRE                 BRENDA REYNOSO
  (HOLDINGS) L                               BRENDA SALYASONE
 BONNIE FUNG                                 BRIAN F CONROY TRUSTEE
 BOONE COUNTY COLLECTOR                      BRIAN GRNYA
 BOONE COUNTY FISCAL COURT                   BRIAN JACKSON
 BOONE COUNTY SHERIFF                        BRIAN STARLING
 BOROUGH OF EATONTOWN                        BRICK TOWNSHIP OF FIRE SAFETY
 BOROUGH OF PARAMUS                          BRICKTOWN UE LLC
 BOSCACCI GROUP LLC                          BRIDGEWATER COMMONS MALL II
 BOWERS FAMILY PARTNERS LLC                   LLC
 BOWIE MALL COMPANY LLC                      BRIDGEWATER FALLS STATION LLC
 BOYD COUNTY SHERIFF                         BRIE LACAILLE
 BOYKIN ENTERPRISES                          BRIGHAM CITY CORPORATION
 BOYNTON BEACH MALL LLC                      BRIGHT PAR 3 ASSOCIATES, L.P.
 BPC HENDERSON LLC                           BRIGHT-MEYERS KENNESAW ASSOC.
 BPP-1 LLC                                    LP
 BRADLEY A. BRUNTON                          BRITISH COLUMBIA MINISTER OF
 BRADLEY PARK CROSSING LLC                    FINANCE
 BRANCH GAINESVILLE ASSOCIATES               BRITTANY BAIRD
  LP                                         BRIXMOR CAPITOL SC LLC
 BRANDI PENA                                 BRIXMOR CROSS KEYS COMMON LLC
 BRANDI ROSS                                 BRIXMOR GA APOLLO I SUB LLC
 BRANDIANNE BREKKE                           BRIXMOR GA APOLLO I TX HOLDINGS
 BRANDON EAKES                                LLC
 BRANDON SC PARTNERS LTD                     BRIXMOR GA APOLLO III SUB
 BRANDON TERRELL                              HOLDINGS LLC
 BRANDY PIERCE                               BRIXMOR GA CHICOPEE
 BRAZOS TC PARTNERSHIP A LP                   MARKETPLACE LLC
 BRE DDR BR WHITE OAK VA LLC                 BRIXMOR GA COASTAL WAY LLC
 BRE DDR CARILLON PLACE LLC                  BRIXMOR GA COBBLEESTONE
 BRE DDR CROCODILE FALCON RIDGE               VILLAGE
  TOWN                                       BRIXMOR GA PANAMA CITY LLC
 BRE PEARLRIDGE LLC                          BRIXMOR GA SAN DIMAS LP
 BRE RC FIRST COLONY MD LLC                  BRIXMOR GA WILKES-BARRE LP
 BRE RC LOUETTA CENTRAL TX LP                BRIXMOR HANOVER SQUARE SC LLC
 BRE RC LOYAL PLAZA PA LP                    BRIXMOR HOLDINGS 11 SPE, LLC
 BRE RC YORK MP PA LP                        BRIXMOR HOLDINGS 12 SPE LLC
 BRE RETAIL RESIDUAL OWNER I LLC             BRIXMOR HOLDINGS 6 SPE LLC
                                             BRIXMOR HOLDINGS 8 SPE LLC

                                        22
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 67 of 138


 BRIXMOR MORRIS HILLS LLC                    BUILD A SIGN LLC
 BRIXMOR OLD BRIDGE LLC                      BUILDERS INC COMMERCIALS
 BRIXMOR PROPERTY OWNER II LLC               BULLITT COUNTY SHERIFF
 BRIXMOR ROOSEVELT MALL OWNER                BULLOCH CO. TAX COMMISSIONER
  LLC                                        BUNCOMBE COUNTY TAX
 BRIXMOR SILVER POINTE LLC                    COLLECTOR
 BRIXMOR SOUTHPORT CENTRE LLC                BUREAU OF FIRE PREVENTION
 BRIXMOR SPE 2 LLC                           BURKE & CARLTON PARTNERSHIP
 BRIXMOR SPE 3 LLC                           BURLESON STC I LLC, FILE #1478
 BRIXMOR SPE 5 LLC                           BURLINGTON COAT FACTORY OF
 BRIXMOR SPE 6 LLC                            TEXAS INC
 BRIXMOR SPRADLIN FARM LLC                   BURNSVILLE CENTER SPE LLC
 BRIXMOR TRI CITY PLAZA LLC                  BUSINESS DIRECT LIMITED
 BRIXTON ALTO SHOPPING CENTER,               BUSINESS PROPERTIES PARTNERSHIP
  LLC                                         NO. 31
 BRIXTON EVERETT LLC                         BUTLER COUNTY COLLECTOR
 BRIXTON PROVO MALL LLC                      BUTT-PATE-MASON TRUST
 BRIXTON ROGUE LLC                           BVA POPLIN PLACE LLC
 BRIXTON SHERWOOD LLC                        BY AND KC STARKVILLE
 BROADMOOR PLAZA RETAIL LLC                   PARTNERSHIP
 BROCKWAY INVESTMENTS LLC                    B-Y EDINBURG CENTER LTD.
 BROKEN ARROW SHOPPING CENTER                B-Y WESTERN VALLEY LTD.
  LLC                                        BYZANTINE, INC.
 BROOKE HENRY                                C & C ACCORD LTD
 BROOKFIELD SQUARE JOINT                     C CONNER
  VENTURE                                    C EAGLE SPIRIT LLC
 BROOKHAVEN CENTER ASSOCIATES                C STORE OF USA INC
  LP                                         C.I.A., L.L.C.
 BROOKLYN KINGS PLAZA LLC                    C.W. & ASSOCIATES
 BROOKVILLE AREA CHAMBER OF                  CA INC
  COMMERCE                                   CA NEW PLAN FIXED RATE
 BROWARD MALL LLC                             PARTNERSHIP LP
 BROWN FLORIDA HOLDINGS LLC                  CABARRUS COUNTY TAX
 BRUCE BERQUAM                                COLLECTOR
 BRUNSWICK FLOORS INC                        CACHE VALLEY PROPERTY VENTURE
 BRYAN CHANDA                                CAL OAKS PLAZA LLC
 BRYAN SEAMANS                               CAL TEX STAR PROPERTIES LLC
 BRYAN TOWER II, LP                          CALCASIEU PARISH SCHOOL BOARD
 BSC RETAIL OWNER LLC                        CALIFORNIA MULTIMODAL LLC
 BSCL & KSBI                                 CALLEIGH ENNIS
 BTC OWNER LLC                               CALLISTA GIANNISIS
 B-THAP, LC                                  CALLOWAY REAL ESTATE
 BUCHANAN COUNTY COLLECTOR                    INVESTMENT
 BUCKEYE WESTERN STAR                        CALLOWAY REAL ESTATE
 BUCKINGHAM PLAZA LP                          INVESTMENT TRUST
 BUEN TERRA LLC

                                        23
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 68 of 138


 CALLOWAY REIT - BURLINGTON                  CAPITAL CITY SHOPPING
  NORTH                                      CAPITAL CITY SHOPPING CENTRE
 CALLOWAY REIT - ETOBICOKE                    LIMITED
 CALLOWAY REIT - LANGLEY                     CAPITAL MALL LP
 CALLOWAY REIT - ST CATHARINES               CAPITAL PLAZA INC
 CALLOWAY REIT - WINDSOR                     CAPITAL REALTY ASSOC.
 CALLOWAY REIT - WOODSTOCK                   CAPITAL TRANSPORTATION &
 CALLOWAY REIT (BRAMPTON) INC                 TECHNOLOGY
 CALLOWAY REIT (HARMONY)                     CAPITOL SPRINKLER SERVICE CORP.
 CALLOWAY REIT (HOPEDALE) INC                CAPLACO MANAGEMENT CO
 CALLOWAY REIT (LAVAL E) INC                 CAPLACO MANAGEMENT CO BOGEY
 CALLOWAY REIT (NIAGRA FALLS) INC             HILLS PLAZA
 CALLOWAY REIT (WESTGATE) INC                CAPLO PARTNERS
 CALLOWAY REIT BOLTON                        CAPMARK SERVICES LP
 CALLOWAY REIT CALGARY INC                   CAPREF BURBANK LLC
 CALLOWAY REIT EDMONTON                      CAPREF EDEN PRAIRIE LLC
 CALLOWAY REIT HAMILTON                      CAPREF LLOYD II LLC
  MOUNTAIN INC                               CAPREF SMYRNA LLC
 CALLOWAY REIT INC                           CAPRI URBAN BALDWIN LLC
 CALLOWAY REIT INC LANCASTER                 CAPSTONE CONSULTING INC
 CALLOWAY REIT INC LONDON                    CAREERBUILDER LLC
 CALLOWAY REIT KAMLOOPS                      CARLA ROMERO
 CALLOWAY REIT LETHBRIDGE                    CARLOS ASCENCIO
 CALLOWAY REIT MONTREAL N                    CARLYLE SWANSEA PARTNERS LLC
 CALLOWAY REIT REGINA E INC                  CARMEL MOUNTAIN PLAZA LP
 CALLOWAY REIT SW ONTARIO INC                CARMEN GARCIA
 CALLOWAY REIT WHITBY INC                    CARMEN ROMERO-NICHOLS
 CALLOWAY REIT WINNIPEG SW                   CAROL BENNETT
 CALLOWAY REIT - MASCOUCHE                   CAROL PERDIC
 CALLOWAY REIT - UNICITY                     CAROL S HAROOTUNIAN
 CALLOWAYREIT - BROCKVILLE INC               CAROLINA GARCIA
 CALLOWAYREIT - REXDALE INC                  CAROLINA GUERRERO
 CALZADO MI LORD SA DE CV                    CAROLINA PLACE LLC
 CAMBRIDGE SHOPPING CENTRES                  CAROLYN ADELE JOSEPHO
  LIMITED                                    CAROUSEL CENTER CO LP
 CAMBRIDGESIDE PARTNERS LLC                  CARR-GOTTSTEIN PROPERTIES
 CAMDEN VILLAGE LLC                          CARRIE GLENN
 CAMERON KNOX                                CARRIE PASQUARELLI
 CAMILLE RAMPERSAD                           CARSON VALLEY CENTER LLC
 CAMPBELL COUNTY FISCAL COURT                CARY VENTURE LP
 CANADA POST NH                              CASA GRANDE FALSE ALARM
 CANADA REVENUE AGENCY                        REDUCTION PROGRA
 CANDY TORRENCE                              CASCO DIVERSIFIED CORPORATION
 CANYON COUNTRY PLAZA LP                     CASSIE ALVAREZ
 CAPARRA CENTER ASSOCIATES LLC               CASSIE GREGG
 CAPE GIRARDEAU COUNTY                       CASTLE BRAND GROUP LLC

                                        24
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 69 of 138


 CASTLETON SQUARE LLC                        CENTRAL VALLEY ASSOCIATES
 CATHERINE MEIER                             CENTRAL VALLEY PROPERTY
 CATHERINE SQUIRES                            HOLDINGS II LLC
 CATHERINE YOUNG                             CENTRE REGIONAL CHATEAUGUAY
 CATHRYN MCFALL                               INC
 CATHY TANG                                  CENTRECORP MANAGEMENT
 CBL - MONROEVILLE LP                         SERVICES LIMITED
 CBL / EASTGATE MALL, CMBS, LLC              CENTREPOINTE - JMYL LP
 CBL SM BROWNSVILLE LLC                      CENTRIC SOCKS LLC
 CBL WESTMORELAND LP                         CENTRO DEL SUR MALL LLC
 CBRE GLOBAL INVESTORS, LLC AAF              CENTRO RECAUDACION INGRESOS
 CBSA - CENTRAL PAYMENT                       MUNICIPALES
  PROCESSING CENTER                          CENTURY CENTER LLC
 CC INVESTMENTS GROUP LLC                    CENTURY PLAZA CORP.
 CCF PCG NORTHRIDGE, LLC                     CERIDIAN STORED VALUE
 CCVA INC                                     SOLUTIONS INC
 CDG - 92ND LLC                              CERTONA CORPORATION
 CEDAR CARMANS LL                            CERUTTI CO LLC
 CEDAR CITY CORPORATION                      CEVA FREIGHT
 CEDAR QUARTERMASTER LLC                     CEVA FREIGHT, LLC
 CEDAR-FIELDSTONE MARKETPLACE                CF III SH VALLEY FAIR LLC
  LLC                                        CGS EMERALD PARTNERS LLC
 CELADON LOGISTICS SERVICES INC              CH REALTY III LONG GATE LLC
 CELEBRATION REGIONAL                        CH REALTY VII / R NOVA PLAZA I & II
  ASSOCIATION                                 LLC
 CENTER 6 WESTPARK                           CH REALTY VII/R SAN DIEGO
 CENTER AREA SCHOOL DIST.                     EASTLAKE
 CENTER ASSOCIATES REALTY CORP.              CH RETAIL FUND 1/0RLANDO METRO
 CENTER POINT PLACE SHOPPING                  LLC
  CENTER                                     CHALMETTE MALL LP
 CENTER TOWNSHIP WATER                       CHAMBERSBURG MALL REALTY LLC
  AUTHORITY                                  CHAMPAGNAT CATHOLIC SCHOOL
 CENTERCORE DESTIN LLC -ISLAND                INC
 CENTEREACH MALL ASSOCIATES 605              CHAMPION ATHLETICWEAR
  LLC                                        CHAMPION ELEVATOR CORP
 CENTERPOINT MALL LLC                        CHAMPION EUROPE SPA
 CENTERRA RETAIL SALES CORP                  CHAMPLAIN CENTRE NORTH LLC
 CENTERRA PUBLIC IMPROVEMENT                 CHANDLER POLICE DEPTARTMENT
  CORP                                       CHANDRA L MYERS
 CENTERRA RETAIL SHOPS LLC                   CHANG K KIM & JEONG KIM
 CENTERVILLE CITY                            CHANTAL VAN NESS
 CENTERVILLE CROSSING LLC                    CHAPEL HILLS REALTY LLC
 CENTRAL LOAN ASSETS V LP                    CHARLA HILL
 CENTRAL MALL REALTY HOLDING,                CHARLES BROSENS
  LLC                                        CHARLES E SMITH
 CENTRAL SHOPPING PLAZA

                                        25
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 70 of 138


 CHARLES MALL CO LTD                         CHURCHILL COUNTY CLERK/TREAS.
  PARTNERSHIPA                               CIGNA BEHAVIORAL HEALTH
 CHARLOTTESVILLE FASHION                     CIGNA GLOBAL HEALTH BENEFITS
  SQUARE, LLC                                CIGNA GROUP INSURANCE-LIFE &
 CHARTER TOWNSHIP OF FLINT                    DISABILITY
 CHAUTAQUA MALL LLC                          CIII GECMC05-C1 LAKESIDE MALL
 CHEEMA LLC                                  CINCINNATI POLICE DEPT - FARU
 CHEEMENG HER                                CINDY MARIE BERMUDEZ
 CHELSEA PACIFIC INVESTMENTS LP              CINDY STOUT
 CHEMSEARCH                                  CINTAS CORPORATION
 CHEN CHONG                                  CINTAS FIRE
 CHERI BERNARD                               CIRCLE CENTRE MALL LLC
 CHEROKEE COUNTY TAX                         CIRCLE PLAZA LLC
  COMMISSIONER                               CITADEL MALL REALTY LLC
 CHERRY HILL CENTER LLC                      CITRUS CENTER CLINTON HILL LLC
 CHERRY HILL FIRE DEPARTMENT                 CITRUS HEIGHTS POLICE DEPT
 CHERRY HILL PROPRETIES LLC                  CITRUS PARK MALL OWNER LLC
 CHERRYVALE MALL                             CITY & COUNTY OF BROOMFIELD
 CHERYL BURTON                               CITY AND COUNTY OF HONOLULU
 CHERYL PAULSEN                              CITY LINE SHOPPING CENTER ASSOC
 CHESAPEAKE SYSTEM SOLUTIONS                 CITY METRO ALARM OFFICE
 CHESTER MALL LLC                            CITY OF ABERDEEN
 CHESTER RAYBURN LAKE JR                     CITY OF ABILENE ALARM PROGRAM
 CHESTERFIELD COUNTY POLICE                  CITY OF ALAMOSA
  DEPARTMENT                                 CITY OF ALBUQUERQUE POLICE
 CHESTERFIELD RETAIL LC                       DEPARTMENT
 CHICO FAZEKAS I LLC                         CITY OF ALEXANDRIA
 CHICO MALL INVESTORS LLC                    CITY OF ALHAMBRA
 CHICOPEE MARKETPLACE OWNERS,                CITY OF ALPHARETTA
  LLC                                        CITY OF ALTON, TREASURER
 CHIKA ESIOBU                                CITY OF ANAHEIM
 CHILLUM CENTER LLC                          CITY OF APPLETON
 CHIN CIARDELLA PROPERTIES LLC               CITY OF ARLINGTON
 CHINA PATENT AGENT (H.K.) LIMITED           CITY OF ASHLAND
 CHODY REAL ESTATE CORP                      CITY OF AUBURN
 CHRISOPOULOS FAMILY TRUST                   CITY OF AURORA
 CHRISTIAN MCWILLIAMS                        CITY OF AVONDALE
 CHRISTIAN SIRIANO HOLDINGS LLC              CITY OF BALTIMORE
 CHRISTINA FLECK                             CITY OF BARBOURSVILLE
 CHRISTINE HOLMES                            CITY OF BATON ROUGE
 CHRISTOPHER ANDERSON                        CITY OF BEAUMONT POLICE DEPT
 CHRISTOPHER FARLEY                          CITY OF BELLEVUE
 CHRISTOPHER OTT                             CITY OF BEMIDJI
 CHRISTOWN 1755 LLC                          CITY OF BENTON
 CHRISTY L KAHLE                             CITY OF BOSSIER CITY
 CHULA VISTA CENTER LP                       CITY OF BOSTON

                                        26
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 71 of 138


 CITY OF BOZEMAN                             CITY OF FEDERAL WAY
 CITY OF BRIDGEPORT                          CITY OF FENTON
 CITY OF BRIGHTON                            CITY OF FERNDALE TAXES
 CITY OF BUFORD                              CITY OF FLORENCE
 CITY OF BURIEN, WASHINGTON                  CITY OF FORT PIERCE
 CITY OF BURLINGTON                          CITY OF FORT SASKATCHEWAN
 CITY OF BURNABY                             CITY OF FORT WRIGHT
 CITY OF CALGARY                             CITY OF FRESNO
 CITY OF CALHOUN                             CITY OF FRISCO
 CITY OF CAPE GIRARDEAU                      CITY OF FT. COLLINS
 CITY OF CAPITOLA                            CITY OF GAINESVILLE
 CITY OF CHANDLER                            CITY OF GARDEN GROVE
 CITY OF CHARLESTON                          CITY OF GLENDALE
 CITY OF CHICAGO                             CITY OF GOODYEAR
 CITY OF CHICAGO ADMINISTRATIVE              CITY OF GRAND JUNCTION
  HEARINGS                                   CITY OF GRAND PRAIRIE
 CITY OF CHICAGO, DEPT OF FINANCE            CITY OF GRANITE CITY
 CITY OF CHUBBUCK                            CITY OF GRASS VALLEY
 CITY OF CHULA VISTA                         CITY OF GREAT FALLS
 CITY OF CLINTON                             CITY OF GREELEY
 CITY OF COLORADO SPRINGS                    CITY OF HAMMOND
 CITY OF COLUMBUS                            CITY OF HANFORD
 CITY OF COMMERCE                            CITY OF HARPER WOODS
 CITY OF CONYERS                             CITY OF HARRISONBURG ALARM
 CITY OF COTTONWOOD                           PROGRAM
 CITY OF COTTONWOOD HEIGHTS                  CITY OF HEATH
 CITY OF COVINA                              CITY OF HELENA
 CITY OF CRYSTAL LAKE                        CITY OF HEMET
 CITY OF DALY CITY                           CITY OF HENDERSON
 CITY OF DAYTONA BEACH                       CITY OF HICKORY
 CITY OF DEL RIO                             CITY OF HILLSBORO
 CITY OF DOTHAN                              CITY OF HINESVILLE
 CITY OF DOUGLAS                             CITY OF HOBBS
 CITY OF DOUGLASVILLE                        CITY OF HOLLISTER
 CITY OF DUMAS                               CITY OF HOLLYWOOD
 CITY OF DURANGO                             CITY OF HOUSTON
 CITY OF EAST POINT                          CITY OF HUNTINGTON
 CITY OF EDMONTON                            CITY OF INDIO ALARM PROGRAM
 CITY OF EL CAJON                            CITY OF INGLEWOOD
 CITY OF ELIZABETH                           CITY OF IRVING
 CITY OF ELIZABETH CITY                      CITY OF KAMLOOPS
 CITY OF ELIZABETHTOWN                       CITY OF KANSAS CITY, MISSOURI
 CITY OF EVERETT                             CITY OF KELOWNA
 CITY OF FAIRVIEW HEIGHTS                    CITY OF KENNEWICK
 CITY OF FALLON                              CITY OF KENT
 CITY OF FARMINGTON                          CITY OF KERMAN

                                        27
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 72 of 138


 CITY OF KINGMAN                             CITY OF NEWARK
 CITY OF KINGSPORT                           CITY OF NOGALES
 CITY OF KLAMATH FALLS                       CITY OF NORFOLK TREASURER
 CITY OF LA - FALSE ALARMS                   CITY OF NORTH MIAMI
 CITY OF LA MESA                             CITY OF OAK PARK
 CITY OF LACEY                               CITY OF OCEANSIDE
 CITY OF LAFAYETTE                           CITY OF OLYMPIA
 CITY OF LAKE ELSINORE                       CITY OF OMAHA
 CITY OF LAKE JACKSON                        CITY OF OPELOUSAS
 CITY OF LAKEWOOD                            CITY OF OREGON CITY
 CITY OF LAS VEGAS                           CITY OF OREM
 CITY OF LEDUC                               CITY OF ORLANDO
 CITY OF LEWISTON                            CITY OF OVERLAND
 CITY OF LITTLE ROCK                         CITY OF OWASSO
 CITY OF LIVONIA                             CITY OF OXNARD
 CITY OF LOGAN                               CITY OF PANAMA CITY
 CITY OF LONGVIEW                            CITY OF PANAMA CITY BEACH
 CITY OF LOS ANGELES                         CITY OF PASADENA TEXAS
 CITY OF LOUISVILLE KY                       CITY OF PASO ROBLES
 CITY OF LOVELAND                            CITY OF PASSAIC TAX COLLECTOR
 CITY OF LYNNWOOD                            CITY OF PEARLAND
 CITY OF MALVERN                             CITY OF PHILADELPHIA
 CITY OF MARGATE                             CITY OF PHILADELPHIA LAW
 CITY OF MARIETTA TAX DEPT.                   DEPARTMENT
 CITY OF MARSHALLPOLICE                      CITY OF PHOENIX
  INFORMATION SERVICE                        CITY OF PIGEON FORGE
 CITY OF MERCED                              CITY OF PLANO
 CITY OF MESA                                CITY OF POMPANO BEACH
 CITY OF MIAMI                               CITY OF PORTAGE
 CITY OF MILPITAS                            CITY OF PRINCE ALBERT
 CITY OF MILWAUKEE                           CITY OF PRINCE GEORGE
 CITY OF MISSION                             CITY OF PROVO
 CITY OF MOBERLY                             CITY OF PUEBLO
 CITY OF MODESTO                             CITY OF REDDING
 CITY OF MONROE                              CITY OF RENO NV
 CITY OF MONTGOMERY                          CITY OF REXBURG
 CITY OF MORENO VALLEY                       CITY OF RICHARDSON
 CITY OF MOSES LAKE                          CITY OF RICHMOND
 CITY OF MOUNTAIN VIEW                       CITY OF RICHMOND HEIGHTS
 CITY OF MOUNTAIN VIEW FAAP                  CITY OF RICHMOND KY
 CITY OF MURRIETA                            CITY OF RIVERDALE
 CITY OF NANAIMO                             CITY OF ROCKY MOUNT
 CITY OF NAPA                                CITY OF SACRAMENTO
 CITY OF NEW BRAUNFELS                       CITY OF SALINAS
 CITY OF NEW IBERIA                          CITY OF SAN BERNARDINO
 CITY OF NEW YORK CITY                       CITY OF SAN DIMAS

                                        28
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 73 of 138


 CITY OF SANTA CLARA                         CITY OF WHITEFISH
 CITY OF SANTA FE                            CITY OF WOODINVILLE
 CITY OF SANTA MARIA                         CITY OF WOODSTOCK
 CITY OF SAVANNAH                            CITY OF YUKON
 CITY OF SCRANTON                            CITY OF YUMA
 CITY OF SEGUIN                              CITY TAX COLLECTOR
 CITY OF SELMA                               CITY TREASURER
 CITY OF SHOW LOW                            CITY/BOROUGH OF JUNEAU
 CITY OF SIERRA VISTA                        CJ PRODUCTS INC
 CITY OF SMYRNA                              CLACKAMAS MALL LLC
 CITY OF SONOMA                              CLARK COUNTY ASSESSOR
 CITY OF SOUTHAVEN                           CLARK COUNTY NEVADA
 CITY OF SPRINGFIELD                         CLARKE CO. TAX COMMISSIONER
 CITY OF SPRINGFIELD ALARM                   CLARKSBURG PREMIUM OUTLETS
  PROGRAM                                    CLAUDETTE FRANKLIN
 CITY OF ST. ALBERT                          CLAYTON COUNTY TAX
 CITY OF ST. CLAIR SHORES                     COMMISIONER
 CITY OF ST. GEORGE                          CLEAN LIMOUSINE SERVICE
 CITY OF ST. LOUIS                           CLEARVIEW MALL ASSOCIATES
 CITY OF ST. PETERS                          CLEARWATER CALDWELL LLC
 CITY OF STATESBORO                          CLERK OF CIRCUIT COURT
 CITY OF STOCKTON                            CLERK OF COURTS
 CITY OF STUART                              CLINTON CITY
 CITY OF SUNNYSIDE                           CLINTON PINES LLC
 CITY OF SUNNYVALE                           CLOUDCRAZE SOFTWARE LLC
 CITY OF SURPRISE                            CLOVIS COMMONS LLC
 CITY OF SURREY                              CLUFF AND HARDY HOLDINGS, LLC
 CITY OF TAMPA                               CMP TOWN & COUNTRY LP
 CITY OF THOMASVILLE                         CNMI DIVISION OF TAXATION
 CITY OF THORNTON                            COASTAL GRAND CMBS LLC
 CITY OF TUCSON                              COASTAL PLAINS DEVELOPMENT
 CITY OF TUKWILA                              GROUP
 CITY OF VANCOUVER                           COASTLAND CENTER LLC
 CITY OF VERNON                              COBB COUNTY
 CITY OF VICTORIA                            COBB COUNTY TAX COMMISSIONER
 CITY OF VICTORVILLE                         COBRA GUARD, INC
 CITY OF VIENNA                              COCONUT POINT TOWN CENTER LLC
 CITY OF VIEW CAPITAL                        CODDINGTOWN MALL LLC
 CITY OF VISALIA                             CODY TROTTER
 CITY OF WASILLA                             COFIM MUNICIPIO DE ISABELA
 CITY OF WATAUGA                             COFIM MUNICIPIO DE MAYAGUEZ
 CITY OF WATERVILLE                          COGENT COMMUNICATIONS INC
 CITY OF WAUKEGAN                            COGNIZANT TECHNOLOGY
 CITY OF WEST BUECHEL                         SOLUTIONS US CORP
 CITY OF WEST JORDAN                         COLBY PINE TREE PLAZA LC
 CITY OF WESTMINSTER                         COL-CRAIG REALTY COMPANY

                                        29
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 74 of 138


 COLDWELL BANKER COMMERCIAL                  CONROE MARKETPLACE SC LP
  ELITE                                      CONTINENTS SOURCING ENT., LTD.
 COLE COUNTY COLLECTOR                       CONVERGE ONE, INC
 COLEMAN E ADLER II                          CONWAY DEVCO DE LLC
 COLISEUM CROSSING ASSOC., LLC               COOKEVILLE TN INVESTMENT
 COLLECTIVE BRANDS LOGISTICS                  PARTNERS
  LIMITED                                    COOKIE ADVANTAGE
 COLLECTIVE BRANDS SERVICES LTD              COOLSPRINGS MALL LLC
 COLLECTIVE FRANCHISING LTD                  COOPER COMM. PROP. II LLC
 COLLECTIVE LICENSING AIRWALK                COPYRIGHT CLEARANCE CENTER
  PPD ROYALTY                                 INC
 COLLECTOR - UNION COUNTY                    COR ROUTE 3 COMPANY LLC
 COLLECTOR OF REVENUE                        CORAL - CS/LTD ASSOCIATES
 COLLECTOR, PETTIS COUNTY                    CORAL RIDGE MALL LLC
 COLLEGE PARK DELAWARE LLC                   CORNERS AT HILLCROFT AT
 COLLEGE PLAZA INVESTORS LLC                  BELLAIRE, LP
 COLLEGE SQUARE 111, LLC                     CORNWALL CENTRE INC
 COLLIERS INTERNATIONAL                      CORNWALL SQUARE INC
 COLLIERS ITF THE MANUFACTURERS              CORONADO CENTER LLC
  LIFE                                       CORPORATE CLAIMS MANAGEMENT
 COLLIERS PENN MANAGEMENT AS                 CORPORATE EXPRESS
  AGENT                                      CORPORATE IT STRUCTURE
 COLONIAL PARK MALL REALTY                   CORPUS CHRISTI RETAIL VENTURE
  HOLDING LLC                                 LP
 COLONY OF LATROBE LP                        CORRIDOR MARKETPLACE
 COLORADO DEPARTMENT OF                      CORTINA TAGLE ISOARD Y CIA SC
  REVENUE                                    CORTLAND CAP MKTS TL INTEREST
 COLORADO MILLS LTD PARTNERSHIP              CORTLANDT TOWN CENTER LLC
 COLUMBIA COUNTY COLLECTOR                   CORTLANDVILLE CROSSING LLC
 COLUMBIA GRAND FORKS LLC                    CORTNEY LOGAN
 COLUMBIA MALL LLC                           CORUNNA PLAZA LLC
 COLUMBIA TECH CENTER LLC                    COUNCIL BLUFFS ALARM PROGRAM
 COLUMBIA-BBB WESTCHESTER S/C                COUNTRY WHOLESALE INC
 COMINAR REAL ESTATE INVESTMENT              COUNTRYSIDE MALL LLC
  TRUST                                      COUNTY CLERK, CODE
 COMINAR REIT                                 ENFORCEMENT
 COMM 2006-C8 SHAW AVENUE                    COUNTY COLLECTOR
  CLOVIS LLC                                 COUNTY OF ALBEMARLE
 COMMONWEALTH GOVERNMENT OF                  COUNTY OF VENTURA
  THE NORTHERN MARIANA ISLANDS               COUNTY TREASURER
 COMMONWEALTH OF VIRGINIA                    COVIN LIMITED PARTNERSHIP
 COMPASS COMMERCIAL REAL                     COYOTE LOGISTICS
  ESTATE SERVICES                            COZZINI BROS NATIONWIDE
 COMPLEXE PLACE ST-EUSTACHE INC               SHARPENING
 CONCORD MALL LP                             CP ANTELOPE SHOPS LLC
 CONESTOGA REALTY LLC                        CP ASSOCIATES LLC

                                        30
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 75 of 138


 CP PEMBROKE PINES LLC                       CRYSTAL CENTER MN-CRYSTAL
 CP VENTURE TWO LLC                           CENTER-HA LLC
 CP/IPERS CORAL LLC                          CRYSTAL CORNERS LLC
 CPC GATEWAY PLAZA II, LLC                   CRYSTAL CRUZ
 CPC STRATEGY LLC                            CRYSTAL EDMONDS
 CPHFHA HOLDINGS INC                         CRYSTAL MALL LLC
 CRAIG WRIGHT                                CRYSTAL RUN GALLERIA LLC
 CRAIGHEAD COUNTY COLLECTOR                  CSC CORPORATE DOMAINS INC
 CRAVEN COUNTY TAX COLLECTOR                 CSHV QUARRY LLC
 CREATIVE CIRCLE LLC                         CSHV SPRINGHURST LLC
 CREATIVE COURSEWARE INC                     CSHV WAUGH CHAPEL LLC
 CREATIVE INVESTMENTS IV LLC                 CSN LLC
 CRECCAL INVESTMENTS LTD                     CT CORPORATION
 CREF X LV CROSSROADS, LLC                   CT CORPORATION SYSTEM
 CREFII SILVER CITY LLC                      CT07-75 SWH LLC
 CREIT MANAGEMENT LP                         CTC GILBERT PHASE 1 LLC
 CREIT MANAGEMENT LTD                        CULVER CITY MALL LLC
 CRESTVIEW VILLAGE CENTER LLC                CUMBERLAND COUNTY TAX COLL.
 CRETE CARRIER CORP.                         CUMBERLAND MALL ASSOCAITES
 CRGRE LLC                                   CUMMINS CENTRAL POWER LLC
 CRIS BEFFORT                                CURALATE INC
 CRIVELLI MACK INC                           CURLA ROZAR
 CROMBIE DEVELOPMENTS LIMITED                CURRY COUNTY
 CROMWELL SQUARE PARTNERS L.P.               CURTIS 1000 INC
 CROSS COUNTY MALL MERCH.                    CW GROTON SQUARE LLC
  ASSOC                                      CX SUNFLOWER LLC
 CROSS CREEK MALL SPE LP                     CYBERSOURCE
 CROSS CREEK PLAZA INC                       CYNTHIA HARPER
 CROSSGATES MALL GENERAL CO.                 CYPRESS COURTYARD II LLC
  NEWCO LLC                                  CYPRESS CREEK CO., L.P.
 CROSSIRON MILLS HOLDINGS INC                CYPRESS FLAGSTAFF MALL LP
 CROSSROADS CENTER LLC                       D3 LUMBERTON LLC
 CROSSROADS IMPROVEMENTS                     DAB INVESTMENTS-SOUTHPORT
  OWNER LLC                                   COMMONS
 CROSSROADS JOINT VENTURE                    DACK CARBON ASSOCIATES LP
 CROSSROADS REALTY LLC                       DAESHA LACY
 CROSSROADS SHOPPING PLAZA INC               DAKOTA SQUARE MALL CMBS LLC
 CROWLEY LINER SERVICE                       DALE PHAN
 CROWLEY LOGISTICS                           DALLAS POLICE DEPT
 CROWN COMMERCIAL REAL ESTATE                DALTON MALL LLC
 CROWN EQUIPMENT CORP                        DAMCO DISTRIBUTION SERVICES INC
 CROWN WORLD MOBILITY                        DAN KLORES COMMUNICATION LLC
 CRP II LOS PRADOS LLC                       DANA REGO
 CRST INTERNATIONAL INC                      DANIEL G KAMIN MILLINGTON LLC
 CRUZ ALTA PLAZA LTD.                        DANIEL G. KAMIN SHOE STORES LLC
                                             DANIEL H MEINKOW

                                        31
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 76 of 138


 DANIEL ZEPEDA                               DDRA MAPLE GROVE CROSSING LLC
 DANIELLE BADORE                             DDRA TANASBOURNE TOWN CENTER
 DANNY MEDINA                                 LLC
 DANVILLE MALL LLC                           DDRM COFER CROSSING LLC
 DARI REALTY LLC                             DDRM RIVERSTONE PLAZA LLC
 DARINOR PLAZA                               DDRTC EISENHOWER CROSSING LLC
 DARION SCARBROUGH                           DDRTC FAYETTE PAVILLION III, IV
 DARLA BEDWELL                                LLC
 DARREN HADDOCK                              DDRTC TURKEY CREEK LLC
 DARTMOUTH CROSSING LIMITED                  DDRTC VILLAGE CROSSING LLC
 DATAMAX SERVICES INC                        DDRTC WOODSTOCK SQUARE LLC
 DATAPIPE INC                                DE ANZA COUNTRY SHOPPING
 DAVID ARENA                                  CENTER
 DAVID BARNES                                DE LA PAZ COSTEMALLE DFK SC
 DAVID BLOOMFIELD                            DEB HEIDEMAN
 DAVID C. SOWARD                             DEBBIE SCHWARTZ
 DAVID FISHER                                DEBORAH A. ORTEGA
 DAVID G. WEBB                               DEBRA LABONTE
 DAVID GILMORE                               DEBRA STEINMAN
 DAVID NESTOR                                DEER PARK STATION LMTD
 DAVMORE REALTY CO., LLC                      PARTNERSHIP
 DAY STAR                                    DEERBROOK MALL LLC
 DAYJAY ASSOCIATES                           DEES SUGARHOUSE CENTER LLC
 DAYTON MALL II LLC                          DEIDRE SMITH
 DB VISIONWORKS                              DEKALB ASSOCIATES LLC
 DBNET INNOVATIVE TECHNOLOGY                 DEL SOL PLAZA LLC
  INC                                        DELAWARE DIVISION OF REVENUE
 DBRA ATHENS PROPERTY                        DELL MARKETING LP
  INVESTMENT LP                              DELRAY REALTY ASSOC. LLC
 DC USA OPERATING CO LLC                     DELTA MB LLC
 DCG DEVELOPMENT CO                          DELTA PROPERTIES NY LLC
 DCL ST LUCIE WEST LLC                       DEMAR LOGISTICS INC.
 DCM LIMITED, LLC                            DENA RENEE EDWARDS
 DDR ATLANTICO LLC SE                        DENH AND FUNG INVESTMENT LLC
 DDR BROOKSIDE LLC                           DENHA HOLDINGS LLC
 DDR DB SA VENTURES LP                       DENICE ONEAL
 DDR DEL SOL LLC SE                          DENISON PARKING INC
 DDR ESCORIAL LLC SE                         DENITA L LEE JOHNSON
 DDR FAJARDO LLC SE                          DENNIS P MOORE
 DDR ISABELA LLC SE                          DENTCO INC.
 DDR MIAMI AVENUE LLC                        DEPARTMENT OF LABOR &
 DDR NORTE LLC SE                             INDUSTRIES
 DDR PALM VALLEY PAVILIONS LLC               DEPARTMENT OF PUBLIC HEALTH
 DDR RIO HONDO LLC SE                        DEPARTMENT OF REVENUE AND
 DDR TUCSON SPECTRUM LLC                      TAXATION OF GUAM
 DDR WINTER GARDEN LLC                       DEPARTMENT OF TREASURY

                                        32
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 77 of 138


 DEPARTMENT OF TREASURY OF                   DMA - DUCHARME, MCMILLON &
  PUERTO RICO                                 ASSOC. INC
 DEPTFORD TAX COLLECTOR                      DMC ENTERPRISES II LTD
 DEREK DOYLE                                 DMC LOGISTICS
 DERFELTS BAXTER CHAPEL                      DMDE PROPERTIES LP
 DESERT SKY MALL LLC                         DMI - DEVELOPERS OF MISSISSIPPI
 DESIREE CADOR                                INC
 DESIREE STEINER                             DOLORES ESLORA
 DESOTO OWNERS LLC                           DOLPHIN MALL ASSOCIATES LLC
 DEVCON SHOPS LLC                            DOLPHIN PLAZA LLC
 DEVILLE DEVELOPMENTS LLC                    DOMINIC BONADIO
 DEWAYNE CASTILLO DAVIS                      DOMINICK SCALI & ANGELA SCALI
 DEXTER                                      DON PAULUS
 DEZINE NEWS INC                             DONA ANA COUNTY TREASURER
 DGPOM MASTER TENANT LLC                     DONAHUE & PARTNERS LLP
 DIAL REALTY CHEYENNE MOUNTAIN               DONAHUE SCHRIBER REALTY GROUP
  11 LLC                                     DONALD JOHNSON
 DIALPAD INC                                 DONATELLA VIGNON
 DIAMOND INVESTIGATIVE                       DONGGUAN HOUSING PROVIDENT
  CONSULTING                                  FUND
 DIANA SURACE                                DONGGUAN LONGHUA SHOES CO
 DIANE KAY AND ALLEN J RANDALL                LTD
 DIANNE LEFFLER WALES                        DONGYI SHOES CO LTD
 DIBA IMPORTS                                DONNA HISE
 DIBANG SHOES CO. LTD.                       DONOVAN GREEN
 DIEDRE FERNANDEZ                            DORA SANTANA
 DIGILUBE SYSTEMS INC                        DORAL HOLDINGS LIMITED
 DIGITAL EVOLUTION GROUP                     DORMONT POLICE DEPARTMENT
 DIGITAL FIRST MEDIA                         DOROTHY SHEPARD
 DIMARCO BAYTOWNE ASSOC LLC                  DORVAL PROPERTIES CORPORATION
 DIMOND CENTER HOLDINGS LLC                  DOSH HOLDINGS INC
 DIMUCCI DEVELOPMENT CORP OF                 DOUG BELDEN HILLSBOROUGH
  CICERO II                                   COUNTY
 DIONE BREWSTER                              DOUG ROONEY
 DIRECTOR FRO                                DOUGHERTY COUNTY TAX DEPT
 DIRECTOR OF FINANCE                         DOUGLAS CNTY TAX COMMISSIONER
 DIRECTOR PROVINCIAL SALES TAX               DOUGLAS COUNTY FALSE ALARM
 DISCOVERY HARBOUR SHOPPING                   REDUCTION
  CENTRE LTD.                                DOUGLAS COUNTY TAX COLLECTOR
 DISNEY                                      DOUGLAS STAHL IMAGERY
 DISNEY CONSUMER PRODUCTS INC                DOVER MALL LLC
 DISTRIBUIDORA PERUGIA SA DE CV              DOVER MGMT., INC.
 DISTRICT OF CHILLIWACK                      DOWNTOWN WOODINVILLE, LLC
 DISTRICT OF COLUMBIA                        DREW COUNTY SHERIFF
 DL PROPERTIES                                &COLLECTOR
                                             DRG INTELLIGENT COMP CONCEPTS

                                        33
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 78 of 138


 DROP HT LLC                                 EASTLAND MALL LLC
 DRY #2, LLC                                 EASTPORT PLAZA SHOPPING CENTER
 DS SERVICES                                  LP
 DSM MB I LLC                                EASTVIEW MALL LLC
 DSRG - LAGUNA CROSSROADS                    EASTWAY I HOLDINGS, LLC
 DSRG LP COUNTRYSIDE                         EATONTOWN MONMOUTH MALL LLC
  MARKETPLACE                                EBIX INC
 DSW DEVELOPMENT CORP.                       ECA BULIGO ENTERPRISE PLAZA
 DSW WILMOT PLAZA LP                          PARTNERS LP
 DT BROOKSIDE LLC                            ECCLESTON & WOLF PC
 DTS SOFTWARE INC                            ECHION USA INC AS AGENTS FOR 503
 DUDLEY WASHINGTON LLC                       ECHO GLOBAL LOGISTICS INC
 DUFFERIN MALL HOLDINGS INC                  ECOLAB
 DULLES TOWN CENTER MALL, LLC                ECONO MALLS HOLDINGS #25 INC
 DUNIA SOLORZANO                             EDD ALLEN
 DUNKIRK LTD PARTNERSHIP                     EDISON MALL LLC
 DURGA PROPERTY MANAGEMENT                   EDMUND R WOOD
 DURHAM CITY/CNTY TAX                        EDNA GAYLE
  COLLECTOR                                  EDUARDO (GEORGE) GRESS
 DURKEE DRAYAGE COMPANY                      EDWARD & MARGARET L. MUNOZ
 DUSTIN HUDGINS                              EDWARD L. MIRACLE
 DUSTIN PORTER                               EDWARD MEDINA
 DYLAN COX                                   EDWARD SMITH
 DYNAMEX, INC.                               EDWIN BOYD ALDERSON
 DYNAMIC ASSETS LIMITED                       PROPERTIES, LLC
 E V KRAUS CO INC                            EGC GREENRIDGE LP
 E&N SPENO PROPERTIES                        EISENHOWER PROPERTIES LLC
 E.C.B. ANTIOCH, LLC                         EKT GROUP LLC
 E.S. ORIGINALS, INC.                        EL CENTRO MALL LTD
 EAGLE ELEVATOR COMPANY INC                  EL PASEO - CALEXICO LLC
 EAGLE EXPRESS INC                           ELAINA DYER
 EAGLE ROCK HOLDINGS LLC                     ELAINE LARSSON
 EARLE W KAZIS ASSOCIATES INC                ELDRIDGE CROSSING LTD
 EAST BROOK F LLC                            ELECTRONICS SUPPLY CO., INC.
 EAST BURNSIDE 5/19 LLC                      ELGIN MALL INC
 EAST CEDARBROOK PLAZA LLC                   ELIANA FELDSTEIN
 EAST COURT SHOPPING CENTER LP               ELIAS PROPERTIES CHAMPAIGN LLC
 EAST END FREEWAY PROPERTIES INC             ELIAS PROPERTIES GULFPORT LLC
 EAST FOREST PLAZA II LLC                    ELIAS PROPERTIES MANAGEMENT
 EAST MESA MALL LLC                           INC
 EAST ORANGE FIRE DEPARTMENT                 ELIDA FARSANY
 EASTEX VENTURE                              ELITE INVESTIGATIONS, LTD NY
 EASTGATE SHOPPING CENTER                    ELIZABETH CALDERON
 EASTGATE SQUARE GP INC                      ELIZABETH DWYER
 EASTLAND CENTER MALL REALTY                 ELIZABETH JOHNSON
  HOLDING LLC                                ELIZABETH KRUMMEL

                                        34
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 79 of 138


 ELIZABETH LEASUM                            ESRT 1359 BROADWAY LLC
 ELIZABETH SALZANO                           ESTEBAN MEDINA
 ELIZABETH TERPSTRA                          ESTEFFANIA RANGEL
 ELIZABETH UNDERWOOD                         ESTUDIO CALDERA S.A.
 ELKTON ASSOC. LP                            ETHAN CONRAD PROPERTIES INC
 ELLEN ANDERSON LOGAN TRUSTEE                ETR - 407 EXPRESS TOLL ROUTE
 ELLIE BRUCE                                 EUCLID SHOPPING CENTER LLC
 ELLJAY PROPERTIES II, LLC                   EUGENIA DECONGE
 ELMRIDGE ASSOCIATES LLC                     EUROPRO (TECUMSEH MALL) LP
 ELSA PAEZ                                   EVA GREEN SA DE CV
 ELSIE CHAREST                               EVA LORENZOTTI
 ELVIRA NYKIEL                               EVELYN MARCIAL
 EMANDEL REALTY CO.                          EVELYN RUBALCABA
 EMILY CERCE                                 EVER SPOTLIGHT LTD.
 EMILY CHANG                                 EVERGREEN SHIPPING AGENCY
 EMILY FIGUEROA                                AMERICA CORP
 EMILY MOORE PRODUCTION                      EVER-RITE INTERNATIONAL CO LTD
 EMILY ROSE GONZALEZ                         EVERYTHING LEGWEAR LLC
 EMILY ROSE HIRSCH HART                      EWH ESCONDIDO ASSOC.,L.P.
 EMKAY CANADA LEASING CORP                   EXAM WORKS
 EMKAY CARIBBEAN LEASING CORP                EXCEL EAST CHASE LLC
 EMKAY INC                                   EXCEL REALTY PARTNERS LP
 EMMA VELEZ                                  EXPEDITORS INTERNATIONAL
 EMPIRE COLUMBIA LP                          EXPEDITORS INT'L
 EMPRESAS PUERTORIQUENAS DE                  EXPERIAN MARKETING SOLUTIONS
  DESARROLLO IN                                INC
 EMPYR, INC MOGL LOYALTY                     EXPRESSWAY PLAZA SHOPS LTD
  SERVICES                                   F I STEELYARD COMMONS LLC
 ENGIE INSIGHT SERVICES INC                  F.T. & MARJORIE BRUNDRETT
 ENTERPRISE DAMAGE RECOVERY                  FADINA INVESTMENTS, LLC
 ENTERPRISE EAGLE PASS                       FAIR LAKES CENTERS ASSOCIATES II,
  ASSOCIATES LP                                LC
 ENTERPRISE HOLDINGS INC                     FAIRFAX COMPANY OF VA. LLC
 ENTERPRISE SHOPPING CENTER LLC              FAIRLANE GREEN OWNER LLC
 EP PASEO SOUTH HOLDINGS, LLC                FAIRLANE MEADOWS ROLLUP LLC
 EQUIPMENT DEPOT                             FAIRLESS HILLS SHOPPING CENTER
 ERENDIRA MADRIGAL                             LP
 ERICA RODRIQUEZ                             FAIRVIEW HUDSON 15 LLC AND 11-13
 ERIK DIAZ                                   FAIRVIEW POINTE CLAIRE
 ERIKA SUAREZ                                  LEASEHOLDS
 ERIN WHITE                                  FAITH MISSION & HELP CENTER INC
 ERNST & YOUNG                               FALCON GATEWAY PROPERTY LLC
 ERNST & YOUNG LLP                           FALLAS BORROWER I LLC
 ESMERALDA SPELLMAN                          FALLAS BORROWER II LLC
 ESO INTERNATIONAL LIMITED                   FALLIS A BEALL & THOMAS D
 ESPRESSO TECH                                 GOODNER

                                        35
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 80 of 138


 FANNIN COUNTY TAX                           FIRST AND MAIN NORTH LLC
  COMMISSIONER                               FIRST CAPITAL (CEDARBRAE) CORP
 FANTAS EYES                                 FIRST CAPITAL (ST CATHARINES)
 FANTASIA ACCESSORIES LTD                     CORP
 FANTASIA HONG KONG LTD.                     FIRST CAPITAL HOLDINGS (ONTARIO)
 FARMINGVILLE ASSOCIATES                      CORP
 FASHION SQUARE MALL REALTY LLC              FIRST COLONY MALL LLC
 FAULKNER COUNTY                             FIRST EAGLE DEVELOPMENTS, INC
 FAV REAL ESTATE VENTURE LP                  FIRST INSIGHT INC
 FAY P SCHROTH TESTAMENTARY                  FIRST MILTON SHOPPING CENTRES
  TRUST                                       LTD
 FAYETTE COUNTY                              FIRST PRINCE GEORGE DEV LTD
 FAYETTE MALL SPE LLC                        FIRST REAL ESTATE INVESTMENT
 FAYK YASIN                                   TRUST OF NJ
 FCHT HOLDINGS (ONTARIO) CORP                FIRST REAL PROPERTIES LIMITED
 FEDERAL EXPRESS CORP.                       FIRST SERVICE NETWORKS INC
 FEDERAL REALTY INVESTMENT                   FIS
  TRUST                                      FISE LLC
 FEDERAL REALTY PARTNERS LP                  FIT FAMILY DEVELOPMENT LP
 FEDEX                                       FIVE TOWN STATION LLC
 FENDER INVESTMENT GROUP                     FLAGLER SC LLC
 FERN PARK PLAZA LLC                         FLATBUSH CHARTER PARTNERS LLC
 FERNANDO MARTINEZ & JOSE                    FLATIRON PROPERTY HOLDING LLC
  MARTINEZ                                   FLETCHER BRIGHT
 FERNCROFT NORTH MAIN MARKET                 FLEX-PAC INC
  LLC                                        FLIPP CORPORATION
 FHM PARTNERS, LLC                           FLORENCE FLORENCE MALL FMH
 FIDC 85 LLC                                  LLC
 FIDELITY REAL ESTATE AS AGENT               FLORENCE MALL LLC
  FOR                                        FLORIDA DEPARTMENT OF REVENUE
 FIELDS STATION LLC                          FLORIDA MALL ASSOCIATES LTD
 FIERA PROPERTIES CORE FUND LP               FLORY LANDSCAPING AND
  FAIRGROUND                                  LAWNCARE
 FILA                                        FLOWER CITY PRINTING
 FILA USA INC                                FLOYD COUNTY TAX OFFICE
 FILER HOLDINGS LLC                          FLY EARTH CO. LTD.
 FINANCE COMMISSONER                         FONTANA SQUARE LLC
 FINCH LLC                                   FOOTHILL-PACIFIC TOWNE CT.
 FINDLAY VILLAGE MALL                        FORDHAM CHERA ACQUISITION LLC
 FINELINE TECHNOLOGIES                       FOREST HARLEM PROPERTIES LP
 FIRE KING SECURITY PRODUCTS LLC             FOREST PLAZA LLC
 FIRE PREVENTION BUREAU                      FORSYTH COUNTY
 FIREEYE INC                                 FORSYTH COUNTY-CITY TAX
 FIRST ADVANTAGE CANADA INC                   COLLECTOR
 FIRST AMENDMENT & RESTATEMENT               FORT SMITH MALL LLC
  OF MASSIMO                                 FORTERRA, INC

                                        36
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 81 of 138


 FORTUNE CREATION CO. LTD.                   FULTON COUNTY TAX
 FORTUNE WAY INTERNATIONAL CO.,               COMMISSIONER
  LTD                                        FULTON LAWRENCE LLC
 FORWARD AIR SOLUTIONS INC                   FUSION ACCESSORIES GROUP
 FOX RIVER MALL PARTNERS                      LIMITED
 FOX RUN LIMITED PARTNERSHIP                 FW WA-OVERLAKE FASHION PLAZA
 FOX RUN MALL LLC                             LLC
 FOX VALLEY MALL LLC                         G& I IX EMPIRE BIG FLATS LLC
 FPI COMINAR                                 G&I IX CAMP CREEK PROPERTY LLC
 FR SAN ANTONIO CENTER LLC                   G&I IX EMPIRE DELAWARE
 FR WESTGATE MALL LLC                         CONSUMER
 FRANCES HERNANDEZ                           G&I IX EMPIRE WALMART PLAZA LLC
 FRANCHISE BUSINESS SERVICES INC             G&I IX ESPLANADE PROPERTY LP
 FRANCHISE TAX BOARD                         G&I IX PALM VALLEY PAVILIONS LLC
 FRANCIS ROPES                               G&I VII BELLAIR PLAZA LLC
 FRANCISCO ROMERO                            G&I VIII CBL TTC LLC
 FRANCISCO HERRERA                           G&I VIII HAMMOND LLC
 FRANDOR LLC                                 G.A.R. REALTY
 FRANHILL REALTY LLC                         G4S SECURITY SYSTEMS (GUAM) INC
 FRANK ADAMS                                 GABINO GALVAN
 FRANK C. ROBSON                             GABRIELA SEGURA
 FRANK C. ROBSON REVOCABLE                   GABRIELA VELASTEGUI
  TRUST                                      GAINESVILLE REALTY LTD.
 FRANKLIN COUNTY COLLECTOR                   GALLAGHER BASSETT SERVICES INC
 FRANKLIN MILLS ASSOCIATES LP                GALLAGHER SHARP ATTORNEYS
 FRANKLIN PROPERTIES LTD LC                  GALLATIN MALL GROUP LLC
 FRANKLIN SQUARE 1136, INC                   GALLATIN VALLEY MALL
 FREDERICK POLICE DEPARTMENT                  MERCHANTS ASSN
 FREEMALL ASSOCIATES LLC                     GALLERIA AT ROSEVILLE
 FREIGHT SYSTEMS, INC.                       GALLERIA AT WOLFCHASE LLC
 FREMAUX TOWN CENTER SPE LLC                 GALLERIA DALLAS
 FREMONT INDUSTRIES, INC.                    GAMMA PROSPER INTERNATIONAL
 FREMONT RETAIL PARTNERS LP                   LTD
 FRIEDRICH GUENSCH                           GARDA CL TECHNICAL SERVICES INC
 FRISCO STATION LLC                          GARDAWORLD CASH SERVICES
 FRONTIER DEV ZEPHYRHILLS LLC                 CANADA CORP
 FRONTIER DEVELOPMENT HIALEAH                GARDEN CITY PARK ASSOCIATES LLC
  LLC                                        GARDEN CITY PLAZA LLC
 FRONTIER LYNCHBURG LLC                      GARDEN CITY PLAZA LTD
 FUEL CREATIVE STUDIO                        GARDENA POLICE DEPARTMENT
 FUJIAN PUTIAN FORTUNE CREATION              GARLAND COUNTY
  IMPORT                                     GARRISON FONDREN LLC
 FUJIAN PUTIAN POWER RICH IMPORT             GARY SOLOMON & CO.
  & EXPORT                                   GASSO HOLDING CO. LLC
 FULLER RBSC LLC                             GASTON COUNTY TAX COLLECTOR



                                        37
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 82 of 138


 GATOR COASTAL SHOPPING CENTER               GGP NORTHRIDGE FASHION CENTER
  LLC                                         LP
 GAYLUCK CORPORATION                         GGP PROVIDENCE PLACE LLC
 GB MALL LP                                  GGP STATEN ISLAND MALL LLC
 GCCFC 2007-GG9 NIAGRA FALLS                 GGP TUCSON MALL LLC
  BLVD LLC                                   GGP-FOUR SEASONS LP
 GEJ NEWBURGH LLC                            GGPLP LLC
 GEMA JIMENEZ                                GGPLP REAL ESTATE INC
 GEMINI PROPERTY MANAGEMENT                  GGP-MAINE MALL LLC
  LLC                                        GHGH REAL ESTATE LLC
 GEMTONE, INC.                               GIBRALTAR MGMT CO, INC., AGENT
 GENERAL WIRELESS OPERATIONS                 GILLIAN BIGGS TRUSTEE
 GENESIS CORP                                GINA AKKAOUI
 GENEVA SHOPPING CENTER LLC                  GINA YOUNG
 GENEVIEVE RICHARDSON                        GIRARDI PARK PLACE LLC
 GENNARO INC.                                GIV GREEN TREE MALL INVESTOR
 GENTILLY LLC 03935                          GK HOLIDAY VILLAGE LLC
 GEORGE BIRNBAUM                             GK PREFERRED INCOME II
 GEORGE CUSHMAN                               RIDGEMAR SPE LLC
 GEORGE GUBENER                              GKT CENTRAL TOWNE SQUARE LLC
 GEORGETOWN MARKET PLACE INC                 GKT THORNCREEK PLAZA LLC
 GEORGETOWN TWP. TREASURER                   GLANCE EYEWEAR
 GEORGETOWNE CENTER BROOKLYN                 GLASER PROPERTIES MEMPHIS TWO
  LLC                                         LLC
 GEORGIA DEPARTMENT OF REVENUE               GLEASON MALL LP
 GEORGIA-PACIFIC CORRUGATED LLC              GLENWOOD PLAZA LLC
 GERALD B DECLEMENTE                         GLENWOOD SPRINGS MALL LLLP
 GERALD C BEAUCHESNE                         GLIMCHER MJC LLC
 GERALD LABELLE ARCHITECT                    GLIMCHER SUPERMALL VENTURE
 GERALDINE LOPES-CHARRON                      LLC
 GERALDINE W STONEHOUSE                      GLOBAL WEBB LP
 GERARDO ALFONSO GONZALEZ                    GLOCAP SEARCH LLC
  COMPEAN                                    GLORIA LUGO
 GERMAN GASTELUM                             GLORY CHINA FOOTWEAR CO
 GERMANTOWN OIL CO INC                        LIMITED
 GERRARD SQUARE INC                          GLYNN CTY BD OF COMMISSIONERS
 GETRONICS                                   GMA PROPERTIES LLC
 GETTO & GETTO                               GNP PARTNERS
 GF VALDOSTA MALL LLC                        GOANIMATE
 GG RETAIL PROPERTIES LLC                    GOBIERNO MUNICIPAL AUTONOMO
 GGMC PARKING LLC                             DE CAROLINA
 GGP ALA MOANA LLC                           GODFREY CORT
 GGP GLENBROOK LLC                           GOLD COUNTRY SC LP
 GGP LIMITED PARTNERSHIP                     GOLDEN MILE INVESTMENT CO.
 GGP LP-CUMBERLAND MALL                      GOLDEN PACIFIC LXJ
 GGP MEADOWS MALL LLC                        GOLDENROD SDC LLC

                                        38
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 83 of 138


 GOLDMAN INVESTMENTS LTD                     GREENSPRING ASSOCIATES
 GOLF PLAZA II SHOPPING CENTER               GREENTOUCH LAWN & TREE
  LLC                                        GREENWAY PLAZA LLC
 GOODMAN MANAGEMENT LLC                      GREENWOOD MALL
 GOODWIND DEV. CORP.                         GREENWOOD PARK MALL LLC
 GOOGLE INC                                  GREG BEETS
 GORDON COUNTY TAX                           GREGG SELTZER DBA GTG
  COMMISSIONER                                ASSOCIATES
 GORDON GROUP MISSOURI CITY LP               GRENDENE S.A.
 GORDON-KAREN PROPERTIES                     GRETCHEN ST CLAIR
 GOSFORD AT PACHECO LLC                      GRI-EQY (PRESIDENTIAL MARKETS)
 GOVERNMENT OF THE U.S. VIRGIN                LLC
  ISLANDS                                    GRIFFIN CROSSROADS LLC
 GOVERNORS SQUARE LLC                        GROUP M PUERTO RICO INC
 GOVERNOR'S SQUARE MALL LLC                  GROVE CITY FACTORY SHOP&
 GP-MILFORD REALTY TRUST                      WACHOVIA
 GPR INVESTMENTS LLC                         GRUNDY COUNTY COLLECTOR
 GR-3 ASSOCIATES                             GS PACIFIC ER LLC
 GRACE ARAGON-MENZEL                         GSC PROPERTIES LLC
 GRACE CAPITAL INVESTMENT                    GTA OFFICE WEST INC
  CORPORATION                                GTM DEVELOPMENT LTD
 GRACIELA GASTELUM                           GUFFEY ROLLA PROPERTIES LLC
 GRAINGER                                    GULF VIEW REALTY LLC
 GRAND BALDWIN ASSOCIATES                    GUMBERG ASSET MANAGEMENT
 GRAND CENTRAL PARKERSBURG LLC                CORP
 GRAND DUNHILL LLC                           GUNN APPLIANCE REPAIR
 GRAND TETON MALL LLC                        GWINNETT COUNTY TAX
 GRAND TRAVERSE MALL LLC                      COMMISSIONER
 GRANVILLE STREET PROPERTIES,                GWINNETT PLACE MALL GA LLC
  INC.                                       GWL REALTY ADVISORS INC, ITF
 GRAPEVINE MILLS MALL LIMITED                H & M SYSTEMS SOFTWARE, INC.
  PARTNERSHIP                                H E B LP
 GRAY ENTERPRISES LP                         H/S FLORENCE LLC
 GREAT LAKES CARING HOSPICE                  HAB-BPT
 GREAT WORLD PROPERTIES LTD.                 HAERI HACIENDA PLAZA LLC
 GREECE RIDGE LLC                            HAGERSTOWN PREMIUM OUTLETS
 GREELEY MALL CO LLC                         HALES FAMILY LP #1
 GREEN 5 PROPERTY LLC                        HALEY MITCHELL
 GREEN MOUNT CROSSING LLC                    HALIFAX COUNTY TAX DEPT.
 GREEN OAK OWNER 1 LLC                       HALPERN PROPERTIES LLC
 GREEN PRESERVE LLC                          HAMDEN PLAZA ASSOCIATES LLC
 GREENBRIER MALL II, LLC                     HAMILTON II LLC
 GREENBURGH POLICE DEPARTMENT                HAMILTON MALL LLC
 GREENE COMMERCIAL RE GROUP                  HAMILTON TC LLC
  INC                                        HAMMOND & HAMMOND RENTAL
 GREENE COUNTY COLLECTOR                      PROP.

                                        39
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 84 of 138


 HAMTRAMCK CENTER LLC                        HEKEMIAN & CO., INC.
 HANES BRANDS INC                            HELEN SHISHKO
 HAP PROPERTY OWNER LP                       HEMET VALLEY CENTER LP
 HARDIN COUNTY SHERIFF                       HEMPSTEAD COUNTY COLLECTOR
 HARFORD MALL BUSINESS TRUST                 HEMPSTEAD LEVITTOWN ASSOC. LLC
 HARLAN C ERICKSON TRUST UTD 12-             HENDERSON-PROSPECT PARTNERS LP
  15-88                                      HENDON GOLDEN EAST LLC
 HARLAN D. AND MAXINE DGL                    HENRY COUNTY FIRE DEPARTMENT
 HARLAN D. AND MAXINE DOUGLASS               HENRY COUNTY TAX COMMISSIONER
 HARMAN REALTY BROOKLYN LLC                  HENRY K WORKMAN JR TRUSTEE
 HARMON FAMILY LLC                           HERITAGE PROPERTIES
 HARNETT COUNTY TAX COLLECTOR                HERITAGE REALTY LLC
 HARNEYS CORPORATE SERVICES                  HERLINDA CIARMOLI
  LIMITED                                    HERZOG SUPPLY CO., INC.
 HARRIS COUNTY                               HEWLETT PACKARD FINANCIAL
 HARRISBURG MALL LP                           SERVICES
 HARRISVILLE CITY                            HG GALLERIA LLC
 HARRISVILLE ROGERS LC                       HH BROWN INT'L SOURCING
 HARTMAN RICHARDSON HEIGHTS                  HHW ST LANDRY PROPERTIES LLC
  PROP                                       HICKORY FIRE DEPARTMENT
 HARTUNIAN LLC                               HICKORY RIDGE COMMONS, LLC
 HARVARD DEVELOPMENTS INC                    HIGH NOB-RANGELINE LLC
 HARVEY A. TOLSON                            HIGH POINTE COMMONS HOLDINGS
 HARVEY CAPITAL CORP                          LP
 HARVEY LINDSAY COMMERCIAL R/E               HIGHCOM INTERNATIONAL LIMITED
 HAT #1 LLC                                  HIGHLAND KINGDALE ASSOCIATES,
 HAWK COMMERCIAL PROPERTIES                   LLC
  LLC                                        HIGHLAND LAKES PROPERTY, LLC
 HAWTHORN LP                                 HILCO REAL ESTATE LLC
 HAWTHORNE ACQUISITION LLC                   HILLCREST MALL MANAGEMENT INC
 HAYDAY, INC.                                HILLSBORO PARTNERS LLC
 HAYLEY PATER MCCAFFREY                      HILLSBOROUGH BOARD OF FIRE
 HAYS MALL LLC                                COMMISSIONERS
 HAZLET TOWNSHIP                             HILLSBOROUGH COUNTY TAX
 HC LAKESHORE LLC                             COLLECTOR
 HEAP INC                                    HILLSIDE CENTRE HOLDINGS INC
 HEARTLAND COCA COLA BOTTLING                HILLSIDE PLAZA, LLC
  COMPANY                                    HILLTOP PLAZA LLC
 HEATH FRANKE                                HINDS COUNTY TAX COLLECTOR
 HEATH METTLER                               HINESVILLE CENTER LLC
 HEATHER D GRUNERT                           HINSHAW & CULBERTSON LLP
 HEATHER SKAPINOK                            HIRAM PAVILION OWNER LLC
 HEAVEN WOOD                                 HIXSON MALL LLC
 HEBCO DEVELOPMENT INC                       HJN FAMILY LLC
 HEIDY MIRANDA                               HK NEW PLAN ERP PROPERTY
 HEIGHTS RETAIL LTD                           HOLDINGS LLC

                                        40
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 85 of 138


 HMC DYSART, LLC                             IA HOUSTON NORTHWEST LIMITED
 HMVP HILLTOP INC                             PARTNERSHIP
 HNC CAPITAL LLC                             IA MONROE POPLIN LLC
 HOGAN TRANSPORTS INC                        IA OKLAHOMA CITY ROCKWELL LLC
 HOLIDAY INN EXPRESS HOTEL &                 IA SAN ANTOINIO WESTOVER, LLC
   SUITES                                    IA SAN ANTONIO WOODLAKE L/P
 HOLLYWOOD RETAIL VENTURES LLC               IAN D. FORBES
 HOLMDEL TOWNE CENTER LLC                    IAN HUNTER
 HOLYOKE MALL CO LP                          IAN M KING
 HOLZMAN GROUP LTD                           IBERIA PARISH SCHOOL BOARD
 HOMCO REALTY FUND (186) LP                  IBISWORLD, INC
 HONEY CREEK MALL LLC                        IBM
 HONG KONG NORTHWEST                         ICIMS, INC
   INVESTMENT LLC                            IDX CORPORATION
 HONG KONG OLISA CO LIMITED                  ILDA GUZMAN
 HOOD COMMONS BSD LLC                        ILLINOIS STAR CENTRE LLC
 HOOPP REALTY (MARLBOROUGH)                  IMAGINE PROPERTIES ENT LLC
   INC                                       IMANI EDUCATION CIRCLE CHARTER
 HOOPP REALTY INC                             SCHOOL
 HOOVER ELEVEN HOLDINGS LLC                  IMG MODELS INC
 HOOVER MALL LIMITED LLC                     IMG PRODUCTION LLC
 HOPEWELL AB                                 IMPERIAL COUNTY WEIGHTS AND
 HOPPER PROPERTIES, LP                        MEASURES
 HOUSTON COUNTY TAX                          IMPERIAL VALLEY MALL II, LP
 HOUSTON GULFGATE PARTNERS LP                IMPORT SOLUTIONS DE MEXICO, S DE
 HOWARD BARNES                                RL DE CV
 HSG-KRE OAK LAWN PROPERTY                   INDEPENDENCE COUNTY
   OWNER LLC                                  COLLECTOR
 HT WEST END LLC                             INDIAN MOUND MALL
 HUB GROUP ASSOCIATES INC.                   INDIAN VALLEY PLAZA INC
 HUGE DEVELOPMENT LTD.                       INDIGO PARK CANADA INC
 HUH DI/OCP CROSSLANDS, LLC                  INDUSTRIAL AIR CENTERS INC
 HULEN MALL LLC                              INFINITY CLASSICS INTERNATIONAL
 HUNTER RETAIL CNTR LLC                       INC
 HUNTINGTON ALARMS                           INGLES MARKETS INC.
 HUNTINGTON MALL                             INGLES MARKETS, INCORPORATED
 HVTC INC                                    INNOVATIVE DESIGNS, LLC
 HWA ENTERPRISES                             INSIDEOUT DEVELOPMENT
 HYLAN PLAZA 1339 LLC                        INSTITUTO LEGAL LAVORAL Y DE
 HYMAN FAMILY TRUST                           MEDIACION
 HZD PROPERTY OWNER LLC                      INTEGRATED LOGISTICS LLC
 I & R LLC                                   INTEGRIS VENTURES-SC LLC
 I9 ADVANTAGE                                INTEGRIS VENTURES-WR LLC
 IA DENVER QUEBEC SQUARE LLC                 INTELLIGRATED SYSTEMS LLC
 IA GARNER WHITE OAK LLC                     INTERLOOP LIMITED
 IA GREELEY CENTERPLACE LLC                  INTERNATIONAL CENTER INC

                                        41
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 86 of 138


 INTERNATIONAL IMPUTED INTEREST              JACKSONVILLE SHERIFF'S OFFICE
 INTER-PACIFIC CORP.                         JACQUELINE MATHIS
 INTERTEK INTERNATIONAL INC                  JACQUELINE MIRANNE
 INTERTEK TESTING SERVICES                   JACQUELYN WIGGIN
 INVERSIONES JOSELYMARI SE                   JADA THOMAS
 IP ATTORNEYS GROUP LLC                      JADE WOODLAND LLC
 IRA M. KOHN CO.                             JAJIMMY LLC
 IRAMCO REALTY & MGMT., INC.                 JALINNE ESPINOZA
 IRC RETAIL CENTERS                          JAMES ESSARY
 IRC RETAIL CENTERS MANAGEMENT               JAMES MORTLAND
   INC                                       JAMES PETERSON
 IRIS CASTILLO                               JAMESSA SMITH
 IRON MOUNTAIN                               JAMESTOWN S SHORE CENTER LP
 IRON MOUNTAIN CANADA                        JAMI KLINE
   OPERATIONS ULC                            JAMIE FERNANDES
 IRONDEQUOIT TK OWNER LLC                    JAMIE FISHER
 IRONWOOD SQUARE WEST LLC                    JAMIKA BERRYMAN
 ISABEL LEPE                                 JANET SERVIN
 ISLA DEL SOL ASSOCIATES LTD                 JANET VALENCIA
 ISRAEL LOPEZ                                JARDEL CO., INC.
 IVAN DIAZ                                   JASAN LLC
 IVANEL BIANCHI                              JASMINE FULLER
 IVANHOE CAMBRIDGE II INC                    JASMINE VALADEZ
 IVANHOE CAMBRIDGE II, INC                   JASON ASSOCIATES LLC
 IVANHOE CAMBRIDGE INC                       JASON FOX
 J & S TELLERMAN LLC 2464                    JASON HANNAH
 J.B. HUNT TRANSPORT, INC.                   JASON S. STEPHENS
 J.T. DUNN JR 200118                         JASPER COUNTY COLLECTOR
 J.W. RICH INVESTMENT CO                     JAY AND SNOW (JS) INT'L LTD
 JACK C. HUTCHINSON                          JAY H. & NANCY A. GRANT
 JACK COUNTY APPRAISAL DISTRICT              JAY HARRIS
 JACK COUNTY ASSESSOR                        JAY HENDRICK
   COLLECTOR                                 JAY JOHNSON
 JACK KATZ & MANUEL MUNOZ                    JAYHAWK TOWER CORP.
 JACK MARTIN                                 JAYNIE HAKEEM
 JACKIE JENKINS                              JAZZY GADDY
 JACKSON CORP                                JDC PROPERTIES
 JACKSON CROSSING REALTY LLC                 JDN REAL ESTATE HAMILTON LP
 JACKSON CROSSING SPE LLC                    JEAN A. JOSEPHO
 JACKSON RECRUITING GROUP                    JEFF VANDEVEN
 JACKSON SQUARE INVESTORS LLC                JEFFERSON ASSOCIATES LP
 JACKSONVILLE MEDICAL PLAZA                  JEFFERSON COUNTY
   OWNER LLC                                 JEFFERSON COUNTY SHERIFF'S OFC
 JACKSONVILLE MZL LLC                        JEFFERSON COUNTY TAX
 JACKSONVILLE REGIONAL CENTER                 COLLECTOR
   LLC                                       JEFFERSON COUNTY, DEPT. OF REV

                                        42
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 87 of 138


 JEFFERSON MALL CMBS LLC                     JOANN ZEITVOGEL
 JEFFERSON POINTE SPE LLC                    JOANNE BLANCHARD
 JEFFERSON-MARUMSCO 1, LLC                   JOAO CARNIERO LACERDA
 JEFFREY AMMON                               JOCEE REALTY CORP
 JENEL MGMT. CORP.                           JOCELYN OMEN
 JENNIFER BUESSING                           JODI FENDER
 JENNIFER CASTANEDA                          JOEL D. ARTHUR TRUSTEE OF THE
 JENNIFER CASTRO                              VOWEL
 JENNIFER DENTINGER                          JOFRESH LLC
 JENNIFER FALLON                             JOHANNA ALMESTICA
 JENNIFER GOODELL                            JOHN A. PORTER JR
 JENNIFER GUTIERREZ                          JOHN BUTLER
 JENNIFER KRUPA                              JOHN C. WINDLE TRUSTEE OF THE
 JENNIFER MAURITZ                            JOHN G. VENINI INVESTMENTS LTD.
 JENNIFER MOSLEY                             JOHN HOSKINS
 JENNIFER QUILES                             JOHN J CAVALDORO
 JENNIFER ROBERTS                            JOHN OZEREKO
 JENNIFER ROBNETT                            JOHN P. HOOTEN, TRUSTEE
 JENNIFER TROUT                              JOHN W. QUINN III TEST TR
 JENNIFER WILD                               JOHNNEISHA MOTT
 JERI ANDERSON                               JOHNSBOROUGH CORNER LLC
 JERRY R. DAVIS                              JOHNSON CONTROLS FIRE
 JERSEY CITY MUA                              PROTECTION LP
 JESA INVESTMENT LLC                         JOHNSON CONTROLS SECURITY
 JESELL HURTADO                               SOLUTIONS
 JESSE KNIGHT                                JOHNSON COUNTY COLLECTOR OF
 JESSICA BROWN                                REVENUE
 JESSICA CONRAD                              JOHNSON COUNTY TREASURER
 JESSICA GALE                                JOHNSTOWN COMRIE ASSOCIATES
 JESSICA RIGGS                                LLC
 JESSICA SERNA                               JOHNSTOWN S/C LLC
 JESSICA STARR                               JOLIET HILLCREST LLC
 JESSICA TURNEY                              JONATHAN FRAZIER
 JESSICA WEINER                              JONATHAN MARTIN
 JG ELIZABETH II LLC                         JONATHAN MOUTON
 JG WINSTON-SALEM LLC                        JONATHAN NEIL & ASSOCIATES INC
 JHON E. CADAVID                             JORDAN CARNEY
 JHR HOLDINGS LLC                            JORDAN CREEK TOWN CENTER LLC
 JIANGXI LIFENG SHOES CO LTD                 JORIAN PARK LLC
 JILL HARDY                                  JOSE CAMARENA
 JIM BONDS ENTERPRISES INC                   JOSE J CANTU
 JKS-MARSHALL, LP                            JOSE Y ENCARNACION
 JLJ ASSOCIATES                              JOSEPH AKEROYD
 JM111998 LLC                                JOSEPH HAMMERSCHMIDT CO
 JMCR SHERMAN LLC                            JOSEPH R. JESTER IV LLC
 JOAN M. DAHLE TRUST                         JOSEPH SIEGELE

                                        43
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 88 of 138


 JOSEPH T. CAMISA & MADELINE L.              KARINA SANCHEZ
 JOSEY/TRINITY MILLS LTD                     KARL HODOH
 JOSHUA CUNNINGHAM                           KARLA ARZATE WENCE
 JOY JONES                                   KARLA CARCACHE
 JOYCELIAN SIMS                              KARLA VILLANUEVA
 JPMCC 2006-LDP7 CENTRO ENFIELD              KARVIS JERNIGAN
  LLC                                        KATARZYNA GACEK
 JPMCC 2006-LDP9 NORTH RAINBOW               KATE REID
  BLVD LLC                                   KATHERINE ALLEN
 JPMG MANASSAS MALL OWNER LLC                KATHERINE DIERKING
  201563                                     KATHRYN BALL
 JPMO5-CIBC12 FORT STEUBEN MALL              KATHRYN FRAZER
 JRL LIBERTY 1133 LLC                        KATHRYN WILEY
 JUAN SOLANO JR                              KATIE HERRERA
 JUAN VALDEZ                                 KATIE MAYNE
 JUBILEE-CLINTON II LLC                      KATY MILLS MALL LP
 JUDITH NUNEZ                                KAW VALLEY STATE BANK & TRUST
 JUDITH STERN CANNON & GARY B                KAWTAR TURCIOS
  CANNON                                     KAYLA BEJAR
 JULIA CAYWOOD                               KAYLA PIEU SINBANDIT
 JULIA DEVORE                                KAYLEN SIVERTSON
 JULIANNE SAUNDERS                           KAYLI ANDERSON
 JULIANNE YINGLING                           KB PARKSIDE LLC
 JULIE MERVYN                                KC STORE FIXTURES
 JULIEN PERRIN                               KCTTC
 JULIO D. DELGADO                            KDI ATHENS MALL LLC
 JULIO PENA                                  KDI ATLANTA MALL LLC
 JUNGE ASSOCIATES LLC                        KDI RIVERGATE MALL LLC
 JW FRANKLIN CO                              KEKST
 KACI PROPERTY MANAGEMENT INC                KELLER FIRE & SAFETY, INC.
 KAITLIN RICHETTI                            KELLI M BOWIN
 KALENA RAMSEY                               KELLY COLF
 KALEY HANN                                  KELLY WATTS
 KAMEELAH ROBINSON                           KENAI PENINSULA BOROUGH
 KAMEHAMEHA CENTER CO                        KENNEDY MALL
 KAMERON LE FRERE                            KENTON COUNTY SHERIFF
 KANSAS BAR ASSOCIATION                      KENTUCKY STATE TREASURER
 KANSAS CITY SERIES OF LOCKTON               KERI LYNN HENDERSON
  CO LLC                                     KERISHA PETERSON
 KANSAS TECHNICAL SERVICES INC               KERMAN SHOPPING PLAZA LLC
 KARAMOH JALLOH                              KERMANIDIS REALTY TRUST
 KARELYNA LLC                                KERN GROUP INC
 KAREN DIAZ                                  KESHIA WILSON
 KAREN WHITSON KAPLAN                        KEVIN COGGIN
  REVOCABLE                                  KEVIN EVANS
 KARIN BERGH HALL TRUSTEE                    KEVIN HUNDLEY

                                        44
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 89 of 138


 KEVIN RELITZ                                KNOXVILLE PARTNERS LLC
 KEVKOR LLC                                  KOFFMAN-MCENTEE LLC
 KEYSER AVENUE PROPERTIES LLC                KR STRATFORD LLC
 KEYSHA DYE                                  KRAGEN PROPERTIES LLC
 KHALID MIRZA                                KRE BROADWAY MALL OWNER LLC
 KHURRAM UDDIN                               KRE COLONIE OWNER LLC
 KIE INVESTMENTS LLC & BJI                   KRG CEDAR HILL PLAZA, LP
  INVESTMENTS LLC                            KRG DRAPER PEAKS LLC
 KIMBERLY ASTOQUILLCA                        KRG HENDERSON EASTGATE, LLC
 KIMBERLY BAIRES                             KRG INDIAN RIVER LLC
 KIMBERLY KRIEGER                            KRG KOKOMO PROJECT COMPANY
 KIMBERLY LAYFIELD                            LLC
 KIMBERLY LESH                               KRG LAS VEGAS CENTENNIAL
 KIMBERLY SPANULO                             CENTER LLC
 KIMCO BROWNSVILLE LP                        KRG LAS VEGAS EASTERN BELTWAY,
 KIMCO CARROLLWOOD 664, INC.                  LLC
 KIMCO DELAWARE INC                          KRG PALM COAST LANDING LLC
 KIMCO L-S LIMITED PARTNERSHIP               KRISTA GINGRICH
 KIMCO REALTY CORPORATION                    KRISTEN MARTIN
 KIM-SAM PR RETAIL LLC                       KRISTEN RODGER
 KIMSCHOTT FACTORIA MALL LLC                 KRISTIN DANIELS
 KIN PROPERTIES INC                          KRISTIN SMITH
 KING CITY IMPROVEMENTS LLC                  KRISTINE PRACTICO
 KING CITY MERCHANTS ASSN                    KRISTY OCONNER
 KING COUNTY FINANCE DIVISION                KRYSTLE HAWK
 KING OF PRUSSIA ASSOCIATES                  KS EGLINTON SQUARE INC
 KING PROPERTIES                             KS HERITAGE PLACE INC
 KINGMAN PLAZA LLC                           KS LAMBTON MALL INC
 KINGOTT, LLC                                KS TECUMSEH MALL INC
 KINGSGATE MALL LP                           KSE MANUFACTURING INC
 KINGSPORT MALL LLC                          KUEHNE & NAGEL LTD
 KINGSTON MALL LLC                           KURTIS WALTER
 KINGSTOWNE TOWNE CENTER                     KURTUS POWELL
 KINGSWAY GARDEN HOLDINGS INC                KUWAIT MINISTRY OF FINANCE
 KIOP BRANFORD LLC                           KVC INVESTORS, LLC
 KIR BRANDON 011 LLC                         KWEST RESOURCES INC
 KIR CITYPLACE MARKET LP                     KYLE AFFRONTI
 KIRKWOOD MALL ACQUISITION LLC               L&J MANCHESTER III, LLC
 KIRSTEN ENRIGUEZ                            LA ALAMEDA LLC
 KITSAP MALL LLC                             LA CIENEGA SAWYER LTD
 KLAIRMONT ENTERPRISES INC                   LA COLUMBUS LLC
 KLEMENT-WES PARTNERSHIP LTD.                LA CROSSE CITY TREASURER
 KM FRESNO INVESTORS LLC                     LA HABRA WESTRIDGE PARTNERS LP
 KMART CORP                                  LA PORTE COUNTY TREASURER
 KMC LIMITED PARTNERSHIP                     LA ROSAS INC
 KNIGHTDALE CENTER LLC                       LABOR STAFFING INC TENNESSEE

                                        45
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 90 of 138


 LAFOLLETTE DEED OF REALTY                   LAUREL MALL LP
  CREATING                                   LAUREN JEFFORDS
 LAFRAMBOISE REALTY LLC                      LAUREN KELLER
 LAINIE ZIMMERMAN                            LAURIE DESALVO
 LAIRD PLASTICS                              LAVALE ASSOCIATES II LLC
 LAKE AIR HOLDINGS LLC                       LAVI INDUSTRIES
 LAKE ELSINORE CENTER LLC                    LAWRENCE FALSE ALARM
 LAKE HAVASU CITY                             REDUCTION PROGRAM
 LAKE MANAWA CENTRE II, LLC                  LAWRENCE QUEEN PLLC
 LAKE STEVENS GRF2, LLC                      LAWRENCEVILLE MARKET 1707 LLC
 LAKELAND SQUARE MALL LLC                    LAWSON ROBERTS
 LAKELAND VENTURE, INC.                      LAYTON HILLS MALL CMBS LLC
 LAKES MALL REALTY LLC                       LAZ PARKING COLORADO
 LAKEVIEW SQUARE LLC                         LB UBS 2007-C7 SHORE RD
 LAKEWOOD RETAIL LLC                         LB-UBS 2007-C6 INDIAN HILLS
 LAKHA PROPERTIES-LAKEWOOD TC                 STATION LLC
  LLC                                        LCI-SVAP NDM JV, LP
 LAMAR E GWALTNEY                            LE CARREFOUR LAVAL (2013) INC
 LAMIA GILLIAM                               LEA COUNTY TREASURER
 LAMONICA LTD                                LEAVENWORTH COUNTY TREASURER
 LANA ROTAN                                  LEBANON PAD LP
 LANCASTER PARTNERS                          LEBANON VALLEY MALL CO.
 LANDING VENTURE ASSOCIATES LLC              LEE CHRISTENSEN
 LANDINGS REALTY LLC                         LEE COUNTY TAX COLLECTOR
 LANDSTAR RANGER INC                         LEE LINDEN
 LANES MILL ASSOCIATES, LLC                  LEESBURG PIKE CENTER LLC
 LANGLEY PARK PLAZA INC                      LEHIGH VALLEY MALL LLC
 LANSDOWNE MALL INC                          LEON HARARY, INC.
 LANSING MALL LLC                            LERNERS LAWYERS
 LARAMIE COUNTY TREASURER                    LEROI B GARDNER JR MD
 LARGO LLC                                   LES IMMEUBLES DU CARRE
 LARRY E. NIKKEL                             LES IMMEUBLES DU CARREFOUR
 LARRY RHODES                                 RICHELIEU
 LAS AMERICA'S PREMIUM OUTLETS,              LESIA BEZENAR
  LLC                                        LESLIE PIERCE
 LATEEF NASIRU                               LESLYE ROMERO
 LATIN WORLD ENTERTAINMENT                   LESTER SCHWAB KATZ & DWYER
  HOLDINGS                                   LETICIA HUIZAR
 LATISHA PERKINS                             LEVCOM WALL PLAZA ASSOC.
 LAUDERHILL MALL INVESTMENT                  LEVCOM-PLAZA RT. 46 ASSOC.
  LLC                                        LEVIN MGMT. CORP.
 LAURA GILBERT                               LEVYCO LLC
 LAURA KEISLING COLLECTOR                    LEWIS COMMERCIAL PROPERTIES
 LAURA MOLINA                                 LLC
 LAURA PERALTA                               LEXINGTON-FAYETTE URBAN CO
 LAURA QUERO                                  GOV

                                        46
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 91 of 138


 LEXINGTON-FAYETTE URBAN                     LJ NORTHLAKE LLC
  COUNTY GOVT                                LOFFREDO FRESH PRODUCE CO, INC
 LF2 ROCK CREEK LP                           LOGAN VALLEY REALTY LLC
 LFUCG                                       LOGISTICS SERVICE (PANAMA) S.A
 LG WALNUT SQUARE LLC                        LOMBARDO COMPANIES LP
 LGM EQUITIES LLC                            LONDONDERRY SHOPPING CENTRE
 LI & FUNG (TRADING) LIMITED                  INC
 LIBERTY DISTRIBUTION COMPANY                LONG BEACH CENTER LLC
  LLC                                        LONG DRIVE VENTURES, LLC
 LICENSE AND FINE ACCOUNT                    LONG YEAR INTERNATIONAL SHOES
 LIDIA RAMIREZ                                COMPANY LT
 LIGHTHOUSE PLAZA LLC                        LOOMIS FARGO & CO
 LIGHTHOUSE VILLAGE PARTNERS                 LOR CORPORATION
  LLC                                        LORELEI LANE
 LILES GAVIN PA                              LOS ANGELES COUNTY
 LILLIANA MELGAR                             LOUFRANCO PROPERTIES INC
 LIMITED ENERGY CONCEPTS                     LOUISIANA DEPT OF AGRICULTURE &
 LIN DEE LIU & YU SHENG VICTOR LIU            FORESTRY
 LINCOLN PLAZA CENTER LP                     LOUISVILLE FARP
 LINCOLN SHOPPING CENTER LLC                 LOURDES BURCIAGA
 LINCOLNWOOD TOWN CENTER, LLC                LOURDES COBIAN CHAVEZ
 LINDA B. LYON REVOCABLE TRUST               LOVELESS/TOLLEFSON PROPERTIES
 LINDA BEACH ZOLLER                          LOWNDES COUNTY TAX COMM.
 LINDA HARRAR-OLSTYN                         LOYAL HOLDINGS DE LLC FBO
 LINDA JOHNSON                               LP SOFTWARE, INC
 LINDA M. PARSONS REVOCABLT                  LR LACEY MARKET SQUARE LLC
  TRUST                                      LRC MAGIC INVESTORS LTD
 LINDELL MARKET PLACE LP                     LSREF3 SPARTAN GENESSEE LLC
 LINDEN PLAZA LLC RESTRICTED                 LTL ITALIAN DESIGN LLC
  DACA ACCT                                  LUAN INVESTMENT, S.E.
 LINDSEY BATENHORST                          LUCIA CHEA
 LINDY LOMA                                  LUCIA HERRERA
 LINE 14 VENDOR                              LUIS ARMENDARIZ
 LINEAGE                                     LUIS DERAS
 LINKEDIN CORPORATION                        LUISA BUITRON
 LISA LOCKMAN                                LUISA RIOS
 LISA MERRITT                                LUX ACCESSORIES LTD
 LISA MILLER                                 LYCOMING MALL REALTY HOLDING
 LISA SLATER ORGANIZATIONAL                   LLC
  DESIGN LLC                                 LYLA ASSOCIATES LLC
 LISA YI KIM                                 LYNDSEY FLORES
 LISSAN GRIZZLE                              LYNN VALLEY SHOPPING CENTRE
 LITTLER MENDELSON                           LYNNETTE BROOKS
 LIVERN WELLINGTON                           LYNNHAVEN MALL LLC
 LIZ MONTANEZ                                LYSA DEESE
 LIZBETH LEYVA                               M & M INVESTMENTS LLC

                                        47
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 92 of 138


 MABELVALE PLAZA LLC                         MALL AT IRVING LLC
 MACARTHUR PARK LP                           MALL AT JEFFERSON VALLEY LLC
 MACDADE MALL ASSOCIATES LP                  MALL AT LONGVIEW LLC
 MACERICH BUENAVENTURA LP                    MALL AT MIAMI INTERNATIONAL LLC
 MACERICH CERRITOS LLC                       MALL AT MONTGOMERY LP
 MACERICH DEPTFORD LLC                       MALL AT POTOMAC MILLS LLC
 MACERICH FRESNO LP                          MALL AT ROCKINGHAM LLC
 MACERICH LAKEWOOD LP                        MALL AT SUMMIT LLC
 MACERICH NIAGARA LLC                        MALL AT TUTTLE CROSSING LLC
 MACERICH NORTH PARK MALL LLC                MALL AT WHITE OAKS LLC
 MACERICH SOUTH PARK MALL LLC                MALL DEL NORTE LLC
 MACERICH VICTOR VALLEY LP                   MALVERN TOWN CENTRE INC
 MACERICH VINTAGE FAIRE LP                   MANAGER OF FINANCE
 MACERICH WESTSIDE PAVILION PROP             MANAPORT PLAZA LLC
  LLC                                        MANATEE COUNTY FALSE ALARM
 MACOMB CENTER HOLDINGS LLC                   UNIT
 MACOMB CENTER PARTNERS LLC                  MANHATTAN ASSOCIATES INC
 MACYS RETAIL HOLDINGS INC                   MANITOBA FINANCE TAXATION
 MADDY MIREMBE                                DIVISION
 MADELINE HECK                               MANN ENTERPRISES INC
 MADERA CAPITAL LP                           MANOA SHOPPING CENTER
 MADIA FRANKLIN                               ASSOCIATES LP
 MADISON CO. SALES TAX DEPT.                 MANSION MALL MARKETPLACE LLC
 MADISON COUNTY TAX COLLECTOR                MANTHAN SOFTWARE SERVICES
 MADISON EAST TOWNE LLC                       PRIVATE LMTD
 MADISON SELLENRIEK                          MANUEL LAFRENIERE
 MADISON WEST TOWNE LLC                      MANUFACTURERA DE CALZADO
 MAELIA SIERRA                                ENSUENO SA DE C
 MAFRI HOLDINGS, INC.                        MAPLE PROPERTIES LLC
 MAGIC VALLEY MALL LLC                       MAPLES AND CALDER
 MAGNOLIA S/C ASSOCIATES LLC                 MAPLEWOOD MALL LLC
 MAGNUM GROUP LLC                            MARC MCFRAZIER
 MAGRINO                                     MARC USA CHICAGO
 MAI ASSOCIATES LLC                          MARCELO LOPEZ
 MAIJO LLC                                   MARCH HARE LLC
 MAILFINANCE                                 MAR-CHELE INC
 MAINPLACE SHOPPINGTOWN LLC                  MARCI EDER
 MAKENZIE ALLISON                            MARCO HERNANDEZ
 MALCOLM R LANDRUM                           MARCOTT HOSIERY LLC
 MALL AT AUBURN LLC                          MARIA BOLANOS
 MALL AT CONCORD MILLS LIMITED               MARIA C SERRANO
  PAR                                        MARIA CABANILLAS
 MALL AT COTTONWOOD, LLC                     MARIA CASTILLO
 MALL AT GREAT LAKES LLC                     MARIA GARCIA
 MALL AT GURNEE MILLS LLC                    MARIA GONZALEZ
 MALL AT INGRAM PARK LLC                     MARIA LOPEZ

                                        48
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 93 of 138


 MARIA LOZANO                                MARTIN OLIVAREZ
 MARIA MORALES                               MARTIN SHOPS LLC
 MARIA MORMANDO                              MARTIN TORRES
 MARIA RODRIGUEZ                             MARURI GREY
 MARIAH BENTACOURT                           MARVA WEEKS
 MARICELY RIOS                               MARVEL
 MARICOPA COUNTY TREASURER                   MARVEL ENTERTAINMENT LLC
 MARIE ZEPEDA                                MARVIN J. HENDRIX
 MARIETTA CENTER LLC                         MARVIN L LINDNER ASSOCIATES LLC
 MARILYN SARIOL                              MARVIN RHYNE PROPERTIES
 MARILYN VELAZQUEZ                           MARY CHRISTINE GAY
 MARIO ORELLANA                              MARY CONSTANCE WOOD
 MARIO ZARAZUA                               MARY J ROGERS
 MARION PLAZA ASSOCIATES LP                  MARY LAGRECA
 MARIPOSA SHOPPING CENTER                    MARY LAKE REALTY LTD
  INVESTMENTS LLC                            MARYAM SAMAD
 MARISOL GONZALEZ                            MARYAM ZANGENEH
 MARISSA GALVAN                              MARYJO HAMILTON
 MARK DE LA ROSA                             MARYLAND CROSSING REALTY LLC
 MARK HM ASSOC. LP                           MASON AVENUE HOLDING CO.
 MARK M. STEVENSON                           MASSAPEQUA CENTER 1138 INC
 MARK REAVES                                 MASTER DATA CENTER
 MARK TESHIMA                                MASUE LLC
 MARKET MALL LEASEHOLDS INC                  MATANKY REALTY GROUP, INC.
 MARKET ON CHERRY                            MATANUSKA-SUSITNA BOROUGH
 MARKET PLACE AT RIVER PARK CAM              MATONE GROUP SPRINGNEX LLC
 MARKET PLACE PHASE II                       MATRIX (CAMROSE) LP
  DEVELOPMENT LLC                            MATRIX CLAIMS MANAGEMENT
 MARKET PLACE S/C - GGPLP                    MATT LEMKE
 MARKET PLACE VALPARAISO LLC                 MATT MALLETTE
 MARKETPLACE ASSOCIATES LLC                  MATT MAYFIELD
 MARKETPLACE INVESTORS                       MATT MEISELS
 MARKS SQUARE INCORPORATED                   MATTESON REALTY LLC
 MARLENE AQUINO                              MATTHEW BLANCHARD
 MARLENE DIAZ                                MAURICE BELVIN
 MARLETTO FAMILY LTD.                        MAVERICK MGMT. CORP.
  PARTNERSHIP                                MAYDEL GARCIA
 MARLON BETANCES                             MAYFAIR CENTER OWNER LLC
 MARLON D MINNIFEE                           MAYFAIR MALL LLC
 MARSHA WALTERS                              MAYFLOWER MALL
 MARTHA CABALLERO                            MAYFLOWER REALTY LLC
 MARTHA STEWART                              MAYFLOWER SQUARE ONE LLC
 MARTHA STEWART LIVING                       MAYOBANEX BURGOS
  OMNIMEDIA INC                              MAYRA BEASLEY
 MARTIN GASPARE                              MAYRA DEHARO RAYGOZA
 MARTIN K O'DONNELL                          MAYRA TELLO

                                        49
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 94 of 138


 MB COLUMBUS HILLIARD LLC                    MERCER HUMAN RESOURCING
 MB HOUSTON ANTOINE LIMITED                   CONSULTING
  PARTNERSHIP                                MERIDEN REALTY ASSOCIATES
 MB LINCOLN MALL LLC                         MERIDEN SQUARE PARTNERSHIP
 MC SIGN COMPANY                             MERLIN R. TIMOTHY OR UTAHNA
 MCBH PARKWAY CROSSING LLC                   MERRILL CONSULTANTS
 MCCAIN MALL COMPANY LP                      MERRITT SQUARE REALTY LLC
 MCCARRAN MARKETPLACE SPE, LLC               MESHANTICUT PROPERTIES, INC.
 MCELROY ELECTRIC                            MESILLA VALLEY SPE
 MCGRATH RHD PARTNERS LP                     MFC BEAVERCREEK LLC
 MCKINLEY COUNTY TREASURER                   MGP IX PROPERTIES, LLC
 MCKINLEY MALL LLC                           MGP X VERNOLA LLC
 MCM PROPERTIES LTD.                         MGP XI CAPITOLA, LLC
 MCP VOA & III LLC                           MGP XI COMMONS FW, LLC
 MCS HEMET VALLEY CENTER LLC                 MGP XII HUNTER COURT LLC
 MEADE COUNTY SHERIFF                        MIAMI DADE COUNTY TAX
 MEADOWBROOK MALL COMPANY                     COLLECTOR
 MEADOWOOD MALL SPE LLC                      MIAMI INDUSTRIAL TRUCKS INC
 MEAGAN YEUNG                                MIAMI-DADE FIRE RESCUE
 MECHANICAL SYSTEMS OF DAYTON                 DEPARTMENT
  INC                                        MIAMI-DADE POLICE DEPARTMENT
 MECKLENBURG COUNTY                          MIC MAC MALL LP
 MEDIANEWS GROUP INC.                        MICHAEL ARTUSA
 MEDITERRANEAN SHIPPING CO USA               MICHAEL CRESS
  INC                                        MICHAEL D. HECK
 MEG FLANNERY                                MICHAEL DRUMM
 MEIR AGAKI                                  MICHAEL POLOHRONAKI
 MEJ INVESTMENTS LTD                         MICHAEL PROANO
 MELANIE DEWITT                              MICHAELA NEWNUM
 MELBA MAXINE SANDOVAL                       MICHELE MORSTORF
 MELBOURNE SQUARE LLC                        MICHELLE BERTUCCI
 MELCOR REIT LIMITED PARTNERSHIP             MICHELLE KOZAK
 MELIA CROMWELL-JOHNSON                      MICHELLE MOCCIA FRAZIER
 MELISSA CRAVILLION                          MICHELLE ROBERTSON
 MELISSA ESPINOZA                            MICHELLE VALDIVIA
 MELISSA GRUNAU                              MICI DESOTO I LTD.
 MELISSA KLOUSE-WELLS                        MICROSTRATEGY SERVICES CORP
 MELISSA MELESIO                             MID RIVERS MALL CMBS, LLC
 MELISSA ROMO                                MIDDLEBELT PLYMOUTH VENTURE
 MELISSA ROOT                                 LLC
 MELISSA TAYLOR                              MIDDLETOWN I RESOURCES LP
 MELVINA JOHNSON                             MIDDLETOWN TOWNSHIP FSI
 MEMORIAL CITY MALL, LP                      MIDEB NOMINEES INC
 MEPT WESTWOOD VILLAGE LLC                   MIDLAND CARE
 MERCED MALL LLC                             MIDLAND CARE HOSPICE



                                        50
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 95 of 138


 MIDLAND MALL REALTY HOLDING                 MISTY BRUNS
  LLC                                        MIX GULLY LTD.
 MIDLAND PAPER COMPANY                       MJM DEVELOPMENT HOLDINGS LLC
 MIDTOWN PLAZA INC                           MJS CAGUAS LP
 MIDWAY SC LLC                               MLE MERCHANDISING & SIGN
 MIDWEST ASSET GROUP LLC                      SOLUTIONS INC
 MIDWOOD MANAGEMENT CORP                     MLM CHINO PROPERTY LLC
 MIDYAN GATE REALTY LLC                      M-M COMPANY
 MIKE F LOVOY                                MOAC MALL HOLDINGS LLC
 MIKE LIPPERT                                MOBIFY RESEARCH & DEVELPOMENT
 MIKE LOLLAR                                  INC
 MIKE MCBREEN                                MOBILE MINI
 MIKEONE CHICAGO HOLDINGS LLC                MOBO REALTY, INC.
 MIL ITF HOOPP REALTY INC                    MOCARRICO LLC
 MIL ITF HOOPP REALTY INC                    MODA SHOE LIMITED
  (INTERCITY)                                MODE TRANSPORTATION LLC
 MIL ITF HOOPP REALTY INC                    MODEL T. PLAZA LLC
  (SUDBURY)                                  MOHINDER PAL
 MILDRED MENDEZ                              MOHR AFFINITY LLC
 MILITARY LAKE WORTH ROAD LLC                MOIYA MITCHEL
 MILITARY PLAZA                              MONA GELLER
 MILL CREEK CROSSING LLC                     MONDAWMIN BUSINESS TRUST
 MILL WOODS CENTRE INC                       MONIQUE PENA
 MILLENNIAL BRANDS LLC                       MONTEBELLO TOWN CENTER
 MILPITAS MILLS LIMITED                       INVESTORS LLC
  PARTNERSHIP                                MONTEZ (SOREL) INC
 MIMCO INC                                   MONTEZ CORNER BROOK INC
 MINISTER DU REVENU - REVENUE                MONTGOMERY (E&A) LLC
  QUEBEC                                     MONTGOMERY COUNTY ALARM
 MINISTER OF FINANCE                          DETAIL
 MINISTER OF REVENUE OF QUEBEC               MONTGOMERY COUNTY CIRCUIT
 MINISTRY OF FINANCE                          COURT
 MINNEHAHA COUNTY TREASURER                  MONTGOMERY COUNTY
 MIR HANSON ASSOCIATES LLC                    DEPARTMENT OF FINANCE
 MIRA AVDICH                                 MONTGOMERY COUNTY, POLICE
 MIRA MESA SHOPPING CENTER-WEST               DEPT
 MIRANDA GALLE                               MONTGOMERY MALL OWNER LLC
 MISHORIM GOLD NEWPORT NEWS LP               MOOD MEDIA
 MISSION VALLEY SHOPPINGTOWN                 MOORE WALLACE
  LLC                                        MOORESTOWN MALL LLC
 MISSISSAUGA CO TENANCY                      MORENO VALLEY MALL HOLDING
 MISSISSIPPI COUNTY                           LLC
 MISSISSIPPI STATE TAX                       MORGAN REYNOLDS
 MISSISSIPPI STATE TAX COMM.                 MORGUARD BOYNTON TOWN
 MISSOURI DEPT. OF REVENUE                    CENTER INC
 MISTERCLIPPING.COM USA LLC

                                        51
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 96 of 138


 MORGUARD INVESTMENTS LIMITED,               MUNICIPALITY OF HUMACAO
  INC                                        MUNICIPALITY OF ISABELA
 MORGUARD REAL ESTATE                        MUNICIPALITY OF JAYUYA
  INVESTMENT                                 MUNICIPALITY OF JUNCOS
 MORGUARD REAL ESTATE                        MUNICIPALITY OF MANATI
  INVESTMENT TRUST                           MUNICIPALITY OF MAYAGUEZ
 MORGUARD REIT                               MUNICIPALITY OF NARANJITO
 MORRIS/SATNICK FT PIERCE ASSOC              MUNICIPALITY OF PONCE
  LLC                                        MUNICIPALITY OF SAN GERMAN
 MOSELEY RITCHIE ROHER                       MUNICIPALITY OF SAN JUAN
 MOTIONPOINT CORPORATION                     MUNICIPALITY OF SAN LORENZO
 MOUNT POCONO LLC                            MUNICIPALITY OF SAN SEBASTIAN
 MPW1, LLC                                   MUNICIPALITY OF TRUJILLO ALTO
 MR. MC MORSE                                MUNICIPALITY OF VEGA ALTA
 MR. AND MRS. BRUCE BALDWIN                  MUNICIPALITY OF YABUCOA
 MRW LP                                      MUNICIPALITY OF YAUCO
 MS CARLA WORTHY SKINNER                     MUNICIPIO DE CANOVANAS
  TRUSTEE                                    MUNICIPIO DE SAN JUAN
 MSCI 2005 IQ9 CENTRAL MALL                  MURFREESBORO POLICE DEPT
  TEXARKANA                                   ANNEX
 MSL BAGS AND ACCESSORIES                    MURPHY MAHON KEFFLER FARRIER
  COMPANY LIMITED                             LLP
 MSM PROPERTY LLC                            MURRAY TRACY & BERNARD SILBER
 MSRB PROPERTIES LLC                          PTR
 MUFFREY TRUST                               MUSKOGEE COUNTY TREASURER
 MUGGENBURG GORCHES PENALOSA                 MUZAK
  Y SEPULUEDA                                MVRDA - ALARMS DEPARTMENT
 MULESOFT INC                                MYJO DEVELOPMENT CORPORATION
 MUNCIE MALL LLC                             MYSTIC APPAREL LLC
 MUNICIPALITY OF BAYAMON                     NAABILAH ALGARAFFI
 MUNICIPALITY OF AGUADILLA                   NADINE URBANSKI
 MUNICIPALITY OF AIBONITO                    NADIRA JOHNSON
 MUNICIPALITY OF ARECIBO                     NAFTALI GONZALEZ
 MUNICIPALITY OF BARRANQUITAS                NAMEOKI SHOPPING CENTER
 MUNICIPALITY OF CABO ROYO                    INVESTMENTS LLC
 MUNICIPALITY OF CAGUAS                      NAMIFY
 MUNICIPALITY OF CANOVANAS                   NANCY BUTT & JENNIFER FERRELL
 MUNICIPALITY OF CAROLINA                     TR WC BUTT
 MUNICIPALITY OF CAYEY                       NANCY FLORES
 MUNICIPALITY OF COAMO                       NANCY NIEMAN WEEKS
 MUNICIPALITY OF COROZAL                     NASDAQ CORPORATE SOLUTIONS
 MUNICIPALITY OF DORADO                      NASH COUNTY TAX COLLECTOR
 MUNICIPALITY OF FAJARDO                     NASSAU COUNTY POLICE
 MUNICIPALITY OF GUAYAMA                      DEPARTMENT
 MUNICIPALITY OF GUAYNABO                    NATALIE SIEBENMARK
 MUNICIPALITY OF HATILLO                     NATAUSHA DONAHUE

                                        52
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 97 of 138


 NATHALIA FIMBRES                            NEWKOA LLC
 NATHAN DENNIS                               NEWMARKET I, LLC
 NATICK MALL LLC                             NGM OWNERSHIP GROUP LC
 NATIONAL MERIT SCHOLARSHIP                  NICHOLAS DELFINO
  CORPORATION                                NICHOLAS PARK MALL LLC
 NATIONAL PRIME COMMERCIAL LLC               NICKELODEON ROYALTiES
 NATIONAL REALTY & DEV CORP                  NICKSTER COMMERCIAL LLC
 NATIONAL RETAIL FLOORING                    NICOLE HEDGLIN
  SERVICES INC                               NICOLE LARIVIERE
 NATIONAL SECURITY CONSULTANTS               NICOLE OWENS
  INC                                        NICOLE RAFELD
 NATIONAL UNION FIRE INSURANCE               NIGLE SYDNEY
  COMPANY                                    NIKKI RODZINSKI
 NATOMAS GROWERS LP                          NIKKI SATTERWHITE
 NAVAJO COUNTY TREASURER                     NINE ISLANDS I LLC DBA
 NAVEX GLOBAL                                 COUNTRYSIDE PLAZA
 NAZARETH RETAIL HOLDINGS LLC                NITTANY CENTRE REALTY LLC
 NBY PROPERTIES LLC                          NIULQUIE SAJOUS MCKINNEY
 NEIDA BORGES                                NIVIA TALAVERA
 NEIL CARDENAS                               NLSR LP 202719
 NEIL G. HANSEN                              NMBSC CHARITABLE REMAINDER
 NEILSON RETAIL LLC                           UNITRUST
 NELSON GROUP INC                            NMC MELROSE PARK LLC
 NEPTUNE REALTY ASSOC.                       NMC SOUTHGATE, LLC
 NESHAMINY MALL JOINT VENTURE                NMRD LIMITED
  LP                                         NOEL HERNANDEZ
 NETSER COMPUTER INTERNATIONAL               NOEL HOWREN
  INC                                        NOEMI VARELA
 NEVADA DEPARTMENT OF TAXATION               NOLTEMEYER CAPITAL LTD
 NEW FAIR OAKS OWNER LLC                     NORA PATRICIA ARAUJO
 NEW GROUP-GARDENA, LLC                      NORMAN WHITE
 NEW HANOVER COUNTY TAX OFFICE               NORMAN WILEY
 NEW LEAF PLAZA                              NORTH CAROLINA DEPT OF STATE
 NEW MEXICO TAXATION AND                      TREASURER
  REVENUE DEPT                               NORTH DAKOTA
 NEW PARK MALL LP                            NORTH DAKOTA WORKFORCE
 NEW PINE GROVE ROAD CENTRE INC               SAFETY & INS
 NEW TOWNE MALL                              NORTH GREENBUSH ASSOCIATES LLC
 NEW WESTGATE MALL LLC                       NORTH HANOVER CENTRE REALTY
 NEW YORK CITY DEPT OF                        LLC
  COMSUMER AFFAIRS                           NORTH HAVEN HOLDINGS LP
 NEW YORK STATE DEPT OF TAX &                NORTH MALL PROPERTY LLC
  FINANCE                                    NORTH PARK SHOPPING CENTRES
 NEWAGE PHM, LLC                              LTD
 NEWBURGH MALL REALTY LLC                    NORTH POINT MALL LLC
 NEWGATE MALL EQUITIES LLC

                                        53
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 98 of 138


 NORTH RIVERSIDE PARK ASSOCIATES             NXLOG LTD
  LLC                                        NY STYLE
 NORTH RIVERSIDE PLAZA LIMITED               NYC DEPARTMENT OF FINANCE
  PARTNERSHI                                 NYC FIRE DEPARTMENT
 NORTH STAR MALL LLC                         OAK PARK MALL LLC
 NORTH TOWN MALL LLC                         OAKDALE MALL II LLC
 NORTHEAST EQUITY LLC                        OAKMONT PROPERTIES LLC
 NORTHERN LIGHTS IMPROVEMENTS                OAKRIDGE MALL LLC
  LLC                                        OAKS MALL LLC
 NORTHFIELD SQUARE MALL REALTY               OAKWOOD HILLS MALL LLC
  LLC                                        OAKWOOD PLAZA LP
 NORTHGATE ASSOCIATES LLC                    OASG HAZLET, LLC
 NORTHGATE MALL DURHAM LLC                   OBERFELD SNOWCAP INC
 NORTHGATE MALL PARTNERSHIP                  OCCUPATIONAL HEALTH CENTERS OF
 NORTHGATE SHOPPING CENTER LP                 OHIO PA
 NORTHLINE COMMONS LLC                       OCEAN FREIGHT
 NORTHPARK MALL - JOPLIN LLC                 OCHRE CAR PARK LLC
 NORTHRIDGE CENTER 1703 LLC                  OEC FREIGHT (NY) INC
 NORTHRIDGE OWNER LP                         OEC SHIPPING LOS ANGELES INC
 NORTHSIDE CENTRE LLC                        OEKOS DUNDALK, LLC
 NORTHSTAR DESIGN FEE                        OFELIA MOYA
 NORTHSTAR SOURCING LLC                      OFFICE DEPOT INC
 NORTHTOWN CENTER, INC.                      OFFICE OF TAX COMMSISSIONER
 NORTHWEST ISD                               OFFICE OF THE FIRE MARSHAL
 NORTHWESTERN SIMON INC                      OFFICE OF THE STATE FIRE
 NORTHWOODS CENTER FLORIDA, LP                MARSHALL
 NORTHWOODS MALL CMBS, LLC                   OFFICE OF THE TAX COLLECTOR
 NORTHWOODS SHOPPING CENTER                  OFFICIAL FAST FREIGHT LLC
  LLC                                        OGDEN CITY CORPORATION
 NORTON ROSE FULBRIGHT US LLP                OHIO BALER COMPANY INC
 NORWALK TOWN SQUARE MGMT INC                OHIO BUREAU OF WORKERS
 NORWICH REALTY ASSOC. LLC                    COMPENSATION
 NOSTRAND REALTY LLC                         OHIO DEPT OF COMMERCE,
 NOVA GENESIS INTL CO LTD                     UNCLAIMED FUNDS
 NOVA SCOTIA MAINT ENFORCEMENT               OHIO TREASURER OF STATE
  PROGRAM                                    OHIO VALLEY MALL CO
 NOVOGRODER COMPANIES INC                    OKI DATA AMERICAS, INC.
 NPD GROUP, INC.                             OKLAHOMA COUNTY TREASURER
 NR DEVELOPMENT LLP                          OKLAHOMA STATE TREASURER
 NRF VII OAK LAWN LLC                        OKLAHOMA TAX COMMISSION
 NSF PROPERTY HOLDINGS LLC                   OLDEN PLAZA SHOPPING CENTER
 NSP LLC                                      LLC
 NUGGET MALL MERCHANTS ASSN.                 OLGA RODRIGUEZ
 NUTECH RESOURCE SERVICES LLS                OLIVER CREEK HOLDINGS, LLP
 NW ARKANSAS MALL REALTY LLC                 OLYMPIA LAND COMPANY LLC
 NWC US 79/CR 122 LTD                        OLYMPIC AKRON SERVICES

                                        54
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                      Pg 99 of 138


 OLYMPIC TOWER LLC 203717                    OXFORD PROPERTIES RETAIL
 OMACHE SHOPPING CENTER LLC                    HOLDINGS
 OMAR CASTILLO                               OXFORD SOUTH PARK MALL LLC
 OMEGA INDUSTRIES INC                        P H COMPANY
 OMEGA SAFE & LOCK                           P.S.K.S. CORP
 ONE IMPERIAL PLAZA LP                       P1 GROUP INC
 ONE STOP PROPERTIES, INC.                   PA FIRE RECOVERY SERVICES LLC
 ONE STORM LAKE PLAZA, LLC                   PACIFIC OAK PROPERTIES, INC.
 ONE YONKERS ASSOCIATES LLC                  PACKAGE DESIGN &
 ONSLOW COUNTY TAX COLLECTOR                   MANUFACTURING INC
 ONTARIO MILLS LP                            PADDOCK MALL LLC
 ONTREA INC                                  PAL ASSOCIATES HARBORCREEK LLC
 ONTREA INC MASONVILLE PLACE                 PALISADES BIRMINGHAM LLC
 ONTREA INC.                                 PALISADESII, LLC / EKLECCO NEWCO
 ONYX LAWTON SB, LLC                           LLC
 OPB EMTC INC                                PALM BEACH COUNTY SHERIFF'S
 OPB REALITY INC - HALIFAX CENTRE              OFFICE
 OPB REALTY (CARLINGWOOD) INC                PALM PLAZA ASSOC. LTD.
 OPB REALTY (ST VITAL) INC                   PALMDALE CENTER DELAWARE INC
 OPB REALTY INC (PEN CENTRE)                 PALMER PARK LP
 OPGI MANAGEMENT LP O/A OXOFRD               PALMETTO PARK ROAD ASSOC. LTD.
  IFT                                        PALO WOODS LLC
 OPGI MANAGMENT LP                           PALOUSE MALL LLC
 OPRY MILLS MALL LP                          PAM MERTEN
 OPTION RENTALS, INC                         PAMELA SKELTON
 OPTIV INC                                   PANAMA TRANSFER
 ORACLE AMERICA INC                          PAPF MEDFORD LLC
 ORANGE PARK MALL LLC                        PARADISE RETAIL I LLC
 OREGON CITY POLICE DEPARTMENT               PARADISE VALLEY MALL SPE
 OREM BLUELIGHT LLC                          PARAMOUNT ENTERPRISES, INC.
 ORIENTAL CORPORATION                        PARAMOUNT PEST CONTROL INC
 ORIGAMI RISK LLC                            PARAMOUNT PLAZA AT NEW BRITE
 ORKIN                                         LLC
 ORLANDO ADAMES-DIAZ                         PARAMUS PARK SHOPPING CENTER
 ORLANDO CORPORATION                           LP
 OROVILLE PLAZA EL LLC                       PARISH OF ST LANDRY
 OSBORNE CAPITAL LLC                         PARISH OF ST. BERNARD
 OSBORNE PROPERTIES LP                       PARISH SALES TAX FUND
 OSHAWA CENTRE HOLDINGS INC                  PARK CENTRE I, LLC
 OSIX 1918 BUCKNER LLC                       PARK CITY CENTER BUSINESS TRUST
 OTIS ELEVATOR COMPANY                       PARK PLACE MALL
 OTSEGA PLAZA LLC                            PARKWAY CENTRE EAST RETAIL LLC
 OVERLAND PLAZA LLC                          PARKWAY VILLAGE & CENTER LLC
 OVIEDO MALL HOLDING LLC                     PARRISH MGMT. CORP.
 OXFORD ITF ECC EAST                         PARTNERS MALL ABILENE LLC
 OXFORD ITF SQUARE ONE

                                        55
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 100 of 138


 PARTNERS REIT -CHARTER                      PEGGY M COLE
  ACQUISTION                                 PELICAN INVESTMENTS 888 LLC
 PASEO-HPC RICHMOND, LLC                     PEMBROKE LAKES MALL LLC
 PASSAIC PLAZA ASSOC. LLC                    PEMBROKE SQUARE ASSOCIATES LLC
 PASSCO HANFORD MALL LLC                     PENGOULD LLC
 PATCHOGUE REALTY ASSOCIATES                 PENN DCII LLC
  LLC                                        PENN HILLS SHOPPING CENTER LLC
 PATERSON MALL S/C CORP.                     PENNMARK COVENTRY HOLDING
 PATRICIA A CLARKE                            LLC
 PATRICIA DOYLE                              PENNSVILLE HOLDINGS LLC
 PATRICIA JOHNSTON                           PENSIONFUND REALTY LIMITED
 PATRICIA PINHELRO                           PENSIONFUND REALTY LTD.
 PATSY HARIN                                 PEPPER HAMILTON LLP
 PATTI KAZOWSKI                              PERFECT OUTPUT COMPANY
 PATTY MULLINS                               PERFORMANCE TEAM FREIGHT
 PAUL J. PRATHER                              SYSTEMS INC
 PAULDING COUNTY                             PERIMETER MALL LLC
 PAVILION COLLECTING AGENT LLC               PERMELYNN OF BRIDGEHAMPTON
 PAXAR CANADA INC                             360 LLC
 PAYLESS FINANCE INC                         PERU GKD PARTNERS LLC
 PAYLESS INDIA                               PETER P BOLLINGER INVESTMENT CO
 PAYLESS SHOESOURCE                          PFP 3 ADAMS DAIRY LLC
 PAYLESS SHOESOURCE                          PGS BURLINGTONLLC &TOWER
  DISTRIBUTION, INC.                          BURLINGTON
 PAYLESS SHOESOURCE IN LTDA                  PHELPS COUNTY COLLECTOR
 PAYLESS SHOESOURCE INC                      PHENIX LABEL CO INC
 PAYLESS SHOESOURCE                          PHILADELPHIA PREMIUM OUTLETS
  MERCHANDISING INC                          PHOENIX POLICE DEPARTMENT
 PAYLESS SHOESOURCE PURCHASING               PICKERING CO TENANCY
 PAYLESS SHOESOURCE WORLDWIDE                PICKERING TOWN CENTRE
 PAYSON CITY CORPORATION                     PIEDMONT ASSOCIATES
 PBA II LLC                                  PIER PARK LLC
 PCDF PORTFOLIO LLC                          PIERCE COUNTY, STATE OF WA
 PCI SECURITY STANDARDS COUNCIL              PIERPASS
  LLC                                        PIERRE BOSSIER MALL LLC
 PCW PROPERTIES LLC                          PIETRANTONI MENDEZ & ALVAREZ
 PEACHTREE MALL LLC                          PILGRIM PARKING INC
 PEAR TREE RETAIL I LLC                      PIMA COUNTY TREASURERS OFFICE
 PEARLAND DUNHILL 1 LLC                      PINAL COUNTY TREASURER
 PEARLAND TOWN CENTER LIMITED                PINE CREEK OWNER LLC
  PARTNERSHIP                                PINE RIDGE MALL JC LLC
 PEARLRIDGE CNTR MERCHANTS                   PINIX PROPERTY MANAGEMENT
  ASSOC                                      PINTEREST INC
 PECANLAND MALL LLC                          PINTZUK ORGANIZATION INC
 PEDS LEGWEAR USA INC                        PIONEER PACKAGING COMPANY
 PEGGY A COLE

                                        56
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 101 of 138


 PITNEY BOWES GLOBAL FINANCIAL               POONAM BHARDWAJ
  SVSC LLC                                   POP MORROW CGP LLC
 PK I CANYON RIDGE PLAZA LLC                 POPE COUNTY TAX COLLECTOR
 PK I CHINO TOWN SQUARE LP                   POPLAR-AVALON RETAIL CENTER
 PK I FASHION FAIRE PLACE LP                  LLC
 PK I GRESHAM TOWN FAIR LLC                  PORT ANGELES PLAZA ASSOC.
 PK I LA VERNE TOWN CENTER LP                PORT HURON REALTY PARTNERS LLC
 PK I PAVILIONS PLACE LP                     PORT OF SALE
 PK I SUNSET ESPLANADE LLC                   PORT ORANGE TOWN CENTER LLC
 PK II LARWIN SQUARE SC LP                   PORTAGE PLACE SHOPPING CENTER
 PK III TACOMA CENTRAL LLC                   PORTERWOOD S/C INVESTEMENTS
 PL CHERRYDALE POINT LLC                      LLC
 PL MESA PAVILLIONS LLC                      PORTSMOUTH ASSOCIATES, LLC
 PLACE LAURIER HOLDINGS INC                  POS REMARKETING GROUP
 PLACE VERSAILLES INC.                       POSNER PARK RETAIL LLP
 PLACE VERTU NOMINEE INC                     POU XIN JIA CO., LTD
 PLATINUM PARKING                            POUGHKEEPSIE GALLERIA LLC
 PLATTE COUNTY TREASURER                     POWERREVIEWS
 PLATTE RIVER MALL                           PPB 2821 BOCA CHICA LLC
 PLAZA 83 VENTURE                            PPD AIRWALK COZY
 PLAZA AT HIGHLANDS RANCH LLC                PPD AIRWALK DREAM
 PLAZA AT JORDAN LANDING LLC                 PPD CHRISTIAN SIRIANO ROYALTY
 PLAZA AT NORTHWOOD LLC                      PR CAPITAL CITY LIMITED
 PLAZA BONITA LLC                             PARTNERSHIP
 PLAZA CAROLINA MALL LP                      PR EXTON SQUARE PROPERTY LP
 PLAZA DEL CARIBE S.E.                       PR FINANCING LP
 PLAZA LAS AMERICAS INC                      PR HARBOUR VIEW EAST LLC
 PLAZA MASTER GP LTD BEDFORD                 PR MAGNOLIA LLC
  COMMONS                                    PR NORTH DARTMOUTH LLC
 PLAZA MASTER GP LTD-GRANITE                 PR PATRICK HENRY LLC
  DRIVE PLAZA                                PR PLYMOUTH MEETING LP
 PLAZA MAYOR LLC                             PR PRINCE GEORGES PLAZA LLC
 PLAZA PASEO LLC                             PR SPRINGFIELD TOWN CENTER LLC
 PLAZA WEST COVINA LP                        PR VALLEY LIMITED PARTNERSHIP
 PLAZACORP PROPERTY HOLDINGS                 PR VALLEY VIEW LP
  INC                                        PR VIEWMONT LP
 PLEASANT GROVE                              PR WOODLAND LP
 PLP COTTONWOOD LLC                          PR WYOMING VALLEY LP
 PLYMOUTH CENTRE PROPERTY LLC                PRAIRIE FIRE (OKOTOKS) LP
 PMAT DPP LLC                                PRATT GOLDSMITH INC, AGENT FOR
 PMJ MANAGEMENT INC                          PRATT INDUSTRIES INC
 POINT RECOGNITION                           PRECISE PARKLINK
 POLK COUNTY TAX COLLECTOR                   PREMIER EMPLOYMENT SOLUTIONS
 POM-COLLEGE STATION LLC                     PREP HANOVER REAL ESTATE LLC
 PONTIAC MALL LIMITED                        PREP POSNER REAL ESTATE LLC
  PARTNERSHIP

                                        57
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 102 of 138


 PRESCOTT GATEWAY MALL REALTY                QASYMPHONY INC
  HOLDING LLC                                QINGDAO STAR OCEAN IMP. & EXP.
 PRICEWATERHOUSECOOPERS LLP                   CO., LTD
 PRII ROLLING OAKS COMMONS FLA,              QINGDAO XINGHONG INDUSTRY &
  LLC                                         TRADE CO LTD
 PRIMARIS MANAGEMENT INC                     QINGDAO XINGZHIHAI IMP & EXP CO.
 PRIMARIS MGMT INC ITF                        LTD
 PRIMARIS MGMT INC ITF DUFFERIN              QKC MAUI OWNER LLC
  MALL                                       QUAD GRAPHICS INC
 PRIMARIS MGMT INC ITF                       QUAKER BRIDGE MALL LLC
  NORTHLAND                                  QUAKER MZL LLC
 PRIMARIS MGMT INC ITF ORCHARD               QUAKER TWOSOME LLC
  PARK                                       QUALITY SOLUTIONS INC
 PRIMARIS MGMT INC ITF PLACE                 QUENCH USA, INC
 PRIMARIS MGMT INC ITF STONE                 QUINCY - CULLINAN LLC
  ROAD                                       QUOC C. TRINH QUACH A/K/A QUACH
 PRIMARIS MGMT INC RE SUNRIDGE                C. HAI &
  MALL                                       QUYNTYN JOHNSON
 PRIME CLERK LLC                             R & E TRUST
 PRIMESTOR 119 LLC                           R E WEST TRANSPORTATION
 PRIMESTOR CFIC/CG LLC                       R JOSEPH FUCHS
 PRINCE KUHIO PLAZA LLC                      R K NEWPORT I LLC
 PRINCIPAL REAL ESTATE HOLDING               R K ASSOCIATES OF WAUKESHA
  CO LLC                                     R&M IDAHO LLC
 PRINT TECH INC                              R/M VACAVILLE
 PRIORITY EXPRESS COURIER, INC               RACARIE SOFTWARE
 PRODUCTIONWORKS INC.                        RACHEL BREWER
 PROGRESS TRUST INC                          RACHEL FERREIRA
 PROMENADE CG RETAIL LLC                     RACHEL KALCHTHALER
 PROMENADE LIMITED PARTNERSHIP               RACHEL MYERS
 PROMILA VASISHTA                            RACON FOOTWEAR LIMITED
 PROVIDENCE PRODUCTS LLC                     RADIAL INC
 PRUDENTIAL REALTY CO                        RAE-ME NORTH CAROLINA II LLC
 PSS NNN LLC                                 RAINBOW INVESTMENT COMPANY
 PUBLIX SUPER MARKETS INC                    RAINIER MOORE PLAZA
 PUERTO RICO                                  ACQUISITIONS
 PUGET PAVING & CONSTRUCTION                 RAISIN INDUSTRIES LLC
 PULASKI COUNTY COLLECTOR                    RAKUTEN MARKETING LLC
 PURCELL & WARDROPE CHTD.                    RALPH HOYOS
 PUTIAN CITY HUI SHENG TRADING               RALPH SCHLESINGER COMPANY LLC
  CO LTD                                     RAMCO GERSHENSON PROPERTIES
 PUTIAN SUNYOUNG ENTERPRISE CO                LP
  LTD                                        RAMCO JACKSONVILLE LLC
 PV TWIN LC                                  RAMCO-GERSHENSON PROPERTIES
 PWI EMC LP                                   LP
 PYRAMID WALDEN COMPANY LP                   RAMON PINEDO

                                        58
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 103 of 138


 RAMON RODAS                                 REQUERDO CO.
 RAMONA PALMER-EASON                         RESTORE OAKLAND LLC
 RANDOLPH COUNTY COLLECTOR                   RETAIL CENTER PARTNERS LTD
 RANGER AMERICAN OF PR INC                   RETAIL PRO INTERNATIONAL LLC
 RAP EAST LLC                                RETAIL STRATEGIES LLC 02638
 RASCAL ENTERPRISES SWFL INC                 REVENUE COMMISSIONER
 RAVEN WISCHEMANN                            REVENUE OF QUEBEC
 RAYETTA SURRATT                             REVENUE PROP TOWN & COUNTRY
 RB INTERIORS INC                             INC
 RB RIVER IV LLC                             REVENUE PROPERTIES COMPANY LTD
 RCC CENTRE AT LILBURN LLC                   REVENUE PROPERTIES SOUTHLAND
 RCC WALNUT CREEK PLAZA LLC                   LTD
 RCS LOGISTICS INC                           REVENUE QUEBEC
 RD - TULSA HILLS LP                         REVENUE SERVICES OF BRITISH
 RD ABINGTON ASSOCIATES LP                    COLUMBIA
 RD ELMWOOD ASSOC LP                         REYNA ANDRADE
 RDEV MESA RANCH LLC                         REYNA DIAZ
 READY REFRESH BY NESTLE                     REYNATO YEPEZ
 REAL SUB, LLC                               REZAN LP
 REBBECCHA FELICE                            RFS CANADA
 REBECCA MCKAY                               RHONDA ALSTON
 REBECCA STONE                               RHONDA PARR
 REBEKAH BELL                                RHONDA PATTON
 REBUILT REALTY CORP.                        RICARDO ROMERO GUZMAN
 RECEIVER GENERAL                            RICHARD H. FOSTER
 RECEIVER GENERAL FOR CANADA                 RICHARD J. MADISON OF COLLIERS
 RECEIVER OF TAXES                            AS RECEIVE
 REDDI SERVICES INC                          RICHARD L. PRITZ
 REDLANDS TOWN CENTER RETAIL III             RICHARD MANNARINO
  LLC                                        RICHARD MENKIN
 REDUS ONE LLC                               RICHARD N. SHERWIN
 REEF PLAZA LLC                              RICHARD WUCKOWITSCH
 REEVE CONSULTING LLC                        RICHFIELD SHOPPES LLC
 REGAL PLASTIC SUPPLY CO                     RICHMOND COUNTY TAX COMM.
 REGENCY SEYMOUR LLC                         RICHMOND MALL PARTNERS LLC
 REGISTER OF DEEDS KENT COUNTY               RICHMOND TOWN SQUARE REALTY
 REGO II BORROWER LLC                         HOLDING LLC
 REIN WARSAW ASSOCIATES LP                   RICH-TAUBMAN ASSOCIATES
 RENAISSANCE PARKING LLC                     RICK BROWER
 RENAISSANCE PARTNERS I LLC                  RICOH CANADA INC
 RENATA YIM                                  RICOH USA INC
 RENDELL HOLDINGS LTD.                       RIDGEDALE CENTER LLC
 RENEE I. WEINBERG & KIM ISAACS              RIGHT MANAGEMENT
  SELTZER                                    RIMINI STREET INC
 REPUBLIC PTY LIMITED                        RIMROCK OWNER LP
 REPUBLIC SERVICES INC                       RIO CUATRO LLC

                                        59
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 104 of 138


 RIO GRANDE VALLEY PREMIUM                   ROCKAWAY REALTY ASSOCIATES LP
  OUTLETS                                    ROCKSIDE TURNEY LLC
 RIOCAN (REIT)                               RODNEY GERNER
 RIOCAN HOLDINGS (WESTRIDGE) INC             ROEBLING URBAN RENEWAL ASSOC.
 RIOCAN HOLDINGS INC                         ROGER NABER, PHILIP & ROBERT
 RIOCAN PROPERTY SERVICES TRUST              ROGERS POLICE DEPARTMENT
 RIOCAN REIT (ONTARIO II)                    ROGERS RETAIL
 RIOCAN/REIT                                 ROLANDA HUDSON
 RIOKIM HOLDINGS (ALBERTA) INC               ROLLING OAKS MALL LLC
 RIOKIM HOLDINGS (ONTARIO) INC               ROME CITY TREASURER
 RIOKIM HOLDINGS (TILLICUM CNTR)             ROMERO PINEDA & ASOCIADOS
  INC                                        RONALD J DAGRADI
 RITCHIE TRUCKING SERVICE                    RONALD L EBELEIN JR
 RIVER OAKS EL PASO LLC                      RONGRANT ASSOCIATES LLC
 RIVER OAKS REALTY LLC                       RONNIE MICHEL
 RIVER PARK PROPERTIES II                    ROOSEVELT II ASSOCIATES LP
 RIVER RIDGE MALL JV LLC                     ROSA A TORRES
 RIVERSIDE PUBLIC UTILITIES                  ROSA AMBRIZ GOMEZ
 RIVERTOWN CROSSINGS MALL                    ROSA SANDOVAL
 RIVERTOWNE CENTER ACQUISITION               ROSALIA COVARRUBIAS
  LLC                                        ROSARIO GARCIA
 RJFP LLC                                    ROSE MED TRIANGLE
 RJTB GROUP LLC                              ROSEDALE CENTER
 RK SOUTHINGTON LLC 3744                     ROSE-FORUM ASSOCIATES LP
 RLE MAINTENANCE SERVICES INC                ROSEMYR CORPORATION
 RM SULLIVAN TRANSPORTATION INC              ROSENBACH NEMP, LLC
 RMI ITF BURLINGTON MALL                     ROSENFIELD BROTHERS
 RMI ITF STRAWBERRY HILL                     ROSETTI HANDBAGS AND
  SHOPPING CENTER                             ACCESSORIES LTD
 RNA, IP ATTORNEYS                           ROSHINA LOVING
 RNOT LLC                                    ROSIE CREAMER INC
 ROB EVES                                    ROSIE GARCIA
 ROB LOUQUET                                 ROSIE M BLAWAT
 ROBERT 4260 E ALAMEDA, LLC                  ROSLINDALE CUMMINGS HWY
 ROBERT DONOHOO                               REALTY LLC
 ROBERT E WILSON TRUST LLC                   ROSS & ROSS, AGENT FOR MORTON
 ROBERT GRAY                                 ROSS DRESS FOR LESS INC
 ROBERT L. COLEMAN, TRUSTEE                  ROSS PARK MALL
 ROBERT LOMELI                               ROSSINI PEREZ
 ROBERT OUTSEN                               ROUND LAKE BEACH LAND LLC
 ROBERT W FAIR                               ROUND THE WORLD LOGISTICS USA
 ROBERTO SORTO                                CORP
 ROBERTO NERI                                ROUTE 140 SCHOOL STREET LLC
 ROBERTO POLICARPIO                          ROUTE 23 ASSOCIATES LLC
 ROBINSON COLE LLP                           ROXANNE RANGEL
 ROBINSON MALL DEVELOPERS                    ROYALS OK LUNCH INC

                                        60
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 105 of 138


 RPAI SOUTHWEST MANAGEMENT                   SALMON RUN SHOPPING CENTER
  LLC                                         LLC
 RPAI US MANAGEMENT LLC                      SALT LAKE COUNTY TREASURER
 RPI BEL AIR MALL LLC                        SALT RIVER PIMA-MARICOPA
 RPI CHESTERFIELD LLC                        SALVATORE LLC
 RPI SALISBURY MALL LLC                      SAMANTHA CUGNET
 RPI SHASTA MALL LP                          SAMANTHA GALLAGHER
 RPI TURTLE CREEK MALL LLC                   SAMANTHA RAY
 RPS ITF RIOCAN MARKETPLACE                  SAMANTHA TEVES
 RPS-ITF GATINEAU & HAMILTON                 SAMANTHA WENTWORTH
  WALMART                                    SAME DAY SIGN CO
 RR DONNELLEY                                SAN DIEGO COUNTY TREASURER
 RREF LA QUINTA 3 REO, LLC                   SAN DIEGO POLICE DEPARTMENT
 RUBY 05 BSHFRDINLINE LLC                    SAN FRANCISCO CITY OPTION
 RUBY CLEVELAND                              SAN JACINTO RETAIL ASSOCIATES
 RUBY FLORES                                  LLC
 RURAL KING REALTY LLC                       SAN MAR DUNHILL RATEL OWNER
 RUSSELL ROAD ASSOC. LP                       LLC
 RVM LLC                                     SANDRA WILLIAMS
 RVT ERIE MARKETPLACE LLC                    SANDUSKY MALL COMPANY
 RYAN GARFIELD LIMITED                       SANDY CITY
  PARTNERSHIP                                SANGERTOWN SQUARE LLC
 RYAN RINEHART                               SANSONE FENTON PLAZA LLC
 RYKAL ASSOCIATES                            SANTA ANITA SHOPPINGTOWN LP
 S & N II LTD 203160                         SANTA FE COUNTY TREASURER
 S CAROLINA TAX COMMISSION                   SANTA FE MALL PROPERTY OWNER
 S F R REALTY ASSOC LLC                       LLC
 S L NUSBAUM REALTY CO                       SANTA ROSA MALL LLC
 S.P.JOHNSON, III                            SANTA ROSA POLICE DEPARTMENT
 S.W.A. MERCHANTS ASSOCIATION                SANTAK CORPORATION
 S199 SPE LLC                                SANTANA SHOES
 SABA & CO                                   SANTEE TROLLEY SQUARE 991 LP
 SABRINA MOCOMBE                             SANZARI '89 ASSOC., L.P.
 SACRAMENTO SHERIFF'S DEPT                   SAPPHIRE WHARTON
 SADA SYSTEMS INC                            SARA COUCH
 SAFE & SOUND ARMED COURIER INC              SARAH BEER
 SAFECO INSURANCE COMPANY OF                 SARAH HIER
  AMERICA                                    SARAH OVERBAUGH
 SAIMA SAMANA                                SARAH PURCELL
 SALARY.COM LLC                              SARAH SOLIS
 SALES TAX TRUST ACCOUNT                     SARASTI SA DE CV
 SALESFORCE.COM INC                          SAS INSTITUTE, INC.
 SALINAS FALSE ALARM REDUCTION               SASKATCHEWAN FINANCE
  PROGRAM                                    SASKATCHEWANT GOVERNMENT
 SALINE COUNTY                               SASKATOON FIRE AND FLOOD
                                             SAUL HOLDINGS L.P.

                                        61
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 106 of 138


 SAUL SUBSIDIARY I L.P.                      SERITAGE KMT FINANCE LLC
 SAWMILL SQ SHOPPING CENTER                  SERRAMONTE CENTER
 SBLP TILLSONBURG TOWN CENTRE                SERVPRO COMMERCIAL LLC
  INC                                        SERVPRO OF MIDTOWN MEMPHIS
 SC MOTA ASSOCIATES LP                       SESAME
 SCGIF II-IRON HORSE OWNER LLC               SESAME WORKSHOP
 SCHECKS TELEPHONE SERVICE                   SETH STERLING
 SCHMITT & ORLOV INTELLECTUAL                SEVEN CORNERS CENTER LLC
  PROPERTY                                   SEWELL MOTOR EXPRESS COMPANY
 SCHMITZ DEVELOPMENT CO.                     SFI FORD CITY CHICAGO LLC
 SCHNEIDER NATIONAL INC                      SFP POOL FOUR SHOPPING CENTERS
 SCHNEIDER TRANSPORTATION                     LP
  MANAGEMENT                                 SFP POOL SIX LLC
 SCHURTZ PROPERTIES INC                      SFP POOL TWO SHOPPING CENTERS
 SCI ITC SOUTH FUND LLC                       LP
 SCORE PROPERTIES OF                         SFR PROPERTIES LLC
  TALLAHASSEE LLC                            SGG MANAGEMENT (CURACAO) NV
 SCOTT INVESTMENT LTD                        SHADRALL 2855 DUNN LP
 SCOTT KEY WOOD                              SHANE HUNT
 SCOTT NEWELL                                SHANGHAI KUAI IMP & EXP CO LTD
 SCOTT SELVEY                                SHANNON JOHNSON
 SCOTTS VALLEY PHASE II                      SHANNON T. SHOWALTER
 SCREO I DIXIE OUTLET MALL INC               SHANTEL LEWIS
 SDC4 LLC                                    SHAPE PROPERTY MGMT CORP
 SDG DADELAND ASSOCIATES INC                 SHAPELL SOCAL RENTAL PROPERTIES
 SDME CAPITAL GROUP LLC                       LLC
 SEA LTD                                     SHARK EYES INC
 SEARSTOWN LIMITED PARTNERSHIP               SHARLENE TAYLOR
  201395                                     SHARON LIVINGSTON, CHANCERY
 SEATTLE CITY TREASURER                       CLERK
 SEATTLE TACOMA OLYMPIA                      SHAVEMORE LP
  PLUMBING, INC                              SHAWNA LITZ-MAISNER
 SEC CLARK & HOWARD LLC                      SHAWNEE COUNTY TREASURER
 SEC SQUARE HOLDING LLC                      SHAWNEE LOWRY
 SECRETARY OF STATE                          SHEENAN PRICE
 SECURITY MAYFLOWER                          SHEILA CLARKE-HANSON
 SECURITY RESOURCES INC                      SHEILA ROBBINS, TRUSTEE
 SEDGWICK COUNTY TREASURER                   SHELBY COUNTY TRUSTEE
 SEJ PP NORTH LLC                            SHELBY CREEK LLC
 SELDEN PLAZA LLC                            SHENANGO VALLEY REALTY LLC
 SEMBLER FAMILY PTNRSHP #41 LTD              SHERI TAVARES
 SENNCO SOLUTIONS                            SHERIDAN PLAZA
 SEREA RIVERS                                SHERIDAN RETAIL INC
 SERENA DIACO                                SHERIFF & EX-OFFICIO
 SERIES E-CLARENDON REAL ESTATE              SHERIFF & EX-OFFICIO TAX COLL.
  LLC                                        SHERIFF & TAX COLLECTOR

                                        62
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 107 of 138


 SHERIFF OF MADISON COUNTY                   SMART REAL ESTATE INC
 SHERRY MARTINO                              SMART REIT - SCARBMILNER
 SHI INTERNATIONAL CORP                      SMARTREIT (AURORA NORTH ii) INC.
 SHILLDEV US INC                             SMARTREIT (MAPLE RIDGE) INC
 SHINE STEPHEN                               SMARTREIT (OAKVILLE) INC
 SHIRIN JUSTINE                              SMTC ACQUISITION LLC
 SHOMA RETAIL LLC                            SN PROPERTIES FUNDING IV - LEIGH
 SHOPPERTRAK RCT CORP                         LLC
 SHOPPES AT BUCKLAND HILLS LLC               SNAGAJOB
 SHOPPES OF FT. WRIGHT KY LLC                SNELLING-MIDWAY
 SHOPS AT GRAND CANYON 14                     REDEVELOPMENT LLC
  SYNDICATIONS                               SNICKER HEAD LLC
 SHOPS AT HANCOCK LLC                        SOCORRO RODRIGUEZ
 SHOPS AT MISSION VIEJO LLC                  SOFIA VERGARA
 SHOPS AT TANFORAN ASSOCIATES                SOFTEK INC
  LLC                                        SOLARWINDS
 SHORT CIRCUIT ELECTRONICS INC               SOLUTIONS WINDOW CLEANING
 SHRED-IT USA                                SOMERS POINT LLC
 SHREEJI HOSPITALITY OF                      SOMERSWORTH POLICE
  CHARLOTTE LLC                               DEPARTMENT
 SIERRA CENTER INVESTMENTS LLC               SONA MANAGEMENT GROUP
 SIERRA REAL ESTATE LLC                      SONIA ALDAY
 SIERRA VISTA 16 A, LLC                      SONIA CEVALLOS
 SIERRA VISTA MALL LLC                       SONIA DUSHEY
 SIFFRON                                     SONITROL SECURITY SYSTEMS
 SIGFELD REALTY MARKET PLACE                 SONOMA CO. WGHTS. & MEASURES
  LLC                                         DIV.
 SIGNS OF THE TIMES CORPORATION              SOPHIA ALLMAN
 SILCO FIRE PROTECTION CO                    SOPHIA HEPBURN
 SILVER LAKE MALL LLC                        SOUTH BAY CENTER SPE LLC
 SILVER SPRINGS EQUITIES LLC                 SOUTH BAY SPE LLC
 SIM ZIM ASSOCIATES LP                       SOUTH CHINA SHOES PRODUCTS
 SIMEIO SOLUTIONS LLC                         COMPANY LTD
 SIMON PROPERTY GROUP (TEXAS) LP             SOUTH COUNTY SHOPPINGTOWN LLC
 SIMON PROPERTY GROUP LP                     SOUTH DAKOTA DEPT. OF REVENUE
 SIRIUS COMPUTER SOLUTIONS INC               SOUTH HILL MALL CO
 SITECOMPLI LLC                              SOUTH HILL PLAZA
 SIX RIVERS DEVELOPMENT LLC                  SOUTH LAKEVIEW PLAZA I LLC
 SK DRIVE PROPERTIES LLC                     SOUTH PLAZA CO.
 SKECHERS                                    SOUTH PLAZA COMPANY LLC
 SKECHERS PAYLESS                            SOUTH TOWN PLAZA ASSOC LLC
 SKECHERS USA INC                            SOUTH TOWN PLAZA MERCHANTS
 SLO PROMENADE DE, LLC                        ASSOC
 SLONG INDUSTRIAL CO LIMITED                 SOUTH WHIT SHOPPING ASSOC.
 SM EASTLAND MALL LLC                        SOUTHAVEN TOWNE CENTER II LLC
 SMART MERCHANTS GROUP, INC.

                                        63
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 108 of 138


 SOUTHERN BUYERS GROUP LLC                   S-R GENESIS LTD
  BOWDOIN                                    SRF2 TRURO MALL INC
 SOUTHERN HILLS MALL LLC                     SRF4 MARKET MALL INC
 SOUTHERN IMPERIAL INC                       SRF4 PEMBROKE MALL INC
 SOUTHERN PARK MALL LLC                      SS - BSCMI05-TOP 20 LAKE FOREST
 SOUTHERN SHOPPING CENTER LLC                SSI NORTHSIDE LLC
 SOUTHGATE ASSOCIATES LLC                    ST ALBERT CENTRE HOLDINGS INC
 SOUTHGATE CENTER ASSOCIATES                 ST BERNARD PARISH
  LLC                                        ST CHARLES COUNTY
 SOUTHGATE MARKETPLACE LLC                   ST CLAIR SQUARE SPE, LLC
 SOUTHLAKE INDIANA LLC                       ST CLOUD MALL LLC
 SOUTHLAND CENTER LLC                        ST JOHNSBURY ROUTE 5 ASSOC
 SOUTHLAND MALL LP                           ST LOUIS COUNTY COLLECTOR OF
 SOUTHLAND MALL PROPERTIES LLC                REVENUE
 SOUTHPARK MALL CMBS LLC                     ST LOUIS COUNTY TREASURER
 SOUTHPARK MALL LLC                          ST LOUIS PREMIUM OUTLETS LLC
 SOUTHPOINT MALL LLC 203939                  ST MALL OWNER LLC
 SOUTHPOINTE COMMON                          ST PAULS LUTHERAN CHURCH
  CORPORATION                                ST. CLOUD EQUITIES, LLC
 SOUTHPORT 2013 LLC                          ST. FRANCOIS COUNTY
 SOUTHRIDGE LP                               ST. JOHN AMBULANCE
 SOUTHRIDGE MALL                             ST. LANDRY PARISH SCHOOL BOARD
 SOUTHSIDE RETAIL LLC                        ST. LUCIE COUNTY TAX COLLECTOR
 SOUTHTOWN PLAZA REALTY LLC                  STACEY BANISTER
 SOUTHWEST REGIONAL TAX BUREAU               STACEY GREGG
 SOUTHWEST SHOPPING CENTERS                  STACY FERRELL
 SP SOUTHPORT PLAZA LLC                      STAFFMARK
 SPACE 530 LLC                               STAFFORD BLUFFTON LLC
 SPACE DATA CORPORATION                      STANDAR LP
 SPARKS GRF2 LLC                             STANLEY CONVERGENT SECURITY
 SPECIAL DISPATCH                             SOLUTIONS
 SPECTRUM BAGS INC                           STAR DEVELOPMENT INC
 SPF MARKET AT SOUTHSIDE LLC                 STAR WEST CHICAGO RIDGE LLC
 SPOKANE MALL LLC (MALL &                    STAR WEST FRANKLIN PARK MALL
  PLAZA)                                      LLC
 SPOOR & FISHER                              STAR WEST GATEWAY LLC
 SPOTSYLVANIA MALL CO                        STAR WEST GREAT NORTHERN MALL
 SPRING HILL MALL LLC                         LLC
 SPRING RIDGE LP                             STAR WEST JV LLC FBO WESTLAND
 SPRING TOWN CENTER                           MALL LLC
 SPRINGBANK MECHANICAL                       STAR WEST LOUIS JOLIET LLC
  SYSTEMS LTD                                STAR WEST SOLANO LLC
 SPRINGFIELD TOWNSHIP FIRE DEPT              STARLING GREWE
 SPRINGFIELD UE LLC                          STARR COUNTY TAX OFFICE
 SPRINGHILL-US19, LLC                        STAR-WEST PARKWAY MALL LP
 SPRUCE CENTRE LANDS LTD                     STATE OF ALABAMA

                                        64
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 109 of 138


 STATE OF ALASKA                             STEAMTOWN 300 LLC
 STATE OF ARIZONA                            STEINER GRANTS PASS INVESTORS
 STATE OF ARKANSAS                           STEPHANIE ESTRADA
 STATE OF CALIFORNIA                         STEPHANIE MCDANIEL
 STATE OF COLORADO                           STEPHANIE MORAN
 STATE OF CONNECTICUT                        STEPHANIE SALAZAR
 STATE OF FLORIDA                            STEPHANIE SURMEIER HULT
 STATE OF GEORGIA                            STEPHANIE ULRICH
 STATE OF HAWAII                             STEPHANIE VILLALOBOS
 STATE OF IDAHO                              STEPHANIE WOLFE
 STATE OF ILLINOIS                           STEPHEN B. DAY & BARBARA
 STATE OF INDIANA                             WEBSTER DAY 705
 STATE OF IOWA                               STEPHEN GRAND
 STATE OF KANSAS                             STEPHEN MISTLER
 STATE OF KENTUCKY                           STEPHEN PATTON
 STATE OF LOUISIANA                          STEVAN M JOSEPHO
 STATE OF MAINE                              STEVE AND JOYCE BREMER
 STATE OF MARYLAND                           STEVE MADDEN LTD
 STATE OF MASSACHUSETTS                      STEVEN ROBICHAUX
 STATE OF MICHIGAN                           STOCKBRIDGE COURTLAND CENTER
 STATE OF MINNESOTA                           LLC
 STATE OF MISSOURI                           STOCKBRIDGE EL MERCADO LLC
 STATE OF NEBRASKA                           STOCKBRIDGE MADISON LLC
 STATE OF NEVADA                             STOCKTON POLICE DEPARTMENT
 STATE OF NEW HAMPSHIRE                      STOCKYARDS (PRINCE ALBERT) LP
 STATE OF NEW JERSEY                         STONE MOUNTAIN ACCESSORIES INC
 STATE OF NEW MEXICO                         STONE MOUNTAIN ACQUISITION I
 STATE OF NORTH CAROLINA                      LLC
 STATE OF OHIO                               STONE MOUNTAIN SQUARE
 STATE OF OKLAHOMA                            SHOPPING CTR LLC
 STATE OF OREGON                             STONEBRIAR MALL LLC GGP
 STATE OF PENNSYLVANIA                        HOMART II LLC
 STATE OF RHODE ISLAND                       STONECREST MALL SPE LLC
 STATE OF SOUTH DAKOTA                       STONEFIELD (FORT SASKATCHEWAN)
 STATE OF TENNESSEE                           LP
 STATE OF TEXAS                              STONERIDGE PROPERTIES LLC
 STATE OF UTAH                               STRATEGIC PRINT SOLUTIONS
 STATE OF VIRGINIA                           STROUD MALL LLC
 STATE OF WASHINGTON                         STS, INC
 STATE OF WEST VIRGINIA                      SUDDATH TRANSPORTATION
 STATE OF WISCONSIN                           SERVICES INC
 STATE OF WYOMING                            SUFFOLK COUNTY ALARM MGMT
 STATESBORO FG CGP LLC                        PROGRAM
 STATEWIDE TRANSPORT INC                     SUGAR ESTATE ASSOCIATES
 STATISTA INC                                SUGARCREEK PLAZA II LLC
 STC HOLDINGS INC                            SULPHER PARTNERS, LTD

                                        65
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 110 of 138


 SUMMITTWOODS SPE LLC                        SYSTEMS PLUS PVT LTD
 SUMO LOGIC INC                              SYSTEMS PLUS TECHNOLOGIES
 SUN LIFE ASSURANCE COMPANY                  T.J. DEVELOPMENT CO.
 SUN LIFE ASSURANCE COMPANY OF               TACOMA MALL PARTNERSHIP
  CANADA                                     TAILWIND ENDEAVORS
 SUN PLAZA LLC                               TAIZHOU GLOBAL TRADING CO., LTD
 SUNLAND PARK MALL                           TAKECARE INSURANCE COMPANY
 SUNLIFE ASSURANCE CO OF CANADA               INC
 SUNNY ISLE DEVELOPERS LLC                   TALAVI BELL, LLC
 SUNNY SUNDAYS LLC                           TALWAR TRUST
 SUNNYSIDE SHOPPES LLC                       TAMARA L HAMPTON
 SUNRISE MALL LLC                            TAMI KNOX
 SUNRISE MILLS LTD. PARTNERSHIP              TAMIKA KING
 SUNSET PROMENADE, LLC                       TAMMY CHAMBERLAIN
 SUNVALLEY SHOPPING CENTER LLC               TANGIPAHOA PARISH
 SUP I WAMPANOAG LLC                         TANGIPAHOA PARISH SCHOOL
 SURREY CC PROPERTIES INC                     BOARD
 SUSAN C SOZZI                               TANGOE INC
 SUSAN DUBAS                                 TANURB (FESTIVAL MARKETPLACE)
 SUSAN MELETTI                                INC.
 SUSAN REGALADO                              TANYA MARTIN
 SUSO 3 AUGUSTA LP                           TARA AYERST
 SUSO 3 RIVERDALE LP                         TARA GARMAN
 SUSQUEHANNA VALLEY MALL                     TARGET CORPORATION
  ASSOCIATES LP                              TARGET STORES
 SUZANA GOMEZ                                TARIFF SOLUTIONS LLC
 SUZANNE FISHPOOL                            TATUM VENTURE LLC
 SUZANNE RUDE                                TAUBMAN AUBURN HILLS ASSOC LP
 SVAP GOLF MILL RETAIL, LP                   TAX AIRFREIGHT INC
 SVAP II PARK NORTH LLC                      TAX AND LICENSING DIVISION
 SVN RETTER & COMPANY - CDSK 28              TAX ASSESSOR - COLLECTOR
  LLC                                        TAX ASSESSOR COLLECTOR ORANGE
 SWATARA TOWNSHIP AUTHORITY                   COUNTY
 SWEET LIVING TOWERS LLC                     TAX COLLECTOR
 SWEETWATER COUNTY TREASURER                 TAX COLLECTOR MULTNOMAH
 SWISHER COUNTY APPRAISAL                     COUNTY
  DISTRICT                                   TAX COLLECTOR, MANATEE COUNTY
 SWISHER COUNTY TAX ASSESSOR -               TAX COLLECTOR-DALLAS COUNTY
  COLLECTOR                                  TAX COMMISSIONER - HALL COUNTY
 SY HOWE ARDEN LLC                           TAX COMMISSIONER, GLYNN CNTY
 SYCAMORE PROPERTIES                         TAXATION & REVENUE DEPT.
 SYDNEY PARTNERS LLC                         TAYLOR ARDWIN
 SYDNEY STOVALL                              TAYLOR MORTIMER
 SYLVIE LAFLAMME                             TAYLOR SQUARE OWNER LLC
 SYNCB/AMAZON                                TBG STATE STREET, LLC
 SYSCO KANSAS CITY, INC                      TBP CRANSTON LLC

                                        66
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 111 of 138


 TEALIUM INC                                 THE INCC CORP
 TECHNICAL SAFETY BC                         THE IRVINE COMPANY RETAIL PROP.
 TECHNICAL STANDARDS & SAFETY                THE IRVINE COMPANY LLC
  AUTHORITY                                  THE KRAUSZ COMPANIES INC
 TECHNOLOGY RECOVERY GROUP                   THE LDT ADMINISTRATIVE TRUST
 TEDDY EVANS                                 THE MALL AT BRIARWOOD LLC
 TEI EQUITIES LLC                            THE MALL IN COLUMBIA BUSINESS
 TEJAS CENTER CORP                            TR.
 TEKSYSTEMS CANADA CORP                      THE MARION PLAZA INC
 TELECHECK SERVICES, INC.                    THE MARKETPLACE
 TELEGRAPH MARKETPLACE                       THE MID-AMERICA MGMT CORP
  PARTNERS II, LLC                           THE NORTH FACE
 TEMECULA TOWNE CENTER                       THE NORTH LOS ALTOS S/C
  ASSOCIATES LLC                             THE ONTARIO MARKETPLACE LLC
 TEMPUS TECHNOLOGIES                         THE PARKS MALL AT ARLINGTON LLC
 TENNANT INC                                 THE QUEENS BENCH SHERIFF TRUST
 TERESA BRIONES                               ACCT
 TERESA CAZAREZ                              THE SORANI FAMILY REVOCABLE
 TERESA MUNIZ LOPEZ                           TRUST
 TERRI L. MCCUNE                             THE STOP & SHOP SUPERMARKET
 TERRI MCCANN                                 COMPANY LLC
 TERRY A. SELIGMAN                           THE TEMPLE MALL LLC
 TESSA BOUCHER                               THE VILLAGE AT ORANGE LLC
 TESTRITE VISUAL                             THE VILLAGE SHOPPING CENTRE
 TETON INVESTMENTS LLC                        (2006) INC
 TEXAS DEPARTMENT OF STATE                   THE VINEYARD SHOPPING CENTER II,
  HEALTH SVCS                                 LP
 TF LLC                                      THE WIDEWATERS GROUP INC
 TGNG REAL ESTATE LLC                        THE WOODLANDS MALL ASSOCIATES
 THE ASEAN CORP LTD                           LLC
 THE BOULEVARD SHOPPING CENTRE               THEODORE L. JONES
  (MONTREAL)                                 THERESA BEREZUK
 THE CADILLAC FAIRVIEW CORP LTD              THF FRUITPORT PARCEL R DEV. LP
 THE CAFARO CO                               THF GLEN CARBON DEVELOPMENT
 THE CARRINGTON CO.                           LLC
 THE CARRINGTON COMPANY                      THF HARRISONBURG CROSSINGS LLC
 THE CONNECTICUT POST LIMITED                THF LAURA HILL DEVELOPMENT LLC
  PARTNERSHIP                                THF WENTZVILLE DEVELOPMENT
 THE CORPORATION OF MAPLE RIDGE               LLC
 THE CROSSROADS MALL                         THF-D CHARLESTON DEV LLC
 THE DISTRICT LLC                            THOMAS CARLSON
 THE DOMAIN MALL II LLC                      THOMAS COONEY JR
 THE DOUG CAMERON EXPERIENCE                 THOMAS J. LITTMAN AND DEMETRA
 THE GILBERT COMPANY                          COPOULOS
 THE GLUZ FAMILY TRUST DTD                   THOMAS L. KELLY
  04/12/99                                   THOMAS PEDLEY

                                        67
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 112 of 138


 THOMAS ZACHARIAS                            TOP FALCON INTERNATIONAL
 THOMSON RUETERS CANADA                       LIMITED
 THOR GALLERY AT SOUTH DEKALB                TOP LUCK ASIA LIMITED
  LLC                                        TOP PROPERTY GROUP LLC
 THORNDALE CENTER LP                         TOPLINE
 THORNTON TOWNE CENTER 05 A LLC              TOPLINE FOOTWEAR LIMITED
 THOUSAND OAKS MARKETPLACE LP                TOPLINE IMPORTS INC
 THREE SIXTY SEVEN LLC                       TOPSMART INTERNATIONAL CO., LTD.
 THRIVE COMMERCE LLC                         TORNETTA REALTY CORP
 THYSSENKRUPP ELEVATOR CORP                  TOTALFUNDS BY HASLER
 TIAN YOU CORPORATION                        TOULON DEVELOPMENT
 TIANA HRDLICKA                               CORPORATION
 TIC OWNERS OF OLYMPIC GATEWAY               TOWN & COUNTRY PLAZA ASSN
  SC                                         TOWN CENTER AT AURORA, LLC
 TIERPOINT LLC                               TOWN CENTER AT COBB LLC
 TIERRA GROUP INC                            TOWN EAST MALL LLC
 TIFFANY BOWE                                TOWN OF BABYLON
 TIFFANY HURLEY                              TOWN OF BIG FLATS CODE
 TIFFANY JACKSON                              ENFORCEMENT
 TIFFANY JOLLY                               TOWN OF CHRISTIANSBURG
 TIFFANY SHELLY                              TOWN OF CICERO
 TIFFANY SMILEY                              TOWN OF CLARKSTOWN
 TIFFANY WASHINGTON                          TOWN OF N. PROVIDENCE
 TIGARD POLICE DEPARTMENT                    TOWN OF NEWBURGH
 TIM KAINE                                   TOWN OF NIAGARA
 TIM RITCHIE                                 TOWN OF ULSTER
 TIMOTHY R. NIST                             TOWNE CENTER VENTURE, LLP
 TINA RICHARDSON                             TOWNE MALL LLC
 TINLEY PARK POLICE DEPT                     TOWNE PARK PLAZA LLC
 TITAN LAND DEVELOPMENT INC                  TOWNSHIP OF BELLEVILLE
 TKG SE MARKET CTR DEVELOPMENT               TOWNSHIP OF NORTH BERGEN
  LP                                         TOWNSHIP OF SOUTH STRABANE
 TKG SMITH FARM LLC                          TOWNSHIP OF VOORHEES
 T-L RIVER WEST LLC                          TOWNSHIP OF WAYNE
 TM FAIRLANE CENTER LP                       TOWSON TC LLC
 TM MACARTHUR CENTER LP                      TOYS R US-DELAWARE INC
 TM NORTHLAKE MALL LP                        TPP SIEGEN LLC
 TM WELLINGTON GREEN MALL LP                 TRACEY GILLCASH
 TNC BUILDING OWNER LLC                      TRACIE TRACIE
 TODD W BECKETT                              TRACY MALL PARTNERS, LP
 TOLEDO GREAT SOUTHERN LIMITED               TRAFFIX USA, INC
 TONGXIANG HENGSHENG SHOES CO                TRANS PERFECT TRANSLATIONS
  LTD                                        TRANSACTION TAX RESOURCES INC
 TONYA MCCLOUD                               TRANSOURCE
 TOOELE CITY CORP.                           TRANSPORTATION SUPPLY DEPOT INC
 TOOELE COUNTY ASSESSOR                      TRANSX LTD

                                        68
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 113 of 138


 TREA WESTON LLC                             TYLER LATHAM
 TREASURE COAST-JCP ASSOC. LTD.              TYLER MALL LIMITED PARTNERSHIP
  3096                                       TYLER PINE TREE SHOPPING CENTER
 TREASURER CITY OF MEMPHIS                    LLC
 TREASURER OF BOWLING GREEN                  U SAVE FOODS INC
 TREASURER OF GUAM                           U STREET PARKING
 TREASURER OF LAKE COUNTY                    U.S. POSTMASTER
 TREASURER OF MONTGOMERY                     U.S. TRUSTEE
  COUNTY                                     UE 839 NEW YORK AVENUE LLC
 TREASURER OF VIRGINIA                       UE HUDSON MALL LLC
 TREASURER, CHESTERFIELD                     UE MONTEHIEDRA ACQUISTION LP
  COUNTY                                     UE TONNELLE COMMONS LLC
 TREASURER, STATE OF NEW JERSEY              UE YONKERS II LLC
 TREASURER-TAX COLLECTOR                     U-LACE LLC
 TREECO / PALISADES COURT LP                 ULINE INC
 TREMONT REAL ESTATE LLC                     UMATILLA COUNTY
 TRIANGLE EQUITIES JUNCTION LLC              UNIFIED GOVERNMENT
 TRI-COASTAL DESIGN GROUP INC                UNION COUNTY NORTH CAROLINA
 TRIGON IMAGING SOLUTIONS                    UNION SQUARE NEWCASTLE JOINT
 TRI-MODAL DIST SVC INC.                      VENTURE
 TRIP TUCK INC                               UNION UE LLC
 TRIPLE B FORWARDERS                         UNIONTOWN MALL REALTY LLC
 TRIPLE S, INC.                              UNITCO REALTY & CONSTRUCTION
 TRIUMPH OF NORTH CAROLINA                    CO INC
 TROPICAIRE HIALEAH INC                      UNITED CALIFORNIA FREIGHT SOL
 TRP MCB EASTPOINT LLC                       UNITED FOOD & COMMERCIAL
 TRUE MEDIA                                  UNITED HEALTHCARE
 TRUMBALL CORPORATION                        UNITED PARCEL SERVICE, INC.
 TRUMBULL SHOPPING CENTER #2                 UNITED PROPERTIES CORP
  LLC                                        UNITED STATES DEVELOPMENT LTD
 TRUSTEES OF THE ESTATE OF                   UNIVERSAL INTERMODAL SERVICES
  BERNICE                                     INC
 TRUSTWAVE HOLDINGS INC                      UNIVERSAL PACKAGING
 TUCSON PLACE INVESTORS, LLC                 UNIVERSITY MALL
 TULARE COUNTY TAX COLLECTOR                 UNIVERSITY MALL REALTY LLC
 TULLER SQUARE NORTHPOINTE, LLC              UNIVERSITY MALL REALTY LTD.
 TULSACK                                     UNIVERSITY MALL SHOPPING
 TUNGYA LOGISTICS CO LTD                      CENTER LC
 TUP 130 LLC                                 UNIVERSITY PARK MALL LLC
 TURK-PUGH PROPERTIES                        UNIVERSITY PLAZA JOINT VENTURE
 TUSCALOOSA COUNTY SPECIAL                   UNIVERSITY REALTY ASSOCIATES
 TUTU PARK MALL                               LLC
 TVL PROPERTIES LLC                          UPS
 TVO MALL OWNER LLC                          UPS FREIGHT
 TWC CHANDLER LLC                            UPS SUPPLY CHAIN SOLUTIONS INC
 TWICE MARKETS LLC                           URBAN EDGE CAGUAS LP

                                        69
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 114 of 138


 URBANCAL MANHATTAN TOWN                     VCG WHITNEY FIELD LLC
  CENTER LLC                                 VCG-SOUTHBAY PAVILION LLC
 URBANCAL OAKLAND MALL LLC                   VECTOR SECURITY
 URGENT CARE SPECIALISTS                     VELLANI & VELLANI
 US BANK                                     VENSTAR INC
 US BANK AIR BTA                             VENTURE NO 3841 LLC
 US BANK EDC                                 VENTURES III LLC
 US BANK IT/SOFTWARE                         VERA ODUM
 US BANK PR                                  VEREIT MT LADY LAKE FL, LLC
 US BANK REC                                 VERIFONE INC
 US BANK STS                                 VERMONT DEPT. OF TAXES
 US BANK TAX                                 VERMONT SLAUSON SHOPPING
 US CENTENNIAL VANCOUVER MALL                VERONICA CASTRO
  LLC                                        VERONICA LAM
 US CUSTOMS                                  VERONICA MORGAN
 US DATA CORPORATION                         VERTEX INC.
 US EXPEDITING & LOGISTICS LLC               VERTIV SERVICES INC
 US FOODS, INC                               VESTAL TOWN SQUARE LLC
 USPG PORTFOLIO SIX LLC                      VESTAR ORCHARD TOWN CENTER
 UTAH COUNTY ASSESSOR                         LLC
 UVIAUS, LLC                                 VESTAR-CPT TEMPE MARKETPLACE,
 V.I. BUREAU OF INTERNAL REV.                 LLC
 VAIBHAV CHAUDHRY                            VIABELLA HOLDINGS LLC
 VAL VISTA RETAIL I, LLC                     VIACOM INTERNATIONAL MEDIA
 VALENCIA MARKETPLACE I LLC                   NETWORKS
 VALERIA DOMINGUEZ                           VIAPORT NEW YORK LLC
 VALERIE COTA                                VICKSBURG INCOME PROPERTIES
 VALERIE LEBLANC                              LLC
 VALERIE WILLIAMS                            VICKY GRACE SANCHEZ AYAQUIL
 VALIANT RENTAL PROPERTIES LTD.              VICTORIA ALVAREZ
 VALLEY HILLS MALL                           VICTORIA MALL LP
 VALLEY JANITORIAL SUPPLY CO                 VICTORIA R SCHANTZ-BROWN
 VALLEY MB LLC                               VICTORIA TORRES
 VALLEY PLAZA MALL LP                        VIKING PARTNERS CHESTERFIELD
 VALLEY PROPERTIES INC                        LLC
 VALLEY STREAM GREEN ACRES LLC               VIKING PARTNERS WOLF CREEK LLC
 VALLEY VIEW MALL SPE LLC                    VIKING PLAZA REALTY GROUP LLC
 VALLEY WEST MALL LLC                        VILLA LIGHTING SUPPLY
 VANCE COUNTY TAX COLLECTOR                  VILLAGE COMPANY LLC
 VANCOUVER PLAZA                             VILLAGE LAKE PROMENADE LLC
 VANDALIA ASSOCIATES                         VILLAGE OF ASHWAUBENON
 VANPROP INVESTMENTS LTD                     VILLAGE OF CARPENTERSVILLE
 VAQUERO GARTH ROAD PARTNERS,                VILLAGE OF CRESTWOOD
  LP                                         VILLAGE OF ELK GROVE VILLAGE
 VAQUERO PAYLESS PARTNERS, LP                VILLAGE OF GURNEE
 VCG SOUTHLAKE MALL LLC                      VILLAGE OF HODGKINS

                                        70
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 115 of 138


 VILLAGE OF MELROSE PARK                     WALNOR, LLC 0255 RL
 VILLAGE OF MT. PROSPECT                     WALNUT HILL HOLDINGS LLC
 VILLAGE OF NORTH RIVERSIDE                  WALTON FOOTHILLS HOLDINGS VI
 VILLAGE OF ORLAND PARK                       LLC
 VILLAGE OF SHOREWOOD                        WANAMAKER 17, LLC
 VILLAGE OF SKOKIE                           WARE COUNTY TAX COMMISSIONER
 VILLAGE OF STREAMWOOD                       WARLAND INVESTMENTS COMPANY
 VILLAGE OF TINLEY PARK                      WARREN BUSINESS SERVICE
 VILLAGE PARK PLAZA LLC                      WARWICK MALL OWNER LLC
 VILLAVERDE PROPERTIES LLC                   WASHINGTON CIRCLE PLAZA
 VINCENNES CENTER LLC                        WASHINGTON CITY
 VINCENT CLAYTON                             WASHINGTON CORNER LP
 VINECO JOINT VENTURE                        WASHINGTON COUNTY COLLECTOR
 VINYARD CONCORD, LP                         WASHINGTON COUNTY SHERIFF
 VIOLET REALTY INC                           WASHINGTON COUNTY TREASURER
 VIRGINIA CAMACHO                            WASHINGTON MALL- JCP
 VIRGINIA FAIR                                ASSOCIATES LTD
 VISALIA MALL LP                             WASHINGTON SQUARE MGMT LLC
 VISUAL LEASE LLC                            WASHREIT CENTRE AT HAGERSTOWN
 VIXXO CANADA                                 LLC
 VK-AJ-KR BALDWIN ASSOCIATES                 WATAUGA TOWNE CROSSINGS LLC
 VML LLC                                     WATERFORD LAKES TOWN CENTER
 VMWARE INC                                   LLC
 VOIANCE LANGUAGE SERVICES LLC               WATERVILLE RETAIL ASSOCIATES
 VOISIN DEVELOPMENTS LIMITED                  LLC
 VOLUSIA MALL LLC                            WATSON INSURANCE AGENCY
 VOORHEES CENTER REALTY LLC                  WATT TOWN CENTER RETAIL
 VORTEX INDUSTRIES INC                        PARTNERS LLC
 W - LD LEGENDS OWNER VII LLC                WAYMAN DEVELOPMENT COMPANY
 W & W PARTNERSHIP                           WAYNE COUNTY
 W & Y PROPERTIES LLC                        WAYNE TOWNE ENTERPRISES LTD
 W/J COMMERCIAL VENTURE                      WBC PROPERTIES
 W/S EPPING LLC                              WBLP DELAWARE LTD PARTNERSHIP
 W/S WESTBROOK ASSOCIATES, LLC               WC INDEPENDENCE CENTER LLC
 WAIPAHU LLC                                 WC MRP DES MOINES CENTER LLC
 WAJ HARDY OAK LLC                            FBO
 WAKE COUNTY REVENUE DEPT.                   WC NORTH OAKS HOUSTON LP
 WAKEFIELD MALL ASSOCIATES                   WEA PALM DESERT LLC
 WALDEN CONSUMER SQUARE LLC                  WEA SOUTHCENTER LLC
 WALDORF SHOPPERS WORLD                      WEBSTER SQUARE S/C LLC
 WALGREEN CO                                 WEINGARTEN NOSTAT INC
 WALL TWP FIRE PREVENTION                    WEINGARTEN REALTY INVESTORS
  BUREAU                                     WEINGARTEN/ AURORA/ GDC TIC
 WALLACE C. WORKING                          WEIRFOULDS LLP
 WALLACE PROPERTIES KENNWICK                 WEISBURG OAKLAND TRUST
  PLAZA LLC                                  WELLMAKARA LLC

                                        71
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 116 of 138


 WELLS FARGO RETAIL FINANCE LLC              WESTGATE SHOPPING CENTER LTD
 WELLS FARGO SBLC                            WESTLAND GARDEN STATE PLAZA LP
 WELLS FARGO VENDOR                          WESTLAND MALL REALTY LLC
 WENATCHEE REALTY LLC                        WESTLAND SOUTH SHORE MALL LP
 WENDY BOGGS                                 WESTMINSTER MALL LLC
 WENDY L EVANS                               WESTMINSTER MALL, LLC
 WENDY WOLTHER                               WESTON COUNTY TREASURER
 WENDY WU                                    WESTOWN INVESTORS LLC
 WENDYS OLD FASHIONED                        WESTPARK SHOPPING CENTER LLC
  HAMBURGERS OF ATLAN                        WESTRIDGE SHOPPING CENTRES LTD
 WERNER ENTERPRISES INC                      WESTROADS MALL LLC-GGPLP
 WEST 5TH STREET PROPERTIES LP               WESTSIDE STAMP & AWARDS INC.
 WEST ACRES DEVELOPMENT                      WESTVIEW CENTER ASSOCIATES LC
 WEST BLUFF CENTER LLC                       WESTVIEW PLAZA CORP
 WEST COUNTY MALL CMBS LLC                   WESTWARD REALTY LLC
 WEST DAKOTA CONSOLIDATED, INC.              WESTWOOD HOLDINGS LLC
 WEST EDMONTON MALL                          WETHERSFIELD S/C ASSOCIATES LLC
  PROMOTIONS                                 WF LAKE HOUSTON LLC
 WEST EDMONTON MALL PROPERTY                 WHATCOUNTS
  INC                                        WHEATON PLAZA REGIONAL S/C LLC
 WEST FLAGLER PLAZA CORP                     WHITE COUNTY
 WEST MELBOURNE TOWN CENTER                  WHITE MARSH MALL LLC
  LLC                                        WHITE OAKS MALL HOLDINGS LTD
 WEST PALM REALTY LLC                        WHITE PINE COUNTY TREASURER
 WEST RIVER SHOPPING CENTER LLC              WHITEHALL INCOME TAX DIVISION
 WEST ROAD INVESTORS, LP                     WHITEMAK ASSOCIATES
 WEST TOWN LLC                               WHITE-SPUNNER REALTY INC
 WEST VOLUSIA INVESTORS LLC                  WHITESTONE REIT
 WESTAFF WORKFORCE SOLUTIONS                 WHITNEY DRANE
  LLC                                        WHITTAKER NORTHWEST PARTNERS
 WESTBORN MALL                               WHITTWOOD 1768 INC
 WESTBROOK MALL                              WHLR - CONYERS CROSSING, LLC
 WESTCOR SANTAN HOLDINGS LLC                 WHLR, JANAF, LLC
 WESTDALE CONSTRUCTION CO                    WICHITA ALARM PROGRAM
  LTIMITED                                   WILEY REIN LLP
 WESTDALE PROPERTIES                         WILGRIST NOMINEES LTD.
 WESTERLY ASSOCIATES LLC                     WILL RAY FAMILY PARTNERS
 WESTERLY FIRE DEPTARTMENT                   WILLARD S WILSON INC
 WESTERN HOSPITALITY KIM, LLC                WILLIAM C. BUTT ARTICLE 5 CREDIT
 WESTFALL TOWN CENTER JV                      SHELTER
 WESTFIELD TOPANGA OWNER LLC                 WILLIAM CURTIS
 WESTGATE INVESTORS LLC                      WILLIAM P. SMITH
 WESTGATE MALL CMBS LLC                      WILLIAM PLOGHER
 WESTGATE MALL OWNER, LLC                    WILLIAM SANNA
 WESTGATE MALL REALTY GROUP                  WILLIAM THOMPSON
  LLC                                        WILLOWBROOK MALL LP

                                        72
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 117 of 138


 WILLOWBROOK MALL TX LLC                     WSPGB MALL LLC
 WILSON AMCAP II, LLC                        WVA 340 LLC
 WILSON INVESTMENT PROPERTIES                WWM SC DUNCANVILLE INC
  INC                                        WWW CROSSINGS LLC
 WILSONTOWN II LLC                           WYOMING MALL LTD
 WILTON MALL LLC                             XFIVE LLC
 WINBROOK MANAGEMENT LLC                     XIAMEN C AND D LIGHT INDUSTRY
 WINDWARD PARTNERS X LP                       CO LTD
 WINPLAY INTERNATIONAL CO LTD                XIAMEN DOUBLE-STAR IMPORT &
 WINSTON DEIGH                                EXPORT
 WINSTON SALEM (OAK SUMMIT)                  XPO LAST MILE
  WMC LLC                                    Y & D PROPERTIES LLC
 WIREGRASS REALTY LLC                        Y.C. AND BROTHERS ENTERPRISE CO.,
 WJ BOYD LLC                                  LTD.
 WM INLAND INVESTORS IV LP                   YALE VIRGINIA BEACH ASSOCIATES
 WMSC LLC                                     LLC
 WOBURN (EDENS) LLC                          YANARA FERNANDEZ
 WOLFES LANDSCAPING INC                      YANG MING AMERICA CORP
 WOODBINE MALL HOLDINGS, INC                 YANGMING MARINE TRANSPORT
 WOODBRIDGE CENTER PROPERTY                   CORP
  LLC                                        YARELI FUENTES
 WOODBRIDGE POLICE DEPARTMENT                YAZMIN ALVAREZ
 WOODBRIDGE UE LLC                           YECENIA AVELLANEDA
 WOODFIELD MALL LLC                          YENDI RENTERIA
 WOODFINE PROPERTIES INC                     YOLANDA LOPEZ
 WOODHAVEN SHOES LLC                         YOO JIN LODGING LLC
 WOODLAND HILLS MALL LLC                     YORK GALLERIA LP
 WOODLAND PLAZA II                           YORK RIVER CROSSINGSHOPPING
 WOODRUFF INVESTMENT PARTNERS                 CENTER
  LLC                                        YSM INVESTMENT NO.1 LLC
 WOODSCREEK COMMONS                          YTC MALL OWNER LLC
 WORKER'S COMPENSATION BOARD                 YUBA CITY MARKET PLACE
 WORKERS' COMPENSATION BOARD -               YUBA CITY POLICE DEPARTMENT
  ALBERTA                                    YULEE DEVELOPMENTS INC
 WORKERS COMPENSATION BOARD                  YUMA PALMS DST
  OF MANITOBA                                YVETTE GENAO
 WORKPLACE SAFETY & INS. BOARD               YVETTE SKAFF
 WP GALLERIA REALTY LP                       ZAAC INVESTMENT LLC
 WPG WESTSHORE LLC                           ZAMINDAR OM LLC
 WRI CHARLESTON COMMONS LLC                  ZARCAL ZANESVILLE LLC
 WRI GALLERIA LLC                            ZEPHYRHILLS POLICE DEPARTMENT
 WRI GOLDEN STATE LLC                        ZETA IMPACT INC
 WRI WEST JORDAN LLC                         ZHEJIANG ZHUOLING SHOES CO LTD
 WRIGHT/HURD PROPERTIES LLC                  ZINEB BENCHERKI
 WS KERNAN VILLAGE LLC                       ZORO TOOLS INC
 WSFP DENVER

                                        73
Case 19-40883     Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25          Main Document
                                       Pg 118 of 138



 U.S. Trustee and Key Court Personnel for the Eastern District of Missouri
 McWay, Dana C.                                 Schermer, Barry S.
 Randolph, Paul                                 Surratt-States, Kathy A.
 Rendlen, Charles, E., III

 Utilities
 18000 Vernier Road Holding LLC                  ARVIG Communications System
 6711 Glen Bernie Retail LLC                     Ashwaubenon Water & Sewer Utility
 90567 Canada Inc.                               AT&T
 ABCWUA                                          AT&T Mobility
 AEL&P (Alaska Electric Light & Power)           AT&T Mobility Puerto Rico
 AEP - Appalachian Power                         Atlantic City Associates LLC Number 2
 Alameda County Water District                   Atmos Energy/790311
 Alameda Municipal Power                         Auburn Water & Sewer Dist, ME
 Alaska Communications Systems                   Auburn Water Works Board
 Albany Utilities - GA                           Augusta Utilities Department
 Albmin Realty Company                           Aurora Utilities, IN
 Alectra Utilities Corporation                   Aurora Water
 Alexandria Mall LLC, Radiant Partners           City of Aurora, CO
 Allen County Treasurer, OH                      Austell Natural Gas System
 Alliant Energy/IPL                              Autoridad de Acueductos y Alcantarillado
 Alliant Energy/WP&L                             Avista Utilities
 Allstream Business, Inc.                        Azusa Light & Water Department
 ALP Utilities                                   Bangor Water District
 AltaGas Utilities                               Bangor-Monitor Metropolitan District
 Altoona Water Authority                         Bay City Gas Company
 Ameren Illinois                                 Bay County Dept of Water & Sewer MI
 Ameren Missouri                                 Bayshore Shopping Center Prop Owner
 American Telecommunications                      LLC
 American Water & Energy Savers                  BC Hydro
 AmeriGas - 5586                                 BCWSA (Bucks County Water & Sewer)
 AmeriGas - 9450                                 BCWSD
 Ames Municipal Utilities                        Bear Creek Township Sewer Acct
 AMS Billing Services                            Beaufort-Jasper Water & Sewer Authority
 Anderson City Utilities, IN                     Bedford Rural Electric Cooperative, Inc.
 Appalachian Power                               Bell Aliant
 APS                                             Bell Canada
 AQUA IL                                         Bell Mobility
 Aqua Indiana, Inc.                              Benton PUD
 Aqua New Jersey/1229                            Berkshire Mall LLC - W510159
 Aqua OH                                         BGE
 Aqua Pennsylvania/70279                         Big Bend Telephone Co Inc
 Aquarion Water Company of CT                    Big Flats Water Dept
 Arlington Utilities                             Birch Communications
 Artesian Water Company, Inc.                    Black Hills Energy

                                            74
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                       Pg 119 of 138


 Blue Ridge                                      California Water Service-Visalia
 Blue Ridge Water & Sewer GA                     California-American Water Company
 Bluebonnet Electric Cooperative                 Caln Township/CTMA Sewer/Trash Bill
 Bluewater Power Distribution Corporation        Calvert County Government, MD
 Board of Water Commissioners/Detroit            Campora Propane/Oakhurst
 Board of Water Works of Pueblo, CO              Canton City Utilities
 Boca Park Marketplace, LLC                      Cape Fear Public Utility Authority
 Borough of Audubon                              Cascade Natural Gas
 Borough of Belle Vernon, PA                     Caseyville Township Sewer System (IL)
 Borough of Carteret, NJ                         Cass County Electric Cooperative
 Borough of Glenolden, PA                        CC Communications
 Borough of Hanover, PA                          CELD: Chicopee Electric Light Department
 Borough of Indiana, PA                          Center Township Water & Sewer Authority
 Borough of Oakland, NJ                          CenterPoint Energy Minnegasco/4671
 Borough of Phoenixville WST, MD                 CenterPoint Energy/1325/4981/2628
 Borough of Versailles, PA                       CenterPoint Energy/4583
 Bossier City Utilities Dept. LA                 Centerville City Corp, UT
 Brainerd Public Utilities                       Central Hudson Gas & Electric Co
 Braintree Electric Light Department             Central Maine Power (CMP)
 Brampton Hydro                                  Centurylink
 Brantford Power                                 CH Realty VLL/R Nova Plaza I & II, LLC
 BRE DDR BR Naugatuck CT LLC                     Charles County Government
 BRE DDR Carillon Place, LLC                     Charles Town Utility Board
 BRE Retail Residual Owner 1, LLC/645346         Charleston Sanitary
 BRE Retail Residual Owner 2, LLC                Charleston Water System
 BRE/Pearlridge, LLC                             Charlotte County Utilities
 Brick Township Municipal Utilities              Charter Communications
 BRIGHT HOUSE NETWORKS                           Charter Township of Chesterfield, MI
 BrightRidge                                     Charter Township of Meridian, MI
 Brodhead Creek Regional Authority,PA            Chattanooga Gas Company/5408
 Brookfield Sq Joint Venture                     Chenowith Water PUD
 Brownsville Public Utilities Board              Chester Water Authority, PA
 Brunswick-Glynn County Joint                    Chillicothe Utilities Dept, OH
 Bryan Texas Utilities (BTU)                     Chugach Electric Association
 Buckeye Retail JV LLC/3784                      Chunghwa Telecom Global Inc
 Buffalo Water                                   CIII LBUBS06-C6 Midland Mall
 Burlington Hydro-Electric Commission            Cincinnati Bell
 Cable One                                       Cinnaminson Sewerage Authority
 Cablevision                                     Citizens Energy Group
 Calhoun Utilities, GA                           Citrus County Utilities, FL
 California Water Service-Bakersfield            Citrus Heights Water District
 California Water Service-Chico                  City & County of Butte-Silver Bow
 California Water Service-Commerce               City Light & Water, MO
 California Water Service-Salinas                City of Aberdeen, WA
 California Water Service-San Mateo              City of Abilene, TX
 California Water Service-Torrance               City of Alhambra, CA

                                            75
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                          Pg 120 of 138


 City of Alice, TX                                City of Claremore, OK
 City of Alliance Water Utility, OH               City of Clearwater, FL
 City of Altamonte Springs, FL                    City of Cleburne, TX
 City of Amarillo, TX                             City of Clermont, FL
 City of Ann Arbor Treasurer, MI                  City of Cleveland Division of Water
 City of Apopka, FL                               City of Coachella, CA
 City of Ardmore, OK                              City of Columbia, MO
 City of Asheville, NC                            City of Concord, NH
 City of Auburn Water Dept, NY                    City of Conway, SC
 City of Auburndale, FL                           City of Cookeville, TN
 City of Aurora, IL                               City of Corpus Christi, TX
 City of Austin, TX                               City of Corunna, MI
 City of Bangor Wastewater                        City of Crest Hill, IL
 City of Barberton, OH                            City of Crestview, FL
 City of Bartlett, TN                             City of Cuyahoga Falls, OH
 City of Bartow, FL                               City of Dallas, TX
 City of Bastrop, TX                              City of Danville, VA
 City of Battle Creek, MI                         City of Dearborn, MI
 City of Baxter, MN                               City of Del Rio Water & Gas Dept.
 City of Bay City, TX                             City of Deland, FL
 City of Baytown, TX                              City of Delano, CA
 City of Beaumont, TX                             City of Detroit Lakes, MN
 City of Bethlehem, PA                            City of Dover, DE
 City of Bloomington, IL - 801214                 City of Dubuque, IA
 City of Blue Springs Utility Billing             City of Duluth Comfortsystems
 City of Boynton Beach, FL                        City of Dunkirk, NY
 City of Brantford, ON                            City of Dunn, NC
 City of Brockton, MA                             City of Durham, NC (Sewer/Water)
 City of Brockville/ON                            City of Edinburg, TX
 City of Brookfield, WI                           City of El Centro, CA
 City of Brookville, OH                           City of Enid, OK
 City of Buena Park, CA                           City of Escondido, CA
 City of Burley, ID                               City of Everett Utilities, WA
 City of Calexico, CA                             City of Fargo, ND
 City of Calumet City, IL                         City of Ferndale, MI
 City of Camrose, AB                              City of Fitchburg, MA
 City of Canton, GA                               City of Flint, MI
 City of Cape Coral, FL                           City of Fort Lauderdale, FL
 City of Carbondale, IL                           City of Fort Myers, FL
 City of Carlsbad, NM                             City of Fountain Utilities, CO
 City of Carrollton, TX                           City of Gallup, NM
 City of Charlotte, MI                            City of Garden City, KS
 City of Charlotte, NC                            City of Garland Utility Services
 City of Chattanooga, TN                          City of Gastonia, NC
 City of Chelsea, MA                              City of Gaylord, MI
 City of Chino, CA                                City of Glenwood Springs, CO

                                             76
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25       Main Document
                                        Pg 121 of 138


 City of Goldsboro, NC                            City of Lubbock Utilities, TX
 City of Grand Island, NE                         City of Lumberton, NC
 City of Grand Rapids, MI                         City of Lynchburg, VA
 City of Greenville, Water Department             City of Madison Heights, MI
 City of Griffin, GA                              City of Marble Falls, TX
 City of Gulfport, MS                             City of Marion, OH
 City of Harrisonburg, VA                         City of Marshall, TX
 City of Hays, KS                                 City of Mattoon, IL
 City of Hermiston, OR                            City of McKinney, TX
 City of Hialeah, FL-Dept of Water & Sewer        City of Medford, OR
 City of Homestead, FL                            City of Melbourne, FL
 City of Houston, TX - Water/Wastewater           City of Mesquite, TX
 City of Huntsville, TX                           City of Midland, TX
 City of Hurst, TX                                City of Millington, TN
 City of Idaho Falls, ID                          City of Moscow, ID
 City of Irving - Municipal Services Bill         City of Mt Pleasant, MI
 City of Jacksonville, NC                         City of Mt. Pleasant, TX
 City of Jamestown, NY                            City of Mt. Vernon, IL
 City of Joplin, MO                               City of Nacogdoches, TX
 City of Kearney, NE                              City of Naperville, IL
 City of Killeen, TX                              City of Natchitoches, LA
 City of Kitchener, ON                            City of Newark, NJ/Water Department
 City of Lake City, FL                            City of Niles, OH
 City of Lake Worth, FL                           City of Norfolk, NE
 City of Lancaster, PA                            City of North Canton, OH
 City of Lapeer, MI                               City of North Las Vegas, NV- Finance Dep
 City of LaPorte Utilities, IN                    City of North Miami Beach, FL
 City of Laredo Utilities                         City of O Fallon, MO
 City of Las Cruces, NM                           City of Ocala, FL
 City of Lauderhill, FL                           City of Odessa, TX
 City of Lawrenceville, GA                        City of O'Fallon, IL
 City of Lawton, OK                               City of Oklahoma City, OK
 City of Lebanon, OR                              City of Okmulgee, OK
 City of Lebanon, PA                              City of Olathe, KS
 City of Leesburg, FL                             City of Olive Branch, MS
 City of Leominster, MA                           City of Onalaska, WI
 City of Leon Valley, TX                          City of Ontario, OR
 City of Lethbridge, AB                           City of Oshkosh, WI
 City of Lima - Utilities, OH                     City of Palm Coast, FL
 City of Lincoln Park, MI                         City of Paris, TX
 City of Livonia Water & Sewer Division           City of Pasadena, CA
 City of Lloydminster                             City of Peru, IL
 City of Lodi, CA                                 City of Pharr, TX
 City of Lompoc, CA                               City of Philadelphia - Water Revenue, PA
 City of Long Beach, CA                           City of Picayune, MS
 City of Lorain, OH - Water                       City of Pinellas Park, FL

                                             77
Case 19-40883      Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25     Main Document
                                          Pg 122 of 138


 City of Pittsburg, CA                            City of Tuscaloosa, AL
 City of Plant City, FL                           City of Tustin, CA
 City of Port Angeles, WA                         City of Tyler, TX
 City of Port Orange, FL                          City of Ukiah, CA
 City of Presidio, TX                             City of Visalia, CA - Utility Billing
 City of Puyallup - Utilities                     City of Waltham, MA
 City of Raleigh, NC                              City of Warner Robins, GA
 City of Regina, SK                               City of Warren, MI
 City of Revere, MA                               City of Warren, OH
 City of Roma, TX                                 City of Warrensburg/Sewer
 City of Rome, GA                                 City of Washington, MO
 City of Roseville, CA                            City of Waterloo, IL
 City of Roseville, MI                            City of Waxahachie, TX
 City of Round Rock, TX                           City of Weslaco, TX
 City of Rutland, VT                              City of West Burlington, IA
 City of Saint Charles                            City of West Melbourne, FL
 City of Salem, OR                                City of West Monroe, LA
 City of San Luis Obispo, CA                      City of Westfield, MA
 City of San Marcos, TX                           City of Westland Water
 City of Saskatoon, SK                            City of Wilkes-Barre- Sewer Maint Fee
 City of Sault Ste. Marie, MI                     City of Winchester, VA
 City of Scottsbluff, NE                          City of Winston-Salem, NC
 City of Seattle/35177/35178                      City of Winter Garden, FL
 City of Selkirk, MB                              City of Winter Haven, FL
 City of Shawnee, OK                              City of Worcester, MA
 City of Slidell, LA                              City of Wyoming, MI
 City of Southfield, MI                           City of Zachary, LA
 City of Spruce Grove                             City of Zanesville, OH
 City of St. Catharines, ON                       City of Zephyrhills, FL
 City of St. Cloud Public Utilities, FL           City Treasurer Madison - WI
 City of St. Joseph, MO                           City Treasurer-Public Utilities Dept
 City of Sterling Heights Water                   City Utilities (Fort Wayne, IN)
 City of Steubenville, OH                         City Utilities of Springfield, MO
 City of Sulphur Springs, TX                      City Water & Light (CWL)
 City of Summerside/PE                            City Water Light & Power, Springfield IL
 City of Sumter, SC                               Clark Public Utilities
 City of Sunrise, FL                              Clarksville Gas & Water Department
 City of Tacoma Public Utilities                  Clarksville Wastewater Treatment Dept, I
 City of Tampa Utilities                          Clayton County Water Authority
 City of Terre Haute/Sewer                        Cleco Power LLC
 City of Tomball, TX                              Clermont County Water Resources, OH
 City of Topeka, KS                               Cloverland Electric Co-Op/Dafter
 City of Torrance Utilities                       CMC/Real Estate Program 1988-1, L.P.-111
 City of Trotwood, OH                             Coachella Valley Water District
 City of Troy, MI                                 Cobb County Water System
 City of Tulsa Utilities                          Cobb EMC

                                             78
Case 19-40883    Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25        Main Document
                                      Pg 123 of 138


 Coliseum Crossing Associates                    Department of Public Utilities, OH
 College Township Water Authority, PA            DependaBill Solutions, LLC
 Colorado Springs Utilities                      Dept #3167 RealPage Utility Management
 Colton Public Utilities, CA                     Dept of Utilities City of Quincy IL
 Columbia Gas of Kentucky                        Deptford Township MUA, NJ
 Columbia Gas of Maryland                        Des Moines Water Works, IA
 Columbia Gas of Massachusetts                   DeSoto County Water Utility
 Columbia Gas of Ohio                            Desoto Water Utilities
 Columbia Gas of Pennsylvania                    Destin Water Users, Inc.
 Columbia Gas of Virginia                        DFT Communications
 Columbus - City Treasurer                       Dimond Center, LLC
 Columbus City Utilities                         Direct Energy Regulated Services
 Columbus Light and Water Dept.                  Directv
 Columbus Water Works                            Dominion Energy Ohio/26785
 Com Ed                                          Dominion Energy/45841
 Comcast                                         Dothan Utilities
 Commissioners of Public Works-Summervill        DTE Energy/630795/740786
 Commonwealth Utilities Corporation - MP         Duckett Creek Sanitary District
 Comporium Communications                        Duke Energy/1004
 Con Edison                                      Duke Energy/1326
 Connecticut Natural Gas Corp (CNG)              Duke Energy/70515/70516
 Conservice                                      Duncan Public Utilities Authority
 Consolidated Communications                     Duquesne Light Company
 Consumers Energy                                Dynegy Energy Services/27679
 Conway Corporation                              East Bay Municipal Utility Dist (EBMUD)
 Coral Springs Improv. Dist.                     East Brunswick Water/Sewer Utilities
 Corinth Gas & Water Dept                        East Niles Comm Serv Dist CA
 Cornwall Electric                               Easton Suburban Water Authority
 CoServ                                          El Dorado Water Utilities
 Council Bluffs Water Works                      El Paso Electric/650801
 Coweta-Fayette EMC                              El Paso Water Utilities
 Cowlitz County PUD                              El Toro Water District
 Cox Communications                              Electric City Utilities/City of Anderson
 CPS Energy                                      Electrical District No. 2
 Cromwell Fire District-Water Division           Elizabethtown Gas/5412
 Crossroads Center 2                             Elizabethtown Utilities, KY
 CRWWD                                           Elkhart Public Utilities
 D.O.S.S.S.                                      Elmhurst Mutual Power & Light
 Dakota Electric Association                     Elsinore Valley Municipal Water District
 Danville Sanitary District                      Emerald Coast Utilities Authority
 Dayton Power & Light                            EMS/Energy Management Systems
 Dead River Company/11000                        Enbridge Consumers Gas/644
 Dekalb County Water/Sewer System                Enbridge Gas New Brunswick
 Delmarva Power DE/MD/VA/17000/13609             Energir
 Delta Charter Township, MI                      Energy Management Systems/Dept 0468
 Denver Water                                    Energy West - Montana

                                            79
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25     Main Document
                                        Pg 124 of 138


 Energy+ Inc                                     Gainesville Regional Utilities
 EnergyWorks Lancaster, LLC                      Garden City Park Water District, NY
 Engie Insight                                   Garden City Water Department, MI
 Engie Resources                                 Gas South/530552
 Enmax/2900                                      GCSED
 Enstar                                          Georgetown Township, MI
 Entegrus Powerlines Inc                         Gibraltar Management Co., Inc.
 Entegrus Services Inc. (Chatham-Kent)           GKPI Ridgmar
 Entergy Gulf States LA, LLC/8103                Gloucester County Utilities Dept, VA
 Entergy Louisiana, Inc./8108                    Golden State Water Co.
 Entergy Texas, Inc./8104                        Golden West Companies
 Enwin Utilities Ltd.                            Grand Central Mall
 EPB Fiber Optics                                Grand Traverse County Dept of Pub Works
 Epcor Water/80037                               Grande Communications
 Epcor/500                                       Granger-Hunter Improvement District
 Erie County Dept. of Environmental Serv.        Granite Telecommunications
 Erie Water Works                                Grant County Public Utility District
 Essex Powerlines Corporation                    Granville Township Sewer Dept.
 Eugene Water & Electric Board (EWEB)            Grays Harbor PUD
 Evansville Water and Sewer Utility              Great Lakes Energy
 Eversource Energy                               Greater Augusta Utility District, ME
 Fairfax Company of Virginia LLC                 Greater Peoria Sanitary District
 Fairfax Water - VA                              Green Mountain Power Corporation
 Fairpoint Communications                        Green Oak Charter Township, MI
 Fallbrook Public Utility District               Greene Township Muni Auth/PA
 Fallbrook UD                                    Greenlawn Water District
 FC Hanson Assoc LLC                             Greenville Utilities Commission, NC
 Festival Hydro                                  Greenville Water, SC
 First Digital                                   Gregory F.X. Daly, Collector of Revenue
 First Real Est Invstmnt Trust                   GSU - Greater Sudbury Utilities
 Flathead Electric Cooperative, Inc.             GTA
 Flint EMC,GA                                    GTT Communications Inc
 Florence Utilities, AL                          Guelph Hydro
 Florida Keys Aqueduct Authority                 Guilford Water Authority
 Forest Hills Municipal Authority                Halifax Regional Water Commission
 Fort Collins Utilities                          Halpern Enterprises, Inc.
 Fort Pierce Utilities Authority                 Halton Hills Hydro
 FortisBC-Electric                               Hammond Water Works Department
 FortisBC-Natural Gas                            HARGRAY TELEPHONE
 Fox Metro                                       Harlingen Waterworks System
 Franklin County PUD                             Harrisonburg Electric Commission
 Freeport Electric                               Hawaii Electric Light Co., Inc. (HELCO)
 Fremont Dept. of Utilities                      Hawaiian Electric Company (HECO)
 Frontier Communications                         Hawaiian Telcom
 Fruitland Mutual Water Company                  Hazleton City Authority - Water Dept.
 Fruitport Charter Township, MI                  Heritage Gas\Canada

                                            80
Case 19-40883     Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25    Main Document
                                        Pg 125 of 138


 Hermiston Energy Services, OR                   Jefferson Parish, LA
 Hermitage Sewer                                 Jersey Central Power & Light
 Hernando County Utilities, FL                   JJ Gumberg Co.-Brinton
 Highland Park Water Department                  Johnson City Municipal Services
 Highland Sewer & Water Authority                Johnson City Utility System
 Hillview Water Co., Inc.                        Johnson County Wastewater
 Hixson Utility District, TN                     Johnstown Water Department
 Hobart Wastewater Works IN                      Kansas City Board of Public Utilities
 Holland Board of Public Works                   Kansas City Power & Light Co.
 Holland Charter Township, MI                    Kansas Gas Service
 Holmdel Township Sewer Dept                     Karnes Electric Cooperative, Inc.
 Homer Electric Assoc., Inc.                     KC Water Services
 Horizon Chillicothe Telephone                   Keene Gas - 7635/Dallas
 Horizon Utilities Corporation                   Kennebec Water District
 HRSD/HRUBS                                      Kenosha Water Utility
 HTC Harrisonville Telephone Co                  Kentucky Power Company
 HTC Telephone                                   Kerrville PUB
 Huntington Sanitary Board                       Kissimmee Utility Authority
 Huntsville Utilities, AL                        Kit Carson Electric Cooperative Inc.
 Hydro One Networks, Inc.                        Kitchener-Wilmot Hydro Commission
 Hydro Quebec                                    Kochville Township, MI
 Hydro Westmount, QC                             KUB-Knoxville Utilities Board
 IA Hiram Smith LLC/Dept 44667                   KU-Kentucky Utilities Company
 Idaho Power                                     La Plata Electric Association, Inc.
 IGS Energy/936626                               Lackawanna River Basin-LRBSA
 Illinois American Water                         Lafayette Utilities Systems (LUS)
 Illinois Power Marketing                        Lake County Dept. of Utilities (OH)
 Imperial Irrigation District, CA                Lakehaven Water & Sewer District
 Incorporated Village of Freeport, NY            Lakeland Electric
 Independence Utilities                          City of Lakeland, FL
 Indian River County Utilities, FL               Landis Sewerage Authority
 Indiana American Water                          Lansing Board of Water & Light
 Indiana Michigan Power                          Latrobe Municipal Authority, PA
 Indianapolis Power & Light (IPL)                LCEC- Lee County Electric Cooperative
 Intercall                                       LCWSA-Lycoming County Water & Sewer
 Intermountain Gas Company                         Auth
 Intermountain Rural Electric Association        Lenoir City Utilities Board (LCUB)
 Investar Real Estate Services, Inc.             Level 3 Communications, LLC
 Irving Energy/5000                              Lewis County PUD
 IT&E                                            LFM-Energy
 Jackson Electric Membership Corp, GA            LG&E - Louisville Gas & Electric
 Jackson Energy Authority - 2288                 Liberty Utilities - Empire District
 Janesville Water & Wastewater Utility           Liberty Utilities - NH
 JEA                                             Liberty Utilities Georgia
 Jefferson City Utilities, MO                    Liberty Utilities/219501
 Jefferson County Public Service Dist, WV        Liberty Utilities/219599

                                            81
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25       Main Document
                                       Pg 126 of 138


 Liberty Utilities/6004                          Minnesota Energy Resources
 Lincoln Electric System                         Mishawaka Utilities, IN
 Lincoln Water System                            Mississippi Power
 Linden Roselle Sewerage Authority               Missouri American Water
 London Hydro                                    Mobile Area Water & Sewer System-
 Los Angeles Dept of Water & Power/30808          MAWSS
 Louisiana Water Company (3) New Iberia          Modern Electric Water Company
 Louisville Water Company                        Modesto Irrigation District
 LOUP Power District                             MonPower/Monongahela Power
 Lynn Water Sewer Commission                     Montana-Dakota Utilities Co.
 MABL-Borough of Lewistown, PA-Water             Monterey One Water
 Macon Water Authority, GA                       Montgomery County Environmental Svs,
 Madison Gas and Electric, WI                     OH
 Magic Valley Electric Co-op.                    Montgomery Water Works
 Magnolia Water System                           Morse Plaza Condominium Assoc
 Manitoba Hydro                                  Mountaineer Gas/5656
 Mansfield Municipal Electric Department         MTMSA
 Marietta Power                                  MTS INC
 Marion Municipal Utilities, IN                  Muncie Sanitary District
 Maritime Electric                               Municipal Authority of Hazle Township
 Mark HM Associates LP                           Municipal Light & Power/Anchorage
 Market at Lake Houston                          Municipal Light and Water, NE
 Martin County Utilities                         Municipal Utilities/Poplar Bluff, MO
 Maryland-American Water Company                 Murfreesboro Water Resources Department
 Matanuska Electric Association, Inc.            Nashville Electric Service
 Matanuska Telephone Association                 Natchez Water Works, MS
 MAWC                                            National Exemption Service
 McMinnville Water & Light                       National Fuel
 MCUD-Manatee County Utilities                   National Grid
  Department                                     National Realty & Development Corp.
 Medford Water Commission, OR                    Navopache Electric Cooperative
 Mediacom                                        Nebraska Public Power District
 Merced Irrigation District                      New Braunfels Utilities, TX
 Met-Ed/3687                                     New Castle Sanitation Authority
 Metro Water Services TN                         New Chicago Water Works
 Metropolitan St. Louis Sewer Dist/437           New Jersey American Water Company
 Metropolitan Utilities Distric/2166/3600        New Mexico Gas Company
 MHOG Utilities                                  New York American Water
 Miami-Dade Water and Sewer Dept                 Newmarket-Tay Power Distribution
 Michigan Gas Utilities                          Newnan Utilities, GA
 MidAmerican Energy Company                      Newport News Waterworks
 Middle Tennessee Electric Membership            Newwave Communications
 Middlesex Water Company                         Niagara Peninsula Energy
 Midland Power Utility Corporation               Nicor Gas
 Midwest Energy, Inc                             Niles Township, MI
 Milton Hydro Distribution Inc                   NIPSCO - Northern Indiana Public Serv Co

                                            82
Case 19-40883    Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                      Pg 127 of 138


 NJNG                                           Pacific Power-Rocky Mountain Power
 Norris Electric Cooperative                    Padre Dam Municipal Water District
 North Bay Hydro                                Palatka Gas Authority
 North Bergen Municipal Util Auth-NBMUA         Palm Beach County Water Utilities Dept
 North Coventry Municipal Authority             Palmetto Electric Coop
 North Coventry Water Authority                 Paraco Gas
 North Hudson Sewerage Authority                Paragould Light Water & Cable
 North Little Rock Electric                     Parker Water & Sanitation District
 North Shore Gas                                Pascagoula Utilities, MS
 North Shore Water Reclamation District         Pasco County Utilities
 North Springs Improv. Dist                     Passaic Valley Water Commission
 North Wales Water Authority                    Pea Ridge Public Serv Dist
 Northcentral EPA                               Peabody Municipal Light Plant
 Northeast Ohio Regional Sewer District         Pedernales Electric Cooperative, Inc.
 Northeast Oklahoma Public Fac Auth/947         Penelec/3687
 Northern Kentucky Water Dist                   Penn Power
 Northern Virginia Electric Cooperative         Pennmark Coventry Holdings LLC
 Northern Wasco County PUD                      Pennsylvania-American Water Company
 Northerntel LP                                 Peoples Gas
 NorthWestern Energy, MT                        PEPCO (Potomac Electric Power Company)
 Nova Scotia Power Inc                          Peterborough Utilities Services
 nTherm LLC                                     Philadelphia Gas Works
 NU                                             Pickman Realty Corporation
 NV Energy/30073 North Nevada                   Piedmont Natural Gas
 NV Energy/30150 South Nevada                   Pike County Light & Power Company
 NW Natural                                     Plainfield Charter Township
 NWC US79 CR122, Ltd. CO Cencor Realty          PNM
 NYC Water Board                                Portland General Electric (PGE)
 NYSEG-New York State Electric & Gas            Potomac Edison
 O.B.M.U.A.                                     PowerStream Energy Services
 Oakville Hydro                                 PPL Electric Utilities/Allentown
 OG&E -Oklahoma Gas & Electric Service          Profile Energy Inc
 Ohio Edison                                    Profile Energy Services LLC
 Okaloosa Gas District, FL                      Provo City Utilities
 Oklahoma Natural Gas Co: Kansas City           PSE&G-Public Service Elec & Gas Co
 Omaha Public Power District                    PSEGLI
 Ontera                                         PSNC Energy (Public Service Co. of NC)
 Onyx Mgmt. Grp.LLC As Receiver                 Public Service Company of Oklahoma
 Orange City Utilities                          Public Works & Utilities, KS
 Orange County WCID #2                          Public Works Comm. City of Fayetteville
 Orangeville Hydro                              PUC Services Inc
 Orillia Power Distribution Corporation         PUD #1 of Okanogan County
 Oshawa PUC Networks Inc                        PUD No.1 of Douglas County
 Otsego Township                                Puerto Rico Telephone
 Ottawa River Power Corporation                 Puget Sound Energy
 Ozarks Electric Cooperative Corporation        PWCSA - Prince William County Services

                                           83
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                       Pg 128 of 138


 PWSD No.2 of St. Charles County                 Shelby Township Dept of Public Works
 Radiant Communications                          Shenandoah Valley Electric Co-Op
 Ramco Hoover Eleven LLC                         Sierra 16 A, LLC
 Rappahannock Electric Coop                      Sierra Telephone
 Redford Township Water Department               Silver Star Communications
 Reliant Communications                          Simione Oil Co, Inc.
 Reliant Energy Solutions/120954                 Singing River Electric Cooperative
 Republic Services                               Sioux Falls Utilities
 RG&E - Rochester Gas & Electric                 SMECO (Southern Maryland Electric Corp)
 Ritter Communications                           SMUD
 RLV West Broward LP - IL                        Smyrna Utilities TN
 Roanoke Rapids Sanitary Dist NC                 Snake Spring Township, PA
 Rockdale Water Resources                        Snohomish County PUD
 Rockland Electric Company (O&R)                 SOLARUS
 Rogers Water Utilities                          South Davis Sewer District
 Rolla Municipal Utilities                       South Farmingdale Water District
 Rostraver Township Sewage Authority             South Jersey Gas Company
 Saddleback Comm                                 South Slope Coop Telephone
 Saginaw Charter Township, MI                    South Suburban Sanitary Dist.
 Saint John Energy                               South Valley Sewer District, UT
 San Antonio Water System, TX                    Southern California Gas (The Gas Co.)
 San Diego Gas & Electric                        Southern Connecticut Gas (SCG)
 San Luis Municipal Utilities, AZ                Southgate Water Department, MI
 Santa Clarita Water Division                    Southington Board of Water Commissioners
 Saraland Water Service                          Southwest Gas Corporation
 Sarasota County Public Utilities                Southwest Suburban Sewer District, WA
 Sask Power                                      Southwestern Electric Power
 SaskEnergy                                      Speedway Waterworks
 Sasktel                                         Spire/St Louis
 SCE&G-South Carolina Electric & Gas             Spokane County Environmental Services
 SD1                                             Springettsbury Township
 Sea Breeze & Vicinity Water District            Sprint
 Seacoast Utility Authority                      SRT Communications
 Searcy Water & Sewer System                     St Johns County Utility Department
 Sebastian                                       St. John the Baptist Parish Utilities
 Security Water & Sanitation Districts           Starkville Utilities
 Selma Water & Sewer Board AL                    Steelyard Commons, LLC
 Selma-Kingsburg-Fowler County Sanitation        Stroud Township Sewer Authority
 Semco Energy Gas Company                        Suburban Propane/NJ-2311
 Seminole County, FL                             Suburban Propane/NJ-2720
 Senawave Comm                                   Suburban Water Systems-West Covina
 Series E- Claredon Real Estate LLC              Suddenlink
 Sevier County Utility District (SCUD)           Suez Water Delaware
 Sewerage and Water Board of New Orleans         Suez Water New Jersey
 SF - Water                                      Suez Water Pennsylvania
 Shaw Cable                                      Suez Water Rhode Island

                                            84
Case 19-40883     Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25    Main Document
                                         Pg 129 of 138


 Suez Water Toms River                           Town of Schererville, IN
 Suez Water Westchester District 1               Town of Southington Sewer Department, CT
 Suffolk County Sewer Dist-Ny                    Town of St Johnsbury, VT
 Suffolk County Water Authority - NY             Town of Tewksbury, MA
 Sulphur Springs Valley Elec Coop                Town of Tillsonburg, ON
 Summit Township Water Authority                 Town of Warrenton, VA
 Summit Township, PA-Sewer Authority             Township of Falls Authority
 Superior Propane                                Township of Freehold, NJ
 Swansea Water District                          Township of Moorestown, NJ
 Sweetwater Authority                            Township of Palmer, PA
 Synergy North                                   Township of Pennsville, NJ
 Tahlequah Public Works Authority                Tract 349 Mutual Water Co
 Talon Property Services LLC                     Treasurer - Spotsylvania County
 Tangoe                                          Tri-State EMC
 Tax Collector, City of Danbury, CT              Truckee Meadows Water Authority, AZ
 Tbaytel                                         Trumbull County Water & Sewer Dept.
 TDS Telecom                                     Tucson Electric Power Company
 Teco Tampa Electric Company                     Turlock Irrigation District
 Teco: Peoples Gas                               Twelve Oaks Mall LLC
 Telus                                           UGI Utilities Inc
 Tennessee-American Water Company                Uniongas Limited
 Texas Gas Service                               United Illuminating Company
 The Connecticut Water Company - CWC             United Power Inc
 The Energy Cooperative                          Unitil ME Gas Operations
 The Illuminating Company                        Unitil NH Electric Operations
 The Torrington Water Company                    Unitil NH Gas Operations
 The York Water Company                          Unity Township Municipal Authority PA
 Think Utility Services Inc                      UNS Electric Inc
 Thomasville Utilities, GA                       UNS Gas Inc
 Time Warner Cable                               Upper Merion Sewer Revenue
 Toho Water Authority                            Urbana & Champaign Sanitary District
 Toledo Edison                                   US Bank NA as Trustee/Francis Scott Key
 Toms River Municipal Utilities Authority        Utilities Inc. of Louisiana
 Tooele City Corporation                         Utility Billing Services, TN
 Toronto Hydro Electric System                   Utility Payment Processing/BR Water
 Toronto Water & Solid Waste Mgmt Svcs           Valley County Water District
 Town of Allegany, NY                            Van Buren Township, MI
 Town of Burlington, MA                          Vectren Energy Delivery
 Town of Chenango, NY                            Verendrye Electric Cooperative, Inc.
 Town of Danvers, MA-Electric Division           Veridian Connections
 Town of Hanover Water, MA                       Verizon
 Town of Hempstead, NY-Dept of                   Verizon Business
  Water/EMWD                                     Verizon Wireless
 Town of Lexington, SC                           Vermont Gas Systems, Inc.
 Town of North Andover, MA                       Victory Electric Cooperative Assoc Inc
 Town of Parker, CO                              Village Center Service Area

                                            85
Case 19-40883    Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25      Main Document
                                       Pg 130 of 138


 Village of Bloomingdale, IL                     Woodhaven Water Dept.-MI
 Village of Bradley, IL                          Wooster City Services
 Village of Chicago Ridge, IL                    Wow! Business
 Village of Germantown, WI                       WVC Utility Billing
 Village of Greendale, WI                        WWS
 Village of Lombard, IL                          Wyoming Valley Sanitary Authority
 Village of Matteson, IL                         XCEL Energy:Northern States Power Co.
 Village of New Minas, NS                        XCEL Energy: Public Service Company of
 Village of Norridge, IL                          CO
 Village of Nyack Water Dept., NY                XCEL Energy: Southwestern Public Service
 Village of Palm Springs, FL                     Yes Energy Management/6255
 Village of Schaumburg, IL                       York County Natural Gas
 Vincennes Water Department, IN                  Youngstown Water Dept., OH
 Vineland Municipal Utilities                    Ypsilanti Community Utilities Authority
 Virgin Islands Water & Power Authority          Zia Natural Gas Company/Hobbs
 Virginia Natural Gas
 Viya
 Wallingford Electric Division CT
 Walton EMC
 Washington Gas
 Washington Real Estate Investment Trust
 Washington Suburban Sanitary Commission
 Water Authority of Western Nassau County
 Water District - LVVWD
 Water District No. 20
 Waterford Water & Sewer Dept
 Waterloo North Hydro Inc
 Waterloo Water Works
 WaterOne
 WaterWatch Corp
 Waterworks Department (Leavenworth, KS)
 WE Energies/Wisconsin Electric/Gas
 Welland Hydro-Electric Commission
 West Penn Power
 West Sound Utility District
 West Virginia-American Water Company
 Westar Energy/KPL
 Westfield Gas & Electric MA
 Whitby Hydro Electric Corporation
 White Township Hydrant Service
 White Township Sewer Service
 WHLR-Janaf LLC
 Williamsport Municipal Water Authority
 Willmar Municipal Utilities
 Windstream
 Wisconsin Public Service

                                            86
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25        Main Document
                                     Pg 131 of 138


                                    Schedule 2
                                 S&K’s Connections

       Party in Interest                         Connection to Debtors
       Banco Popular                             Bank
       Banco Santander                           Bank
       Bancorp South                             Bank
       Bank of America, N.A.                     Bank / Equity Holder / Lender
       Bank of Montreal                          Bank
       Bank of Nova Scotia                       Bank
       Canadian Imperial Bank (of Commerce)      Bank
       Capital One                               Bank
       Chemical Bank                             Bank
       Commerce Bank                             Bank
       Fifth Third Bank                          Bank
       Harris Bank                               Bank
       Huntington National Bank                  Bank
       JPMorgan Chase Bank                       Bank
       Key Bank                                  Bank
       PNC Bank                                  Bank
       Royal Bank of Canada                      Bank
       Santander Bank                            Bank
       TD Bank                                   Bank
       The Hongkong and Shanghai Banking         Bank
       Corporation Limited (HSBC)
       Toronto Dominion Bank                     Bank
       Union Bank                                Bank
       U.S. Bank, NA                             Bank / Letter of credit party
       Wells Fargo Bank, N.A.                    Bank / Lienholder
       APEX Credit Partners                      Equity Holder / Lender
       Golub Capital                             Equity Holder / Lender
       MJX Asset Management                      Equity Holder / Lender
       Trimaran Advisors                         Equity Holder / Lender
       York Capital Management Global Advisors   Equity Holder / Lender
       A Voce CLO, Ltd.                          Lender
       American Home Assurance Company           Lender
       Catamaran CLO 2013-1 Ltd.                 Lender
       Catamaran CLO 2014-1 Ltd.                 Lender
       Catamaran CLO 2015-1 Ltd                  Lender
       Citi Loan Funding GCPH TRS LLC            Lender
       Citigroup Financial Products Inc.         Lender
       City of New York Group Trust              Lender
       Diversified Credit Portfolio Ltd.         Lender
       Great American Insurance Company          Lender
       Invesco Senior Secured Management         Equity Holder


                                          1
Case 19-40883   Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25          Main Document
                                      Pg 132 of 138


       AIM Counselor Series Trust (Invesco         Lender
       Counselor Series Trust)-Invesco Floating
       Rate Fund
       Invesco BL Fund, Ltd.                       Lenders
       Invesco Dynamic Credit Opportunities Fund   Lenders
       Invesco Senior Income Trust                 Lenders
       Invesco Senior Loan Fund                    Lenders
       Invesco Senior Secured Management, Inc.     Lenders
       Invesco SSL Fund LLC                        Lenders
       Invesco Zodiac Funds-Invesco Us Senior      Lenders
       JFIN CLO 2012 Ltd.                          Lender
       JFIN CLO 2013 Ltd.                          Lender
       Limerock CLO III, LTD.                      Lender
       Providence Equity Partners LLC              Lender
       Quantum Partners LP                         Lender
       Soros Fund Management LLC                   Lender
       Whitehorse IX, Ltd                          Lender
       Whitehorse VI, Ltd.                         Lender
       Whitehorse VII, Ltd                         Lender
       Whitehorse VIII, Ltd.                       Lender
       Whitehorse X, Ltd.                          Lender
       Pacific Gas & Electric                      Letter of credit party
       Entergy                                     Surety bonds
       Greystone Power Corporation                 Surety bonds
       Reliant Energy Retail Services, LLC         Surety bonds
       CNA Insurance Company                       Insurance
       Generali                                    Insurance
       Lockton Companies                           Insurance
       Marsh and McLennen                          Insurance
       Nationwide                                  Insurance
       Tokio Marine                                Insurance
       EX Insurance Ltd.                           Insurance
       Donahue Schriber Realty Group, L.P.         Landlord
       Lynhaven Mall LLC                           Landlord
       Simon Property Group Inc.                   Landlord
       Toys “R” Us, Inc.                           Landlord
       Toys “R” Us Delaware, Inc.                  Landlord




                                           2
Case 19-40883   Doc 29   Filed 02/19/19 Entered 02/19/19 05:50:25   Main Document
                                     Pg 133 of 138


                                     Exhibit C

                                 Vogel Declaration




                                        1
Case 19-40883             Doc 29      Filed 02/19/19 Entered 02/19/19 05:50:25                    Main Document
                                                  Pg 134 of 138


                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

 In re:                                                        )     Case No. 19-40883-659
                                                               )     Chapter 11
 PAYLESS HOLDINGS LLC, et al.,                                 )
                                                               )     (Joint Administration Requested)
                                                               )


                                   DECLARATION OF SCOTT D. VOGEL

                     Pursuant to Section D of the Guidelines for Reviewing Applications for

 Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

 Larger Chapter 11 Cases Effective as of November 1, 2013, issued by the Executive Office for

 United States Trustees (the “United States Trustee Guidelines”), I, Scott D. Vogel, hereby

 declare, under penalty of perjury, as follows:

                     1.       I am older than 21 years of age and suffer no legal disability. I am

 competent to make this Declaration.                  My testimony herein is based upon my personal

 knowledge, unless stated otherwise. If called to testify, I could and would testify to the matters

 stated herein.

                     2.       I make this declaration under 28 U.S.C. § 1746 for all permissible

 purposes under applicable rules of evidence and procedure, in support of the Debtors’

 Application for Entry of an Order Pursuant to Section 327(a) of the Bankruptcy Code

 Authorizing the Retention and Employment of Seward & Kissel LLP as counsel to the Debtors’

 Effective Nun Pro Tunc to the Petition Date (the “Application”).1

                     3.       Although professionals at Seward & Kissel LLP (“S&K”) assisted in the

 preparation of this declaration on my behalf, they did so according to my express instructions


 1
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
Case 19-40883        Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25           Main Document
                                           Pg 135 of 138


 and using information provided by me specific to the Debtors’ decision to retain S&K as counsel

 in these chapter 11 cases.

                4.      I have been appointed as one of the two Independent Managers to the

 board of managers of Payless Holdings LLC (“Payless”). In my current role at Payless, I am

 responsible for supervising outside counsel with respect to Conflict Matters (as defined in the

 Application), and will assist Payless’ personnel in monitoring and managing legal fees and

 expenses with respect to Conflict Matters.

                                          Selection of S&K

                5.      The Debtors recognize that a comprehensive review process is necessary

 when selecting and managing chapter 11 counsel to ensure their bankruptcy professionals are

 subject to the same client-driven market forces, security, and accountability as professionals in

 non-bankruptcy engagements. To that end, the Debtors assessed potential counsel to handle

 Conflict Matters in these chapter 11 cases based on their experience and expertise in the relevant

 legal issues and in similar proceedings, considering a number of firms to serve as potential

 counsel with respect to Conflict Matters at the direction of the Independent Managers, as

 applicable, in these chapter 11 cases.

                6.      The Debtors retained S&K for the role of counsel with respect to Conflict

 Matters, acting at the direction of the Independent Managers, in light of, among other reasons, its

 experience in, among other areas, financial restructuring, litigation, corporate governance,

 corporate finance and transactions. S&K lawyers have significant experience representing and

 advising the spectrum of constituents in chapter 11 proceedings—debtors, committees, secured

 and unsecured creditors, independent or disinterested directors, special committees, shareholders,

 and others, including providing advice with respect to fiduciary duties in connection with chapter




                                                 2
Case 19-40883        Doc 29    Filed 02/19/19 Entered 02/19/19 05:50:25             Main Document
                                           Pg 136 of 138


 11 proceedings. I believe that S&K is well-qualified and well-situated to represent the Debtors

 in these chapter 11 cases with respect to Conflict Matters in an effective, efficient and timely

 manner.

                               Rate Structure and Cost Supervision

                7.      In connection with the filing of these chapter 11 cases, the Debtors and

 S&K have agreed upon rates in accordance with S&K’s customary rates. S&K has confirmed to

 the Debtors that the Firm does not vary its billing rates or the material terms of an engagement

 depending on whether such engagement is a bankruptcy or a non-bankruptcy engagement. S&K

 has further advised the Debtors that its current customary U.S. hourly rates are as follows:

                            Billing Category                      Range
                     Partners                                   $800-1,200
                     Counsel                                    $775-1,000
                     Associates                                  $295-775
                     Paraprofessionals                           $160-400

 It is my understanding that S&K reviews and adjusts its billing rates annually to ensure that its

 rates are comparable to the billing rates of its peer firms. To the extent that there is any disparity

 in such rates, however, I nevertheless believe that S&K’s retention by the Debtors is warranted

 in these chapter 11 cases.

                8.      The Debtors understand that S&K’s fees and expenses will be subject to

 periodic review on a monthly, interim, and final basis during the pendency of these chapter 11

 cases by various third parties, including the Court, and that such fees and expenses will be

 subject to the terms of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any

 orders of the Court governing the procedures for approval of interim compensation of

 professionals retained in these chapter 11 cases.

                9.      I recognize that it is the Debtors’ responsibility to monitor closely the

 billing practices of their counsel to ensure the fees and expenses paid by the estates remain


                                                     3
Case 19-40883         Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25         Main Document
                                             Pg 137 of 138


 consistent with the Debtors’ expectations and the exigencies of these chapter 11 cases. The

 Debtors will continue to review the statements that S&K regularly submits and amend the budget

 and staffing plans periodically, as the chapter 11 cases develop. Moreover, S&K has informed

 me that I, and the other Independent Manager, will be provided with the opportunity to review all

 invoices and request adjustments to such invoices to the extent that they determine that such

 adjustments are necessary and appropriate, and that such requests will be carefully considered by

 S&K. As they did prepetition, the Debtors will continue to diligently review counsel fees and

 expenses and, together with S&K amend such invoices as necessary.

                10.      For the reasons set forth above, the Debtors believe that S&K’s

 employment is necessary and in the best interest of the Debtors and their estates.

                               [Remainder of page intentionally left blank.]




                                                    4
Case 19-40883       Doc 29     Filed 02/19/19 Entered 02/19/19 05:50:25        Main Document
                                           Pg 138 of 138


        I declare under penalty of perjury that, to the best of my knowledge and after reasonable

 inquiry, the foregoing is true and correct.

 Dated: February 19, 2019

                                                     /s/ Scott D. Vogel
                                                    Scott D Vogel
                                                    Vogel Partners LLC
                                                    Office: (212) 358-0033
                                                    Mobile: (917) 972-9696
                                                    scott@vogelpartners.com




                                                5
